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                 Pretrial Order
                  Exhibit 5A
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                                    States of America v. United States Sugar Corporation,C.A. No. 21‐1644‐MN (D. Del.)*
                                                                                      PLAINTIFF'S TRIAL EXHIBIT LIST
                                                                                             PTO Exhibit 5A


    Trial Exhibit #                         DocID                  EndDoc#                         Date                                Exhibit Description                  Objections

         PTX001             ACS000004_0001                 ACS000004_0176               January 21, 2019               American Crystal Sugar Company document titled       602, 802, 901
                                                                                                                       "Director Professionalism; Strengthening Corporate
                                                                                                                       Governance; ACSC Strategic Planning Session, January
                                                                                                                       23, 2019," Jan. 21, 2019




         PTX002             ACS000383_0001                 ACS000383_0003               March 27, 2017                 Email from Matthew Wineinger to Bob Buker, Tom       402, 802, 901
                                                                                                                       Astrup, and Kurt Wickstrom, "No EC Call Update,"
                                                                                                                       Mar. 27, 2017




         PTX003             ACS000419_0001                 ACS000419_0002               April 9, 2018                  Email from Matthew Wineinger to Tom Astrup,          402, 802, 901
                                                                                                                       Michael Greear, Kurt Wickstrom, and others, "Quick
                                                                                                                       Monday, No EC Call update," Apr. 9, 2018




         PTX004             ACS000452_0001                 ACS000452_0002               May 28, 2019                   Email from Matthew Wineinger to Tom Astrup, Kurt     802, 901
                                                                                                                       Wickstrom, Michael Greear, and others,"No Call EC
                                                                                                                       Report: Confidential and Privileged: May 28…," May
                                                                                                                       28, 2019




         PTX005             ACS000548_0001                 ACS000548_0003               July 29, 2019                  Email from Tom Astrup to Matthew Wineinger, "Re:     802, 901
                                                                                                                       No Call Monday EC Report: July 29," Jul. 29, 2019




         PTX006             Cargill-USS-000001             Cargill-USS-000020           May 1, 2019                                                                         None




         PTX007                                                           Intentionally Omitted, please reference JTX001                                                    None

         PTX008                                                           Intentionally Omitted, please reference JTX002                                                    None

         PTX009             CSC000329                      CSC000329                    January 26, 2022               CSC document, Excel spreadsheet, "CSC Purchases of 802
                                                                                                                       Raw Materials," Jan. 26, 2022




         PTX010                                                           Intentionally Omitted, please reference JTX003                                                    None

         PTX011             CSC000331                      CSC000331                    January 26, 2022               CSC document, Excel spreadsheet, "CSC Trading        802
                                                                                                                       Division Data," Jan. 26, 2022




         PTX012             CSC000332                      CSC000332                    January 26, 2022               CSC document, Excel spreadsheet, "CSC USDA           802
                                                                                                                       Submission," Jan. 26, 2022




         PTX013             FCC-00001593                   FCC-00001593                 June 22, 2021                                                                       602, 802, 901




*Plaintiff reserves the right to revise, amend and/or
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                                                                            PLAINTIFF'S TRIAL EXHIBIT LIST
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         PTX014             FCC-00001624                   FCC-00001626       March 16, 2020                                       802




         PTX015             FCC-00001958                   FCC-00001959       February 18, 2020                                    402, 802, 805




         PTX016             FCC-00003005                   FCC-00003007       February 7, 2020                                     106, 402, 802, 805




         PTX017             FCC-00006063                   FCC-00006063       November 13, 2019                                    802, 805




         PTX018             FCC-00006929                   FCC-0006930        November 8, 2019                                     402, 802, 805




         PTX019             FCC-00007995                   FCC-00007996       September 11, 2019                                   402, 602, 802




         PTX020             FCC-00011095                   FCC-00011096       July 20, 2021                                        802, 805, 901




         PTX021             FCC-00012764                   FCC-00012764       May 21, 2021                                         602, 802, 805




         PTX022             FCC-00013904                   FCC-00013905       Februrary 11, 2019                                   802, 805




         PTX023             FCC-00013908                   FCC-00013908       February 12, 2019                                    402, 802




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         PTX024             FCC-00014742                   FCC-00014744       April 15, 2021                                       402, 802




         PTX025             FCC-00014819                   FCC-00014820       August 27, 2018                                      402, 602, 802




         PTX026             FCC-00014865                   FCC-00014865       March 12, 2021                                       602, 802




         PTX027             FCC-00015593                   FCC-00015593       August 18, 2020                                      602, 802, 805, 901




         PTX028             FCC-00016752                   FCC-00016804       March 4, 2020                                        802, 805, 901




         PTX029             FCC-00016907                   FCC-00016908       January 8, 2020                                      602, 802, 805, 901




         PTX030             FCC-00017401                   FCC-00017401       May 26, 2021                                         802, 805




         PTX031             FCC-00020540                   FCC-00020540       June 12, 2019                                        402, 602, 802, 805




         PTX032             FCC-00030725                   FCC-00030727       February 19, 2019                                    602, 802, 805




         PTX033             FCC-00030820                   FCC-00030821        February 21, 2019                                   602, 802




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                                                                                      PLAINTIFF'S TRIAL EXHIBIT LIST
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         PTX034             FCC-00032427                   FCC-00032430                 January 3, 2019                                          602, 802, 805




         PTX035                                                           Intentionally Omitted, please reference JTX004                         None

         PTX036                                                           Intentionally Omitted, please reference JTX005                         None

         PTX037             FCC-00038581                   FCC-00038584                 February 12, 2021                                        602, 802




         PTX038             FCC-00039909                   FCC-00039909                 January 4, 2021                                          802




         PTX039             FCC-00040182                   FCC-00040182                 March 22, 2021                                           402, 602, 802, 901




         PTX040             FCC-00040608                   FCC-00040611                 December 17, 2020                                        402, 602, 802, 805




         PTX041             FCC-00048194                   FCC-00048199                 July 10, 2020                                            802, 805




         PTX042             FCC-00057582                   FCC-00057594                 June 21, 2021                                            802, 901




         PTX043             FCC-00058514                   FCC-00058516                 September 16, 2019                                       602, 802, 805, 901




         PTX044                                                           Intentionally Omitted, please reference JTX006                         None

         PTX045             FCC-00065871                   FCC-00065871                 May 19, 2021                                             402, 802, 805, 1002




         PTX046             FCC-00068768                   FCC-00068769                 March 25, 2021                                           602, 701, 802, 805, 901




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                                                                            PLAINTIFF'S TRIAL EXHIBIT LIST
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         PTX047             FCC-00069552                   FCC-00069553       February 22, 2021                                    602, 802, 805




         PTX048             FCC-00070146                   FCC-00070148       February 17, 2021                                    602, 802, 805




         PTX049             FCC-00074600                   FCC-00074602       November 17, 2020                                    602, 802




         PTX050             FCC-00076117                   FCC-00076117       October 2, 2020                                      402, 802, 805




         PTX051             FCC-00077148                   FCC-00077151       September 22, 2020                                   602, 802, 805




         PTX052             FCC-00077879                   FCC-00077880       September 2, 2020                                    402, 802, 805, 901




         PTX053             FCC-00078848                   FCC-00078851       August 12, 2020                                      602, 802, 805




         PTX054             FCC-00081046                   FCC-00081047       June 18, 2020                                        802




         PTX055             FCC-00081048                   FCC-00081049       June 18, 2020                                        802




         PTX056             FCC-00084914                   FCC-00084914       February 20, 2020                                    402, 602, 802, 805




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                                                                                      PLAINTIFF'S TRIAL EXHIBIT LIST
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         PTX057             FCC-00085527                   FCC-00085528                 January 7, 2020                                          402, 802, 805




         PTX058             FCC-00089603                   FCC-00089604                 May 10, 2019                                             602, 802, 805




         PTX059             FCC-00090971                   FCC-00090977                 May 24, 2021                                             802, 805




         PTX060             FCC-00092803                   FCC-00092805                 March 18, 2021                                           106, 802, 901




         PTX061             FCC-00092807                   FCC-00092807                 March 18, 2021                                           802




         PTX062             FCC-00094177                   FCC-00094180                 November 3, 2020                                         802, 901




         PTX063             FCC-00096319                   FCC-00096323                  July 12, 2021                                           602, 802, 805




         PTX064             FCC-00099237                   FCC-00099244                 July 16, 2021                                            802, 805




         PTX065             FCC-00099466                   FCC-00099468                 August 18, 2020                                          802




         PTX066                                                           Intentionally Omitted, please reference JTX007                         None

         PTX067             GM_0001284                     GM_0001288                   March 24, 2021                                           403, 602, 701, 802, 901




         PTX068                                                           Intentionally Omitted, please reference JTX008                         None




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         PTX069                                                         Intentionally Omitted, please reference JTX009                                                       None

         PTX070             GM_0001469                     GM_0001498                                                                                                        802, 901




         PTX071             GM_0001552                     GM_0001575                                                                                                        802, 901




         PTX072             GM_0001577                     GM_0001577                                                                                                        802, 901




         PTX073             GM_0001586                     GM_0001586                                                                                                        802, 901




         PTX074             IFP-USSugar 000046             IFP-USSugar 000047         January 28, 2022                                                                       802




         PTX075             Imperial 3(b)-4                N/A                        March 24, 2021                 Imperial, 3(b)-4 Side Letter Agreement                  403 (duplicate)




         PTX076             Imperial 4(c)-1                N/A                        December, 2019                 Imperial, 4(c)-1 Presentation titled "Imperial Sugar Sale None
                                                                                                                     of Sugar Refinery"




         PTX077             Imperial 4(c)-2                N/A                        Febuary, 2020                  Imperial, 4(c)-2 Presentation titled "Project Miami Sale 106, 802, 805
                                                                                                                     of Imperial Sugar Refinery"




         PTX078             Imperial 4(c)-3                N/A                        March 4, 2020                  Imperial, 4(c)-3 Presentation titled "Imperial Sugar    106, 802, 805
                                                                                                                     Management Presentation," Mar. 4, 2020




         PTX079             Imperial 4(c)-4                N/A                        March 23, 2020                 Imperial, 4(c)-4 Spreadsheet titled "Project Miami: Post- None
                                                                                                                     Managment Presentation Follow-Up"




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                                    States of America v. United States Sugar Corporation,C.A. No. 21‐1644‐MN (D. Del.)*
                                                                                   PLAINTIFF'S TRIAL EXHIBIT LIST
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         PTX080             Imperial 4(c)-5                N/A                       July, 2020                     Imperial, 4(c)-5 Presentation titled "Imperial Sugar     106, 802, 805
                                                                                                                    Company Raw Sugar Sourcing," July 2020




         PTX081             Imperial 4(c)-6                N/A                       October 19, 2020               Imperial, 4(c)-6 Spreadsheet titled "Project Seine Due   None
                                                                                                                    Diligence - Financial"




         PTX082                                                        Intentionally Omitted, please reference JTX010                                                        None
         PTX083             INDSUG00003                    INDSUG00003               February 23, 2022                                                                       None




         PTX084                                                        Intentionally Omitted, please reference JTX011                                                        None
         PTX085                                                        Intentionally Omitted, please reference JTX012                                                        None
         PTX086                                                        Intentionally Omitted, please reference JTX013                                                        None
         PTX087                                                        Intentionally Omitted, please reference JTX014                                                        None
         PTX088                                                        Intentionally Omitted, please reference JTX015                                                        None
         PTX089                                                        Intentionally Omitted, please reference JTX048                                                        None
         PTX090             LDC_60-311312-                 LDC_60-311312-            April 21, 2021                 Imperial Information re: Raw Suppliers                   802
                            0001_VAL_000003                0001_VAL_000005




         PTX091             LDC_DOJ21_00038221             LDC_DOJ21_00038223        May 14, 2018                   Email from Jeana Hines to Beth Smith, Patrick      802, 805
                                                                                                                    Henneberry, and SGL-Refined Trading, "RE: piedmont
                                                                                                                    / milos / bestco," May 14, 2018




         PTX092             LDC_DOJ21_00049054             LDC_DOJ21_00049056        June 20, 2018                  Email from Kimberly Youngblood to Jeana Hines,           802, 805
                                                                                                                    "FW: Molson Coors - FYI," June 20, 2018, with
                                                                                                                    attachment




         PTX093             LDC_DOJ21_00057134             LDC_DOJ21_00057135        July 25, 2018                  Email from Beth Smith to Larry Mimbs, "FW: supplier 802
                                                                                                                    questionairre," Jul. 25, 2018




         PTX094             LDC_DOJ21_00057588             LDC_DOJ21_00057589        July 27, 2018                  Email from Beth Smith to SGL-Pricing Admin, "BYA         802
                                                                                                                    Request - Hospitality Mints," Jul. 27, 2018, with
                                                                                                                    attachment




         PTX095             LDC_DOJ21_00135522             LDC_DOJ21_00135522        April 15, 2019                 Email from Michael Gorrell to Ian Mcintosh, Jessica      None
                                                                                                                    Teo, Andrea Maserati, and others, "Deferred EPP
                                                                                                                    shares - Imperial participants," Apr. 15, 2019




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         PTX096             LDC_DOJ21_00136193             LDC_DOJ21_00136198     April 17, 2019                 Email from Heidi Hancock to Beth Smith, "RE:          802
                                                                                                                 Feedback - Piedmont Candy - Quote totes for 2020 -
                                                                                                                 not in foresight," Apr. 17, 2019




         PTX097             LDC_DOJ21_00190718             LDC_DOJ21_00190720     July 20, 2021                  Email from Jeana Hines to Kimberly Youngblood,        802, 805
                                                                                                                 "RE: Body Armor- Feedback," Jul. 20, 2021




         PTX098             LDC_DOJ21_00349333             LDC_DOJ21_00349347     December 1, 2021               Email from SGL-FSPRD@LDC.com to Beth Smith,           None
                                                                                                                 "Output from USLCONM (#32779223)," Dec. 12,
                                                                                                                 2021, with attachment.




         PTX099             LDC_DOJ21_00381723             LDC_DOJ21_00381724     February 26, 2018              Email from Patrick Henneberry to Beth Smith,           802, 805
                                                                                                                 "Competitive quote calcs 2017-18.xlsx," Feb. 26, 2018,
                                                                                                                 with attachment




         PTX100             LDC_DOJ21_00396182             LDC_DOJ21_00396183     June 25, 2018                  Email from Beth Smith to SGL-Refined Trading,         802
                                                                                                                 "Quote Request - Hospitality Mints - in Foresight,"
                                                                                                                 June 25, 2018, with attachment




         PTX101             LDC_DOJ21_00417445             LDC_DOJ21_00417451     January 28, 2019               Email from Max Clegg to Vivek Pai, Guillaume Ortiz,   802
                                                                                                                 Raymond Wiacek, and Lois Tankam Mandjou,
                                                                                                                 "Emperor NDA," Jan. 28, 2019, with attachment




         PTX102             LDC_DOJ21_00424385             LDC_DOJ21_00424391     March 12, 2019                 Email from Maureen Orloski to Matthieu Pambet and 802
                                                                                                                 others, "RE: 2019_03_11 five year plan v1 - Updated,"
                                                                                                                 Mar. 12, 2019, with attachment




         PTX103             LDC_DOJ21_00430369             LDC_DOJ21_00430377     May 3, 2019                    Email from Max Clegg to Michael Gorrell, Adrian       802
                                                                                                                 Isman, Robert Waxlax, and Robert Eckert, "Fwd:
                                                                                                                 United Sugars IOI," May 3, 2019, with attachments




         PTX104             LDC_DOJ21_00436264             LDC_DOJ21_00436266     June 2, 2021                   Email from Thomas Crown to Heidi Hancock and        602, 802
                                                                                                                 Kimberly Youngblood, "Imperial Sugar July AA," June
                                                                                                                 2, 2021




         PTX105             LDC_DOJ21_00444911             LDC_DOJ21_00444913     July 15, 2021                  Email from Michael Gorrell to Rick Pasco, Perry       802, 805
                                                                                                                 Cerminara, and others, "followup letter (draft) to
                                                                                                                 USDA," Jul. 15, 2021, with attachment




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         PTX106             LDC_DOJ21_00444981             LDC_DOJ21_00444984     July 16, 2021                  Email from Michael Gorrell to Adrian Lindsey and    802, 805
                                                                                                                 others, "RE: USDA Response: Shortage of Raw Sugar -
                                                                                                                 8727495," Jul. 16, 2021, with attachment




         PTX107             LDC_DOJ21_00446813             LDC_DOJ21_00446815     July 20, 2021                  Email from Jeana Hines to Alexander Hines, "RE: U.S. 403, 802, 805
                                                                                                                 Sugar Refiner Loses Appeal of Mexico Trade Pact
                                                                                                                 Changes," Jul. 20, 2021




         PTX108             LDC_DOJ21_00455996             LDC_DOJ21_00455998     August 12, 2021                Email from Kimberly Youngblood to Thomas Crown, 602, 802
                                                                                                                 "RE: Imperial Sugar -- bone char," Aug. 12, 2021, with
                                                                                                                 attachment




         PTX109             LDC_DOJ21_00467409             LDC_DOJ21_00467411     August 31, 2021                Email from Thomas Crown to Kimberly Youngblood, 602, 802
                                                                                                                 "RE: Imperial Sugar -- -     . remaining - Expires
                                                                                                                 9/15/21," Aug. 31, 2021




         PTX110             LDC_DOJ21_00468324             LDC_DOJ21_00468327     September 1, 2021              Email from Thomas Crown to Heidi Hancock,             602, 802
                                                                                                                 "Imperial Sugar November AA," Sept. 1, 2021




         PTX111             LDC_DOJ21_00521573             LDC_DOJ21_00521602     December 15, 2021              USDA document titled "Sugar and Sweeteners            802, 805
                                                                                                                 Outlook: December 2021," Dec. 15, 2021




         PTX112             LDC_DOJ21_00539060             LDC_DOJ21_00539062     January 2, 2019                Email from Michael Gorrell to Max Clegg, "Re:         802, 805
                                                                                                                 Savannah sugar plant," Jan. 2, 2019




         PTX113             LDC_DOJ21_00544677             LDC_DOJ21_00544682     July 9, 2019                   Email from Robert Waxlax to Max Clegg and Vivek       802
                                                                                                                 Pai, "RE: Wineinger call," Jul. 9, 2019




         PTX114             LDC_DOJ21_00554065             LDC_DOJ21_00554092     January 5, 2021                Email from Maureen Orloski to Erwan Saint M'Leux      802
                                                                                                                 and others, "RE: Imperial Sugar MPR," Jan. 5, 2021,
                                                                                                                 with attachment




         PTX115             LDC_DOJ21_00554340             LDC_DOJ21_00554369     January 25, 2021               Email from Maureen Orloski to members of LDC,         802
                                                                                                                 "RE: Imperial Sugar MPR," Jan. 25, 2021, with
                                                                                                                 attachment




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         PTX116             LDC_DOJ21_00558548             LDC_DOJ21_00558551        May 26, 2021                   Email from Beth Smith to Teresa Jacob and Robyn        802
                                                                                                                    Sevier, "FW: Aspire Bakeries Document Request -
                                                                                                                    Imperial Sugar," May 26, 2021, with attachments




         PTX117             LDC_DOJ21_00583479             LDC_DOJ21_00583509        December 2, 2021               Email Maureen Orloski to Erwan Saint M'Leux and        802, 805
                                                                                                                    others, "RE: Imperial Sugar MPR," Dec. 2, 2021, with
                                                                                                                    attachments




         PTX118             LDC_DOJ21_00597519             LDC_DOJ21_00597523        January 11, 2019               Email from Gregg Fatzinger to Michael Gorrell and      802, 805
                                                                                                                    others, "RE: US Sugar / United," Jan. 11, 2019




         PTX119             LDC_DOJ21_00599561             LDC_DOJ21_00599566        March 15, 2019                 Email from Robert Waxlax to Michael Gorrell, and       802
                                                                                                                    Max Clegg, "Emperor: Emperor: Responses to
                                                                                                                    Questions," Mar. 15, 2019, with attachments




         PTX120             LDC_DOJ21_00600635             LDC_DOJ21_00600689        June 10, 2019                  Email from Robert Waxlax to Adrian Isman, Max         802
                                                                                                                    Clegg, and Georges Edouard Duriez, "ISC Slide Review
                                                                                                                    - Meeting Materials," June 10, 2019, with attachments




         PTX121             LDC_DOJ21_00615284             LDC_DOJ21_00615296        September 23, 2021             Email from Caitlyn Aguirre to Darrel Gerdes and    602, 802
                                                                                                                    Thomas Rathke, "RE: Requesting Documents for Sugar
                                                                                                                    Can, Non-GMO Tote - PCB Item Number 31321,"
                                                                                                                    Sept. 23, 2021, with attachments




         PTX122                                                        Intentionally Omitted, please reference JTX016                                                      None

         PTX123             LDC_SRQ21_000561               LDC_SRQ21_000561          December 1, 2020               Imperial document titled "North American Sugar         802
                                                                                                                    Platform Overview - October 2020, December 2nd,
                                                                                                                    2020," Dec. 1, 2020




         PTX124                                                        Intentionally Omitted, please reference JTX017                                                      None

         PTX125                                                        Intentionally Omitted, please reference JTX018                                                      None

         PTX126                                                        Intentionally Omitted, please reference JTX019                                                      None

         PTX127             LDC-SRQ21-ESI-00015308         LDC-SRQ21-ESI-00015309 November 15, 2019                 Email from Jeana Hines to Gerald Kramer, "RE:          802, 805
                                                                                                                    11/15/19--Domino pricing," Nov. 15, 2019




         PTX128             LDC-SRQ21-ESI-00016991         LDC-SRQ21-ESI-00016991 June 16, 2020                     Email from Heidi Hancock to Beth Smith and SGL-        106, 802, 805
                                                                                                                    RefinedTrading@ldc.com, "RE: Quote - Piedmont
                                                                                                                    Candy - in foresight," June 16, 2020




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         PTX129             LDC-SRQ21-ESI-00017655         LDC-SRQ21-ESI-00017657 April 30, 2020                   Email from Michael Gorrell to Jim Evans, Jeana Hines, 802, 805
                                                                                                                   Patrick Henneberry, Mike Nicosia, and Warren Hunt,
                                                                                                                   "FW: Market Intel," Apr. 30, 2020




         PTX130             LDC-SRQ21-ESI-00029901         LDC-SRQ21-ESI-00029902 August 28, 2019                  Email from Jeana Hines to Beth Smith, Heidi Hancock, 403, 802, 805
                                                                                                                   and SGL-Refined Trading, "RE: Quote Request - Bud's
                                                                                                                   Best Cookies (New Customer) not in foresight," Aug.
                                                                                                                   28, 2019




         PTX131             LDC-SRQ21-ESI-00032636         LDC-SRQ21-ESI-00032638 October 15, 2020                 Email from Patrick Henneberry to Michael Gorrell,      802, 805
                                                                                                                   Jeana Hines, and Jim Evans "RE: Additional Bulk rail
                                                                                                                   needs," Oct. 15, 2020




         PTX132             LDC-SRQ21-ESI-00040722         LDC-SRQ21-ESI-00040725 June 27, 2019                    Email from Jeana Hines to Jim Evans, Patrick        802, 805
                                                                                                                   Henneberry, Michael Gorrell, Warren Hunt, and Heidi
                                                                                                                   Hancock, "RE: Marigold bulk trucks next week" June
                                                                                                                   27, 2019




         PTX133             LDC-SRQ21-ESI-00043831         LDC-SRQ21-ESI-00043832 April 28, 2021                   Email from Michael Gorrell to Jeana Hines, Patrick     802, 805, 1002
                                                                                                                   Henneberry, David Prout, and Mike Nicosia, "RE:
                                                                                                                   letter to USDA," Apr. 28, 2021




         PTX134             LDC-SRQ21-ESI-00044039         LDC-SRQ21-ESI-00044040 May 3, 2019                      Email from Michael Gorrell to Max Clegg, Adrian      802
                                                                                                                   Isman, Robert Waxlax, and Robert Eckert, "Re: United
                                                                                                                   Sugars IOI," May 03, 2019




         PTX135             LDC-SRQ21-ESI-00044846         LDC-SRQ21-ESI-00044848 February 20, 2019                Email from Jeana Hines to Angie Arnsdorff, Brian       802, 805
                                                                                                                   Harrison, Micky McAllister, Michael Gorrell, Warren
                                                                                                                   Hunt, Sheila Turner, and Robert Scherm, RE: Tote
                                                                                                                   inventory supply," Feb. 20, 2019




         PTX136             LDC-SRQ21-ESI-00051465         LDC-SRQ21-ESI-00051466 May 31, 2018                     Email from Michael Gorrell to Maureen Orloski, "FW: 802
                                                                                                                   2015 - 2017 - Commercial Margin Inputs.xlsx," May 31,
                                                                                                                   2018, with attachment




         PTX137             LDC-SRQ21-ESI-00052120         LDC-SRQ21-ESI-00052124 August 8, 2018                   Email from Jeana Hines to Michael Gorrell, "Re:        802, 805
                                                                                                                   Murfreesboro event on Friday. Gmi," Aug. 8, 2018




         PTX138             LDC-SRQ21-ESI-00055937         LDC-SRQ21-ESI-00055938 August 17, 2020                  Email from Beth Smith to Heidi Hancock and SGL-        802, 805
                                                                                                                   Refined Trading, "RE: Piedmont Candy -
                                                                                                                   Feedback/offer from Customer," Aug. 17, 2020




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         PTX139             LDC-SRQ21-ESI-00056687         LDC-SRQ21-ESI-00056687 May 29, 2020                     Email from Jim Evans to Michael Gorrell, Patrick        802, 805
                                                                                                                   Henneberry, Jeana Hines, and Jim Evans, "RE: John
                                                                                                                   Yonover Call More stuff," May 29, 2020




         PTX140             LDC-SRQ21-ESI-00057873         LDC-SRQ21-ESI-00057874 December 6, 2019                 Email from Michael Gorrell to Jeana Hines, Brian  802, 805
                                                                                                                   Harrison, Dwayne Zeigler, and Thomas Wilson, "RE:
                                                                                                                   Pepsi global team visit to Savannah - UPDATE ON
                                                                                                                   DATE PEOPLE AGENDA 2/19/20," Dec. 06, 2019




         PTX141             LDC-SRQ21-ESI-00058162         LDC-SRQ21-ESI-00058163 December 16, 2019                Email from Gerald Kramer to Patrick Henneberry,         802, 805
                                                                                                                   Michael Gorrell, Jeana Hines, Jim Evans, Kimberly
                                                                                                                   Youngblood, Heidi Hancock, Sure Kharouba, David
                                                                                                                   Prout, and Thomas Rathke, "Fwd: Domino Foods-
                                                                                                                   distributors price increase of $3.00/cwt for 1st qtr.
                                                                                                                   2020," Dec. 16, 2019


         PTX142             LDC-SRQ21-ESI-00069332         LDC-SRQ21-ESI-00069332 August 23, 2019                  Email from Jim Evans to Jeana Hines, Patrick         802, 805
                                                                                                                   Henneberry, Michael Gorrell, Mike Nicosia, and David
                                                                                                                   Prout "FW: Market Information," Aug. 23, 2019




         PTX143             LDC-SRQ21-ESI-00069946         LDC-SRQ21-ESI-00069947 July 16, 2019                    Email from Beth Smith to Heidi Hancock and SGL- 802, 805
                                                                                                                   Refined Trading, "RE: QUOTE REQUEST - KING'S
                                                                                                                   HAWAIIAN QUOTE JAN-SEP 2020 LIQUID AND
                                                                                                                   BULK - NOT IN FORESIGHT," Jul. 16, 2019




         PTX144             LDC-SRQ21-ESI-00070241         LDC-SRQ21-ESI-00070242 August 6, 2019                   Email from Michael Gorrell to Brian Harrison,        802
                                                                                                                   "2019_08_07 United packaging question and proposed
                                                                                                                   answer for Brian's review.docx," Aug. 06, 2019, with
                                                                                                                   attachment




         PTX145             LDC-SRQ21-ESI-00082683         LDC-SRQ21-ESI-00082684 August 28, 2019                  Email from Michael Gorrell to Jeana Hines, Beth     802, 805
                                                                                                                   Smith, Heidi Hancock, and SGL-Refined Trading, "RE:
                                                                                                                   Quote Request - Bud's Best Cookies (New Customer)
                                                                                                                   not in foresight," Aug. 28, 2019




         PTX146             LDC-SRQ21-ESI-00086357         LDC-SRQ21-ESI-00086362 March 15, 2019                   Email from Michael Gorrell to Robert Waxlax, Max      802
                                                                                                                   Clegg, Maureen Orloski, and Brian Harrison, "RE:
                                                                                                                   Emperor: Responses to Questions," Mar. 15, 2019, with
                                                                                                                   attachment




         PTX147             LDC-SRQ21-ESI-00087688         LDC-SRQ21-ESI-00087691 April 3, 2019                    Email from Michael Gorrell to Jeana Hines, Brian       802, 805
                                                                                                                   Harrison, Thomas Wilson, Robert Scherm, Dwayne
                                                                                                                   Zeigler, Michael Kaminsky and others, "RE: Imperial
                                                                                                                   Sugar check in - Gatorade Wytheville VA," Apr. 3, 2019




         PTX148             LDC-SRQ21-ESI-00095235         LDC-SRQ21-ESI-00095235 July 31, 2018                    Email from Michael Gorrell to Jeana Hines, "RE:         802, 805
                                                                                                                   DCB/Carolina Foods," Jul. 31, 2018




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         PTX149             LDC-SRQ21-ESI-00098911         LDC-SRQ21-ESI-00098913 July 16, 2019                    Email from Patrick Henneberry to Eva Khoueiri,       802, 805
                                                                                                                   Luciano Cocito, Beth Smith, Heidi Hancock, and Jeana
                                                                                                                   Hines, "RE: Kings Hawaiian," Jul. 16, 2019




         PTX150             LDC-SRQ21-ESI-00099394         LDC-SRQ21-ESI-00099395 September 10, 2019               Email from Beth Smith to SGL-Pricing Admin, "BYA        802
                                                                                                                   Request - Bud's Best Cookies #7575," Sept. 10, 2019,
                                                                                                                   with attachment




         PTX151             LDC-SRQ21-ESI-00101098         LDC-SRQ21-ESI-00101100 December 21, 2020                Email from Jim Evans to Michael Gorrell, Jennifer       802, 805
                                                                                                                   Wilkes, Patrick Henneberry, and Jeana Hines, "re:
                                                                                                                   potential bankruptcy problems K&W and Golden
                                                                                                                   Corral," Dec. 21, 2020




         PTX152             LDC-SRQ21-ESI-00103534         LDC-SRQ21-ESI-00103535 June 25, 2018                    Jabber conversation between Patrick Henneberry and      802
                                                                                                                   Beth Smith, June 25, 2018




         PTX153             LDC-SRQ21-ESI-00103743         LDC-SRQ21-ESI-00103744 May 17, 2018                     Email from Beth Smith to SGL-Pricing Admin, "BYA        802
                                                                                                                   Request - Ken's Foods #3919," May 17, 2018, with
                                                                                                                   attachment




         PTX154             LDC-SRQ21-ESI-00105280         LDC-SRQ21-ESI-00105282 September 12, 2018               Email from Heidi Hancock to Jeana Hines, "RE:           802, 805
                                                                                                                   Costco Large gran Quote - NOT IN FORESIGHT,"
                                                                                                                   Sept. 12, 2018




         PTX155             LDC-SRQ21-ESI-00106179         LDC-SRQ21-ESI-00106180 October 23, 2018                 Email from Beth Smith to Patrick Henneberry, Heidi      802, 805
                                                                                                                   Hancock, and SGL-Refined Trading, "RE: Quote
                                                                                                                   Request - Potential New customer - not in foresight,"
                                                                                                                   Oct. 23, 2018




         PTX156             LDC-SRQ21-ESI-00106191         LDC-SRQ21-ESI-00106192 June 14, 2018                    Email from Beth Smith to SGL-Pricing Admin, "BYA 802
                                                                                                                   Request - Niagara #5608," June 14, 2018, with
                                                                                                                   attachment




         PTX157             LDC-SRQ21-ESI-00107524         LDC-SRQ21-ESI-00107528 June 5, 2018                     Email from Jeana Hines to Mike Nicosia, Patrick         802, 805
                                                                                                                   Henneberry, and Jim Evans, "Re: 50lb Granulated
                                                                                                                   Sugar quote from Imperial Sugar," June 5, 2018




         PTX158             LDC-SRQ21-ESI-00107589         LDC-SRQ21-ESI-00107591 June 27, 2018                    Email from Mark Huston to Patrick Henneberry, Greg 802, 805
                                                                                                                   La Rue, and Cale Runge, "RE: United Sugar rail rate
                                                                                                                   guesstimate," June 27, 2018




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         PTX159             LDC-SRQ21-ESI-00109501         LDC-SRQ21-ESI-00109502 May 14, 2018                     Email from Jeana Hines to Michael Gorrell and Patrick 802, 805
                                                                                                                   Henneberry, "RE: Pepsi Counter proposal below - to
                                                                                                                   be sent today," May 14, 2018




         PTX160             LDC-SRQ21-ESI-00109530         LDC-SRQ21-ESI-00109532 January 22, 2019                 Email from Jim Evans to Heidi Hancock, Patrick          802, 805
                                                                                                                   Henneberry, and Jeana Hines, "Re: ICI Foods Quote
                                                                                                                   EFG Totes," Jan. 22, 2019




         PTX161             LDC-SRQ21-ESI-00110827         LDC-SRQ21-ESI-00110828 July 17, 2018                    Email from Beth Smith to SGL-Pricing Admin, "BYA 802
                                                                                                                   Request - Great American Cookie #5496," Jul. 17,
                                                                                                                   2018, with attachment




         PTX162             LDC-SRQ21-ESI-00117534         LDC-SRQ21-ESI-00117535 October 7, 2019                  Jabber conversation between Heidi Hancock and           802
                                                                                                                   Patrick Henneberry, Oct. 7, 2019




         PTX163             LDC-SRQ21-ESI-00117832         LDC-SRQ21-ESI-00117834 June 20, 2018                    Jabber conversation between Patrick Henneberry and      802, 805
                                                                                                                   Jeana Hines, June 20, 2018




         PTX164             LDC-SRQ21-ESI-00118933         LDC-SRQ21-ESI-00118934 May 21, 2018                     Email from Jeana Hines to Michael Gorrell, Mark         802, 805
                                                                                                                   Houston, Cale Runge, and others, "RE: Rail quote
                                                                                                                   2019 -- NEED ASAP for PEPSI," May 21, 2018




         PTX165             LDC-SRQ21-ESI-00120355         LDC-SRQ21-ESI-00120356 May 15, 2018                     Email from Patrick Henneberry to Jim Evans, "FW:        802, 805
                                                                                                                   and the tote saga out of Florida continues," May 15,
                                                                                                                   2018




         PTX166             LDC-SRQ21-ESI-00121491         LDC-SRQ21-ESI-00121492 August 1, 2018                   Email from Jim Evans to Michael Gorrell, Patrick        802, 805
                                                                                                                   Henneberry, Jeana Hines, Mike Nicosia, David Prout,
                                                                                                                   "re: United Sugar-------Oct------Nov----Dec----2018,"
                                                                                                                   Aug. 1, 2018




         PTX167             LDC-SRQ21-ESI-00122668         LDC-SRQ21-ESI-00122669 May 15, 2018                     Email from Jeana Hines to Beth Smith, Michael        802, 805
                                                                                                                   Gorrell, Thomas Rathke, and Patrick Henneberry, "RE:
                                                                                                                   and the tote saga out of Florida continues," May 15,
                                                                                                                   2018




         PTX168             LDC-SRQ21-ESI-00123364         LDC-SRQ21-ESI-00123367 April 15, 2019                   Email from Patrick Henneberry to Beth Smith, "RE:       403, 802, 805
                                                                                                                   Feedback - Piedmont Candy - Quote totes for 2020 -
                                                                                                                   not in foresight," Apr. 15, 2019




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         PTX169             LDC-SRQ21-ESI-00123643         LDC-SRQ21-ESI-00123643 April 17, 2019                   Email from Patrick Henneberry to Mike Nicosia, "Frt    802
                                                                                                                   on Brill and Miller Coors," Apr. 17, 2019




         PTX170             LDC-SRQ21-ESI-00123731         LDC-SRQ21-ESI-00123732 May 14, 2018                     Email from Beth Smith to SGL-Pricing Admin, "BYA 802
                                                                                                                   Request - Piedmont Candy #7727," May 14, 2018, with
                                                                                                                   attachment




         PTX171             LDC-SRQ21-ESI-00130811         LDC-SRQ21-ESI-00130814 February 19, 2020                Email from Jeana Hines to Steve Kline, "RE: Imperial 802, 805
                                                                                                                   Sugar Introduction & History - Draft," Feb. 19, 2020




         PTX172             LDC-SRQ21-ESI-00138537         LDC-SRQ21-ESI-00138538 November 4, 2019                 Email from Jeana Hines to Warren Hunt, "FW: Sucrose 802, 805
                                                                                                                   Demand -- Kings Hawaiian," Nov. 4, 2019




         PTX173             LDC-SRQ21-ESI-00165068         LDC-SRQ21-ESI-00165068 June 7, 2019                     Email from Jeana Hines to Candice Grimes, "FW:         802
                                                                                                                   Liquid and Bulk Truck Freight request," June 7, 2019




         PTX174             LDC-SRQ21-ESI-00200317         LDC-SRQ21-ESI-00200317 February 5, 2022                 Email from Jim Evans to Joe Cukjati, "Re: Cuts," Feb. 602, 802
                                                                                                                   5, 2022




         PTX175             LDC-SRQ21-ESI-00204662         LDC-SRQ21-ESI-00204666 October 5, 2020                  Email from Jim Evans to Piero Battistini, Diana Rizo, 602, 802
                                                                                                                   and Frances Warner, "RE: Quote request," Oct. 5, 2020




         PTX176             LDC-SRQ21-ESI-00209102         LDC-SRQ21-ESI-00209102 August 22, 2019                  Email from Philip Carleen to Jim Evans, "Pricing,"     602, 802
                                                                                                                   Aug. 22, 2019




         PTX177             LDC-SRQ21-ESI-00227778         LDC-SRQ21-ESI-00227780 June 21, 2019                    Email from Jim Evans to Joe Pryor, "re: ICI Quote  602, 802, 805
                                                                                                                   Request Revised quote Confirmation," June 21, 2019




         PTX178             LDC-SRQ21-ESI-00237755         LDC-SRQ21-ESI-00237755 August 31, 2020                  Email from Jim Evans to Jeana Hines, "FW:              802, 805
                                                                                                                   Differentials," Aug. 31, 2020




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         PTX179             LDC-SRQ21-ESI-00238437         LDC-SRQ21-ESI-00238438 October 20, 2019                 Email from Jim Evans to Gary French "RE: Skidmore 602, 802, 805
                                                                                                                   Sales EFG 50#," Oct. 20, 2019




         PTX180             LDC-SRQ21-ESI-00243700         LDC-SRQ21-ESI-00243701 November 18, 2020                Email from Beth Smith to SGL-Pricing Admin, "BYA 802, 805
                                                                                                                   Request - Novozymes," Nov. 18, 2020, with attachment




         PTX181             LDC-SRQ21-ESI-00326768         LDC-SRQ21-ESI-00326768 February 23, 2020                Email from Thomas Crown to Kimberly Youngblood       802, 805
                                                                                                                   and Patrick Henneberry, "Meeting today," Feb. 23,
                                                                                                                   2020




         PTX182             LDC-SRQ21-ESI-00329359         LDC-SRQ21-ESI-00329359 September 16, 2020               Email from Beth Smith to Patrick Henneberry, "RE:    802, 805
                                                                                                                   Kerry Savannah - FEEDBACK," Sept. 16, 2020




         PTX183             LDC-SRQ21-ESI-00344111         LDC-SRQ21-ESI-00344111 October 3, 2019                  Email from Robert Waxlax to Tim Harry and Robert     None
                                                                                                                   Eckert, "Project Emperor Update," Oct. 3, 2019




         PTX184             LDC-SRQ21-ESI-00384290         LDC-SRQ21-ESI-00384294 July 17, 2019                    Email from Tenice Gholson to Beth Smith, "RE: 2020 802, 805
                                                                                                                   Sugar Projection," Jul. 17, 2019




         PTX185             LDC-SRQ21-ESI-00387768         LDC-SRQ21-ESI-00387774 August 21, 2019                  Email from Beth Smith to Tenice Gholson, "RE: 2020 802, 805
                                                                                                                   Sugar Projection," Aug. 21, 2019




         PTX186             LDC-SRQ21-ESI-00407244         LDC-SRQ21-ESI-00407245 December 5, 2019                 Email from Kimberly Youngblood to Thomas Crown, 602, 802, 805
                                                                                                                   "Imperial Sugar - price offer," Dec. 5, 2019




         PTX187             LDC-SRQ21-ESI-00428658         LDC-SRQ21-ESI-00428664 August 24, 2020                  Email from Jeana Hines to Michael Gorrell, "RE: USS 802
                                                                                                                   questionnaire," Aug. 24, 2020, with attachment




         PTX188             LDC-SRQ21-ESI-00437789         LDC-SRQ21-ESI-00437790 August 14, 2020                  Email from Beth Smith to Jeana Hines, Aug. 14, 2020, 802, 805
                                                                                                                   "RE: kens foods"




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         PTX189             LDC-SRQ21-ESI-00463828         LDC-SRQ21-ESI-00463828 December 13, 2019                Email from David Prout to Mike Nicosia, "FW:         802, 805
                                                                                                                   Domimo Foods--distributors price increase of
                                                                                                                   $3.00/cwt for 1st qtr. 2020," Dec. 13, 2019




         PTX190             LDC-SRQ21-ESI-00586547         LDC-SRQ21-ESI-00586549 January 17, 2020                 Email from Kimberly Youngblood to Thomas Crown, 602, 802
                                                                                                                   "Bulk rail sugar - Imperial," Jan. 17, 2020,




         PTX191             LDC-SRQ21-ESI-00656549         LDC-SRQ21-ESI-00656549 September 1, 2020                Email from Jim Evans to Jeana Hines "Re: Prices,"    802, 805
                                                                                                                   Sept. 1, 2020




         PTX192             LDC-SRQ21-ESI-00657944         LDC-SRQ21-ESI-00657945 April 22, 2021                   Email from Beth Smith to SGL-Pricing Admin, "BYA 802
                                                                                                                   Request - Helm's Candy - spot load for April," Apr. 22,
                                                                                                                   2021, with attachment




         PTX193             LDC-SRQ21-ESI-00663307         LDC-SRQ21-ESI-00663313 July 23, 2020                    Email from Michael Gorrell to Jim Evans, Kimberly     802, 805
                                                                                                                   Youngblood, Heidi Hancock, Jeana Hines, Patrick
                                                                                                                   Henneberry, SGL-Refined Trading, and Michael
                                                                                                                   Kaminsky, "Re: Ferrara-Confirming Biz," Jul. 23, 2020




         PTX194             LDC-SRQ21-ESI-00680712         LDC-SRQ21-ESI-00680713 September 1, 2020                Email from Kimberl Youngblood to Jeana Hines,        802, 805
                                                                                                                   Warren Hunt, and Sheila Turner, "RE: GM Bulk
                                                                                                                   Trucks Oct - Dec 2020 Want to Increase Forecast,"
                                                                                                                   Sept. 1, 2020




         PTX195             LDC-SRQ21-ESI-00690068         LDC-SRQ21-ESI-00690071 September 16, 2020               Email from Jeana Hines to Michael Gorrell, "RE: Kerry 802, 805
                                                                                                                   Savannah - FEEDBACK," Sept. 16, 2020, with
                                                                                                                   attachment




         PTX196             LDC-SRQ21-ESI-00692788         LDC-SRQ21-ESI-00692789 April 27, 2021                   Email from Beth Smith to Jeana Hines, "RE: Cane 802
                                                                                                                   Only & Sole Supplier 2021 Update - NEED BACK BY
                                                                                                                   5/3/21," Apr. 27, 2021, with attachment




         PTX197             LDC-SRQ21-ESI-00823060         LDC-SRQ21-ESI-00823076 December 1, 2020                 Email from SGL-FSPRD@ldc.com to Beth Smith,          802
                                                                                                                   "Output from USLCONM (#29641436)," Dec. 1,
                                                                                                                   2020, with attachment.




         PTX198             LDC-SRQ21-ESI-00833741         LDC-SRQ21-ESI-00833742 August 5, 2019                   LDC Document, titled "2019_08_05 mg proposed         None
                                                                                                                   responses to United questions," Aug. 5, 2019




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         PTX199             LDC-SRQ21-ESI-00871758         LDC-SRQ21-ESI-00871762 February 25, 2020                Email from Kimberly Youngblood to Thomas Crown, 802
                                                                                                                   "Liquid Sucrose - Imperial ex Sugar Services," Feb. 25,
                                                                                                                   2020, with attachment




         PTX200             LDC-SRQ21-ESI-00896536         LDC-SRQ21-ESI-00896563 February 11, 2020                Email from Maureen Orloski to Erwan Sain M'Leux       802
                                                                                                                   and others, "Imperial Sugar MPR - December 2019,"
                                                                                                                   Feb. 11, 2020, with attachment




         PTX201             LDC-SRQ21-ESI-00897268         LDC-SRQ21-ESI-00897270 December 17, 2020                Email from Maureen Orloski to Robert Waxlax,          802
                                                                                                                   "Budget 2021 in Business Development Model," Dec.
                                                                                                                   17, 2020, with attachments




         PTX202             LDC-SRQ21-ESI-00915623         LDC-SRQ21-ESI-00915625 August 29, 2019                  Email from Jim Evans to Clayton Brown, "RE: I.F.P.    602, 802, 805
                                                                                                                   Price Quote for Milkco," Aug. 29, 2019




         PTX203             LDC-SRQ21-ESI-00917493         LDC-SRQ21-ESI-00917494 June 22, 2020                    Email from Jim Evans to Clayton Brown "RE: Imperial 602, 802, 805
                                                                                                                   Sugar New contract terms and conditions," June 22,
                                                                                                                   2020




         PTX204             LDC-SRQ21-ESI-00932481         LDC-SRQ21-ESI-00932484 July 15, 2019                    Jeana Hines to David Prout, Sheila Turner, SAV-      802, 805
                                                                                                                   Transportation, and Kimberly Mikolas, "RE: Immediate
                                                                                                                   Loads for Dunedin and Auburndale," Jul. 15, 2019




         PTX205             LDC-SRQ21-ESI-00939484         LDC-SRQ21-ESI-00939491 March 19, 2019                   Email from Robert Waxlax to Max Clegg, Michael        802
                                                                                                                   Gorrell, and "I.am.Project. Emperor," "RE: Project
                                                                                                                   Emperor - United Sugars questions," Mar. 19, 2019,
                                                                                                                   with attachments




         PTX206             LDC-SRQ21-ESI-00942475         LDC-SRQ21-ESI-00942502 September 17, 2018               Email from Michael Gorrell to Maureen Orlosky,         802
                                                                                                                   "2019_09_17 2019 Consolidated Sugar Budget
                                                                                                                   Presentation v2.pptx," Sept. 17, 2018, with attachment




         PTX207             LDC-SRQ21-ESI-00950226         LDC-SRQ21-ESI-00950228 April 2, 2020                    Email from David Prout to Michael Gorrell, "RE:       802
                                                                                                                   confirmation of 50'000mts raw sugar purchase," April,
                                                                                                                   02, 2020




         PTX208             LDC-SRQ21-ESI-00950471         LDC-SRQ21-ESI-00950476 June 29, 2020                    Email from Michael Gorrell to Maureen Orloski, Ann    802
                                                                                                                   Marie Harriess, and Robert Eckert, "slides for May
                                                                                                                   pitch," June 29, 2020, with attachment




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         PTX209             LDC-SRQ21-ESI-00951566         LDC-SRQ21-ESI-00951570 September 20, 2019                Email from Jeana Hines to Michael Gorrell, "2019         None
                                                                                                                    objectives.docx," Sept. 20, 2019, with attachments




         PTX210             LDC-SRQ21-ESI-00958605         LDC-SRQ21-ESI-00958606 April 4, 2019                     Email from Michael Gorrell to Clement Renault, "RE: 802
                                                                                                                    latest Imperial confidential info package," Apr. 4, 2019,
                                                                                                                    with attachment




         PTX211             LDC-SRQ21-ESI-00958757         LDC-SRQ21-ESI-00958758 February 22, 2019                 Email from Robert Waxlax to Michael Gorrell,        802
                                                                                                                    "Emperor Model v88," Feb. 22, 2019, with attachment




         PTX212             LDC-SRQ21-ESI-00962644         LDC-SRQ21-ESI-00962688 July 15, 2018                     Email from Max Clegg to Edwin Hernandez,                 802
                                                                                                                    "Confidential: Project Emperor," Jul. 15, 2018, with
                                                                                                                    attachments




         PTX213             LDC-SRQ21-ESI-00992258         LDC-SRQ21-ESI-00992270 August 18, 2020                   Email from Beth Smith to Jeana Hines and Beth Smith, 802, 805
                                                                                                                    "FW: Sugar/ Sucrose Update?," Aug. 18, 2020, with
                                                                                                                    attachment




         PTX214             LDC-SRQ21-ESI-00994872         LDC-SRQ21-ESI00994876     March 16, 2021                 Imperial document titled "LDC Investments in Imperial 802
                                                                                                                    Sugar Company & Savannah Refinery," Mar. 16, 2021




         PTX215             LDC-SRQ21-ESI-01001959         LDC-SRQ21-ESI-01002039 July 1, 2019                      Email from Jeana Hines to William Roy and Jeana          None
                                                                                                                    Hines, "Training Info," Jul. 1, 2019, with attachments




         PTX216             LDC-SRQ21-ESI-01002882         LDC-SRQ21-ESI-01002883 November 24, 2020                 Email from Beth Smith to Kimberly Youngblood, "RE: 802
                                                                                                                    Cane Only & Sole Supplier Info Needed - MUST BE
                                                                                                                    RETURNED BY 11/24/20," Nov. 24, 2020, with
                                                                                                                    attachment




         PTX217             LDC-SRQ21-ESI-01019066         LDC-SRQ21-ESI-01019073 February 17, 2021                 McKeany-Flavell PowerPoint presentation, "Sugar -        701, 802
                                                                                                                    Factors affecting the domestic sugar market," Feb. 17,
                                                                                                                    2021




         PTX218             LDC-SRQ21-ESI-01019114         LDC-SRQ21-ESI-01019115 April 14, 2021                    Email from Sheila Turner to Jeana Hines, "RE: Imperial 802, 805
                                                                                                                    10lb Ongoing Seal Issues with Costco," Apr. 14, 2021




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         PTX219             LDC-SRQ21-ESI-01085804         LDC-SRQ21-ESI-01085805 October 8, 2019                  Email from Eugene Teo to Ian Mcintosh and others,      601, 802
                                                                                                                   "Imperial Sugar: Next Steps Rescom - Minutes," Oct, 8,
                                                                                                                   2019, with attachment




         PTX220             LDC-SRQ21-ESI-01161958         LDC-SRQ21-ESI-01161968 July 28, 2020                    Email from Heath Cagle to Beth Smith, "RE: Sugar      802
                                                                                                                   Purchase - 2021," Jul. 28, 2020




         PTX221             LDC-SRQ21-ESI-01168651         LDC-SRQ21-ESI-01168655 September 19, 2019               Email from Robert Waxlax to Eugene Teo, "RE: Board 601, 802
                                                                                                                   update - NAM pipeline," Sept. 19, 2019, with
                                                                                                                   attachment




         PTX222             LDC-SRQ21-ESI-01168658         LDC-SRQ21-ESI-01168660 November 27, 2019                Email from Robert Waxlax to Tim Harry, "RE: LDH       601, 802
                                                                                                                   Strat Co," Nov. 27, 2019, with attachment




         PTX223             LDC-SRQ21-ESI-01168914         LDC-SRQ21-ESI-01168914 October 15, 2020                 Email from Robert Waxlax to Michael Gorrell, "RE:     802, 805
                                                                                                                   Miami - Lender Questions," Oct. 15, 2020




         PTX224             LDC-SRQ21-ESI-01168975         LDC-SRQ21-ESI-01169009 May 15, 2019                     Email from Robert Waxlax to Georges Edouard           802
                                                                                                                   Duriez, "Project Emperor: CIP to United," May 15,
                                                                                                                   2019, with attachment




         PTX225             LDC-SRQ21-ESI-01211559         LDC-SRQ21-ESI-01211560 May 29, 2020                     Email from Eugene Teo to Ian Mcintosh and others,     802, 805, 1002
                                                                                                                   "Project Miami (Sugar, NAM) - Minutes," May 29,
                                                                                                                   2020, with attachment




         PTX226             LDC-SRQ21-ESI-01212076         LDC-SRQ21-ESI-01212076 January 31, 2020                 Email from Robert Waxlax to Adrian Isman and others, 802
                                                                                                                   "Project Miami Update," Jan. 31, 2020




         PTX227             LDC-SRQ21-ESI-01213915         LDC-SRQ21-ESI-01213917 September 9, 2020                Email from Jennifer Wilkes to Jim Evans, "reports,"   802
                                                                                                                   Sept. 2, 2020, with attachments




         PTX228             LDC-SRQ21-ESI-01231356         LDC-SRQ21-ESI-01231362 October 18, 2020                 Email from Michael Gorrell to Michael Gelchie, "week 701, 802
                                                                                                                   42 update," Oct. 18, 2020 with attachment




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         PTX229             LDC-SRQ21-ESI-01235285         LDC-SRQ21-ESI-01235287 April 27, 2021                     Letter from Bob Buker to Hon. Thomas J. Vilsack,       802, 805
                                                                                                                     dated April 27, 2021




         PTX230                                                         Intentionally Omitted, please reference JTX020                                                      None

         PTX231             LDC-SRQ21-ESI-01236885         LDC-SRQ21-ESI-01236885 April 5, 2021                      LDC Document, titled "MoM RC 11th February 2020 - 802, 805
                                                                                                                     Project Miami (redaction)," Apr. 5, 2021




         PTX232             LDC-SRQ21-ESI-01238527         LDC-SRQ21-ESI-01238530 August 12, 2020                    Letter from Michael Gorrell to the Hon. Ted            802, 1002
                                                                                                                     McKinney and the Hon. Bill Northey, Aug. 13, 2020




         PTX233             LDC-SRQ21-ESI-01238691         LDC-SRQ21-ESI-01238745 January 30, 2019                   Imperial document titled "Imperial Sugar Company       701, 802
                                                                                                                     Stage Three (of the LDC era…), January 31st, 2019,"
                                                                                                                     Jan. 30, 2019




         PTX234             LDC-SRQ21-ESI-01239743         LDC-SRQ21-ESI-01239824 June 30, 2018                      Email from Max Clegg to Guillaume Ortiz, Lois          802, 805
                                                                                                                     Tankam Mandjou, Raymond Wiace, Gregg Fatzinger,
                                                                                                                     Robert Waxlax, and Michael Gorrell, "RE: Project
                                                                                                                     Emperor Confidential Information Package Draft02,"
                                                                                                                     June 30, 2018, with attachments



         PTX235             LDC-SRQ21-ESI-01244128         LDC-SRQ21-ESI-01244188 March 21, 2019                     Imperial document titled "Imperial Sugar Company       None
                                                                                                                     Stage Three (of the LDC era…) 2019-2023 Business
                                                                                                                     plan, March 11th, 2019," Mar. 21, 2019




         PTX236             LDC-SRQ21-ESI-01244671         LDC-SRQ21-ESI-01244714 March 28, 2019                     Email from Michael Gorrell to Jeana Hines,             802
                                                                                                                     "2019_03_01 Project Emperor CIP final.pptx." Mar.
                                                                                                                     28, 2019, with attachment




         PTX237             LDC-SRQ21-ESI-01245427         LDC-SRQ21-ESI-01245432 October 16, 2020                   Imperial document titled "Market Environment: An        701, 802
                                                                                                                     extraordinary year followed by relative normalcy," Oct.
                                                                                                                     16, 2020




         PTX238             LDC-SRQ21-ESI-01246737         LDC-SRQ21-ESI-01246784 March 10, 2021                     Imperial document titled "Imperial Sugar Management 802
                                                                                                                     Presentation, 4 March 2020," Mar. 10, 2021




         PTX239             LDC-SRQ21-ESI-01294590         LDC-SRQ21-ESI-01294591 February 24, 2020                  Email from Eugene Teo to Ian Mcintosh and others,      802
                                                                                                                     "Project Miami (Sugar, NAM) - Minutes," Feb. 24,
                                                                                                                     2020, with attachment




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         PTX240             LDC-SRQ21-ESI-01321948         LDC-SRQ21-ESI-01321949 December 8, 2020                 LDC document, titled "Seine - Extension of Exclusivity 802
                                                                                                                   (3)," Dec. 8, 2020




         PTX241             LDC-SRQ21-ESI-01322072         LDC-SRQ21-ESI-01322073 January 28, 2021                 LDC document, titled "Seine - Extension of Exclusivity 802
                                                                                                                   (4)," Jan. 28, 2021




         PTX242             LDC-SRQ21-ESI-01322074         LDC-SRQ21-ESI-01322075 November 23, 2020                LDC Document, titled "Seine - Extension of            802
                                                                                                                   Exclusivity (2)," Nov. 23, 2020




         PTX243             LDC-SRQ21-ESI-01322478         LDC-SRQ21-ESI-01322481 August 14, 2020                  Email from Luke Kurtz to Robert Waxlax and Neil       802
                                                                                                                   Grealy, "Amendment Extending IOI," Aug. 14, 2020,
                                                                                                                   with attachments




         PTX244             LDC-SRQ21-ESI-01322493         LDC-SRQ21-ESI-01322573 July 22, 2019                    Email from Robert Waxlax to Max Clegg, "FW: CIM," 802
                                                                                                                   Jul. 22, 2019, with attachments




         PTX245             LDC-SRQ21-ESI-01348126         LDC-SRQ21-ESI-01348171 September 13, 2019               Email from Robert Waxlax to Robert Eckert, "ISC       601, 802
                                                                                                                   Slides," Sept. 13, 2019, with attachments




         PTX246             LDC-SRQ21-ESI-01504413         LDC-SRQ21-ESI-01504416 September 18, 2020               Email from Clayton Brown to Jim Evans "Re: I.F.P.     602, 802, 805
                                                                                                                   2021 Sugar Opportunity," Sept. 18, 2020




         PTX247             LDC-SRQ21-ESI-01508980         LDC-SRQ21-ESI-01508994 May 12, 2020                     Email from Michael Gorrell to Barbara Fecso, "RE:     802, 805, 1002
                                                                                                                   Absorption vs adsorption," May 12, 2020, with
                                                                                                                   attachments




         PTX248             LDC-SRQ21-ESI-01518387         LDC-SRQ21-ESI-01518395 November 22, 2019                Email from Michael Gorrell to David Prout, Mike       802, 805
                                                                                                                   Nicosia, Warren Hunt, and Jeana Hines, "RE: Final
                                                                                                                   decision on offering ALDI additional volume?," Nov.
                                                                                                                   22, 2019




         PTX249             LDC-SRQ21-ESI-01523899         LDC-SRQ21-ESI-01523905 August 1, 2018                   Letter from Paul Farmer to Hon. Wilbur L. Ross Jr.,   802
                                                                                                                   Aug. 1, 2018




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         PTX250             LDC-SRQ21-ESI-01524057         LDC-SRQ21-ESI-01524059 June 28, 2018                    Email from Patrick Henneberry to Michael Gorrell,    802, 805
                                                                                                                   "re: DCB - looking for comments," June 28, 2018




         PTX251             LDC-SRQ21-ESI-01525067         LDC-SRQ21-ESI-01525077 August 29, 2019                  Email from DocuSign System to Jeana Hines,           None
                                                                                                                   "Completed: Please DocuSign BYA20047648-
                                                                                                                   BYA20047650," Aug. 29, 2019, with attachments




         PTX252             LDC-SRQ21-ESI-01530615         LDC-SRQ21-ESI-01530634 May 4, 2020                      Jabber conversation between Michael Gorrell and Jeana 802, 805
                                                                                                                   Hines, May 4, 2020




         PTX253             LDC-SRQ21-ESI-01561816         LDC-SRQ21-ESI-01561820 September 4, 2019                LDC document, titled "LDC Board Update - Imperial, None
                                                                                                                   September 2019," Sept. 4, 2019, with attachment




         PTX254             LDC-SRQ21-ESI-01562545         LDC-SRQ21-ESI-01562549 September 3, 2019                LDC document, titled "LDC Board Update - Imperial, None
                                                                                                                   September 2019," Sept. 3, 2019, with attachment




         PTX255             LDC-SRQ21-ESI-01573521         LDC-SRQ21-ESI-01573521 August 3, 2018                   Jabber conversation between Patrick Henneberry and   802, 805
                                                                                                                   Michael Gorrell, Aug. 3, 2018




         PTX256             LDC-SRQ21-ESI-01574471         LDC-SRQ21-ESI-01574472 November 26, 2018                Jabber conversation between Patrick Henneberry and   802, 805
                                                                                                                   Michael Gorrell, Nov. 26, 2018




         PTX257             LDC-SRQ21-ESI-01574851         LDC-SRQ21-ESI-01574855 January 8, 2019                  Jabber Conversation between Michael Gorrell and      802, 805
                                                                                                                   "tancra@d1.ad.local," Jan. 8, 2019




         PTX258             LDC-SRQ21-ESI-01574891         LDC-SRQ21-ESI-01574893 January 10, 2019                 Jabber conversation between Michael Gorrell and      802, 805
                                                                                                                   Patrick Henneberry, Jan. 10, 2019




         PTX259             LDC-SRQ21-ESI-01577764         LDC-SRQ21-ESI-01577771 October 3, 2019                  Jabber conversation, between Michael Gorrell and     802, 805
                                                                                                                   Jeana Hines, Oct. 03, 2019




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         PTX260             LDC-SRQ21-ESI-01583972         LDC-SRQ21-ESI-01583973 May 8, 2018                        Jabber conversation between Patrick Henneberry and     802, 805
                                                                                                                     Beth Smith, May 08, 2018




         PTX261             LDC-SRQ21-ESI-01583976         LDC-SRQ21-ESI-01583977 May 11, 2018                       Jabber conversation, between Patrick Henneberry, and 802, 805
                                                                                                                     "uzupann@d1.ad.local/jabbr_11534," May 11, 2018




         PTX262             LDC-SRQ21-ESI-01583978         LDC-SRQ21-ESI-01583980 May 14, 2018                       Jabber conversation between Patrick Henneberry and     802, 805
                                                                                                                     Jeana Hines, May 14, 2018




         PTX263             LDC-SRQ21-ESI-01584233         LDC-SRQ21-ESI-01584233 August 26, 2018                    Jabber conversation between Patrick Henneberry and     802, 805
                                                                                                                     Beth Smith, Aug. 26, 2018




         PTX264             LDC-SRQ21-ESI-01584780         LDC-SRQ21-ESI-01584781 October 24, 2019                   Jabber conversation between Jeana Hines and Kimberly 802, 805
                                                                                                                     Youngblood, Oct. 24, 2019




         PTX265             LDC-SRQ21-ESI-01586773         LDC-SRQ21-ESI-01586773 May 13, 2020                       Jabber chat between Beth Smith and                     802
                                                                                                                     "turnes@d1.ad.local/jabber," May 13, 2020




         PTX266                                                         Intentionally Omitted, please reference JTX021                                                      None

         PTX267             LDC-SRQ21-ESI-01614655         LDC-SRQ21-ESI-01614656 August 26, 2019                    Email from Beth Smith to SGL-Refined Trading, "re:     403, 802, 805
                                                                                                                     Quote Request Procedures - Buds Best Cookies (New
                                                                                                                     Customer) not in foresight," Aug 26, 2019, with
                                                                                                                     attachment




         PTX268             LDC-SRQ21-ESI-01617223         LDC-SRQ21-ESI-01617225 December 30, 2020                  Imperial Document titled "Topic List," Dec. 30, 2020   802, 805




         PTX269             LDC-SRQ21-ESI-01619467         LDC-SRQ21-ESI-01619469 June 24, 2020                      Email from Mandi Sapp to Michael Gorrell, "re:         802
                                                                                                                     OrgChart06.23.303.vsd," June 24, 2020, with
                                                                                                                     attachment




         PTX270             LDC-SRQ21-ESI-01621658         LDC-SRQ21-ESI-01621661 April 22, 2021                     Email from Michael Gorrell to Jack Roney and Patrick 802, 1002
                                                                                                                     Henneberry, "RE:USDA letter," Apr. 22, 2021, with
                                                                                                                     attachment




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         PTX271             LDC-SRQ21-ESI-01621762         LDC-SRQ21-ESI-01621781 March 10, 2021                     Email from Mike Gorrell to Michael Gorrell and Luke 802
                                                                                                                     Kurtz, "RE: employment agreement," March 10, 2021,
                                                                                                                     with attachment




         PTX272             LDC-SRQ21-ESI-01663286         LDC-SRQ21-ESI-01663289 August 28, 2020                    Email from Neil Grealy to Luke Kurtz and others, "RE: 802
                                                                                                                     Project Seine - Extension of Exclusivity," Aug. 28,
                                                                                                                     2020, with attachment




         PTX273             LDC-SRQ21-ESI-01689463         LDC-SRQ21-ESI-01689469 December 30, 2020                  Email from Joseph Somers to Robert Waxlax, "RE:          802, 805
                                                                                                                     Project Seine // Miami," Dec. 30, 2020, with
                                                                                                                     attachment




         PTX274             LDC-SRQ21-ESI-01689609         LDC-SRQ21-ESI-01689635 July 25, 2019                      LDC document titled "Project Emperor Discussion          106, 901
                                                                                                                     Materials, Jul. 25, 2019"




         PTX275             LDC-SRQ21-ESI-01723856         LDC-SRQ21-ESI-01723857 December 7, 2020                   Email from Eugene Teo to Michael Gelchie and others, 802
                                                                                                                     "Project Miami (Sugar, NAM) - Minutes," Dec.7, 2020,
                                                                                                                     with attachment




         PTX276             LDC-SRQ21-ESI-01723939         LDC-SRQ21-ESI-01723941 December 11, 2020                  Email from Neil Grealy to Adrian Isman, Robert           802
                                                                                                                     Waxlax, and others, "FW: Project Seine - Exclusivity,"
                                                                                                                     Dec. 11, 2020, with attachments




         PTX277             LDC-SRQ21-ESI-01728390         LDC-SRQ21-ESI-01728390 October 10, 2018                   Email from Michael Gorrell to Adrian Isman and           802
                                                                                                                     Anthony Tancredi, "FW: Project Emperor Potential
                                                                                                                     antitrust issues," Oct. 10, 2018




         PTX278             LDC-SRQ21-ESI-01729636         LDC-SRQ21-ESI-01729641 November 17, 2020                  Email from Michael Gorrell to David Prout and Sue        802
                                                                                                                     Kharouba, "RE: Project Miami/Seine Background
                                                                                                                     Information for Raw Sugar Transfer," Nov. 17, 2020,
                                                                                                                     with attachment




         PTX279                                                         Intentionally Omitted, please reference JTX022                                                        None

         PTX280             LDC-SRQ21-ESI-01737021         LDC-SRQ21-ESI-01737025 June 15, 2021                      Email from Jeana Hines to Gerald Kramer and Jim          802, 805
                                                                                                                     Evans, "RE: 6/15/2021 United Sugars Pallet Charge
                                                                                                                     Update on new contracts & 6/14/2021 United Sugars
                                                                                                                     Product Differentials over Bulk Fine Gran," June 15,
                                                                                                                     2021



         PTX281             LDC-SRQ21-ESI-01743193         LDC-SRQ21-ESI-01743193 June 3, 2021                       Email from Jeana Hines to SGL-SugarSales, "RE: Pallet 802, 805
                                                                                                                     Charge Increase," June 3, 2021




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         PTX282             LDC-SRQ21-ESI-01748915         LDC-SRQ21-ESI-01748915 June 15, 2021                      Message from Jeana Hines to Mike Gorrell, June 15,        802, 805
                                                                                                                     2021




         PTX283             LDC-SRQ21-ESI-01750737         LDC-SRQ21-ESI-01750739 May 17, 2021                       Email from Jeana Hines to Patrick Henneberry, "RE:        802
                                                                                                                     2021 objectives -- let me know," May 17, 2021, with
                                                                                                                     attachment




         PTX284             LDC-SRQ21-ESI-01756804         LDC-SRQ21-ESI-01756805 July 9, 2021                       Email from Jeana Hines to Patrick Henneberry and Jim None
                                                                                                                     Evans, "here is the word document so we can change
                                                                                                                     for foodservice /retail -- let me know when you are
                                                                                                                     available to discuss," Jul. 9, 2021, with attachment




         PTX285             LDC-SRQ21-ESI-01770765         LDC-SRQ21-ESI-01770767 August 14, 2020                    Email from Luke Kurtz to Robert Waxlax and Neil           802
                                                                                                                     Grealy, "RE: Amendment Extending IOI," Aug. 14,
                                                                                                                     2020, with attachment




         PTX286             LDC-SRQ21-ESI-01774565         LDC-SRQ21-ESI-01774919 September 9, 2021                  Imperial document titled "Exhibits and Schedules to  802
                                                                                                                     the Asset Purchase Agreement, Dated March 24, 2021
                                                                                                                     By and Between IBIS Acquisition, LLC, as buyer, The
                                                                                                                     Persons Listed on Schedule 1.1 to the Asset Purchase
                                                                                                                     Agreement, as Sellers, Louis Dreyfus Company LLC, as
                                                                                                                     parent," Sept. 9, 2021


         PTX287             LDC-SRQ21-ESI-01775139         LDC-SRQ21-ESI-01775260 September 9, 2021                  "Asset Purchase Agreement by and between Ibis        802
                                                                                                                     Acquisition, LLC, as Buyer, The Persons Listed on
                                                                                                                     Schedule 1.1, as Sellers, Louis Dreyfus Company LLC,
                                                                                                                     as Parent, March 24, 2021," Sept. 9, 2021




         PTX288                                                         Intentionally Omitted, please reference JTX023                                                         None
         PTX289                                                         Intentionally Omitted, please reference JTX024                                                         None
         PTX290                                                         Intentionally Omitted, please reference JTX025                                                         None
         PTX291             N/A                            N/A                        Undated                        Page from LSR website entitled “History,” Copyright       None
                                                                                                                     2013




         PTX292                                                         Intentionally Omitted, please reference JTX050                                                         None
         PTX293             N/A                            N/A                        January 25, 2022               Letter from Daniel Plunkett to Jill Ptacek responding to None
                                                                                                                     DOJ subpoena to LSR, Jan. 25, 2022




         PTX294             N/A                            N/A                        February 1, 2022               USDA document titled "Table 5A-U.S. Wholesale             None
                                                                                                                     refined cane sugar price, Northeast markets, monthly,
                                                                                                                     quarterly, and by calendar and fiscal year, since 1999"




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         PTX295             N/A                            N/A               February 1, 2022               USDA document titled "Table 5-U.S. wholesale refined None
                                                                                                            beet sugar price, Midwest markets, monthly, quarterly,
                                                                                                            and by calendar and fiscal year, since 1960," last
                                                                                                            updated Feb. 1, 2022




         PTX296             N/A                            N/A               December 15, 2021              USDA document titled "USDA Sugar and Sweeteners      802
                                                                                                            Outlook: December 2021," Dec. 15, 2021




         PTX297             N/A                            N/A               June 26, 2019                  USDA press release titled "USDA Announces FY 2019, 802
                                                                                                            FY 2020 Supply Adjustments to Sugar Program," June
                                                                                                            26, 2019




         PTX298             N/A                            N/A               September 24, 2020             USDA press release titled "USDA Announces Fiscal    802
                                                                                                            Year 2021 Sugar Loan Rates, Allotment and Marketing
                                                                                                            Allocations," Sept. 24, 2020




         PTX299             N/A                            N/A               September 30, 2021             USDA press release titled "USDA Announces Fiscal     802
                                                                                                            Year 2022 Sugar Loan Rates, Allotment and Marketing
                                                                                                            Allocations, and No Actions Under the Feedstock
                                                                                                            Flexibility Program for Fiscal Year 2022," Sept. 30,
                                                                                                            2021



         PTX300             N/A                            N/A               September 10, 2020             USDA press release titled "USDA Fiscal Year 2020     802
                                                                                                            Sugar Program
                                                                                                            Announcements," Sept. 10, 2020




         PTX301             N/A                            N/A               April 1, 2020                  USDA press release titled "USDA Announces             802
                                                                                                            Reassignments of Fiscal Year 2020 Domestic Marketing
                                                                                                            Allocations and Increases to Fiscal Year 2020 Raw and
                                                                                                            Refined Sugar Tariff-Rate Quotas," Apr. 1, 2020




         PTX302             N/A                            N/A               February 6, 2020               USDA press release titled "USDA Asks USTR to         802
                                                                                                            Reallocate Unused Raw Sugar TRQ Volume," Feb. 6,
                                                                                                            2020




         PTX303             N/A                            N/A               November 15, 2019              USDA press release titled "USDA Announces its Intent 802
                                                                                                            to Ensure
                                                                                                            Adequate Sugar Supply," Nov. 15, 2019




         PTX304             N/A                            N/A               March 24, 2021                 Imperial, 3(b)-1 Asset Purchase Agreement            None




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         PTX305             N/A                            N/A               March 29, 2021                 Party Presentation titled "U.S. Sugar's Acquisition of   602
                                                                                                            Imperial Sugar Company," Mar. 29, 2021




         PTX306             N/A                            N/A               May 13, 2021                   Letter from Lindsey S. Champlin, Esq. to Jill Ptacek,    602
                                                                                                            Esq., "Re: U.S. Sugar's Proposed Acquisition of
                                                                                                            Imperial Sugar," May 13, 2021




         PTX307             N/A                            N/A               June 25, 2021                  Letter from Amanda Wait, Esq. to Chinita Sinkler, Esq., 602, 802, 805
                                                                                                            and Jill Ptacek, Esq., "Re: Proposed Acquisition of
                                                                                                            Imperial Sugar by U.S. Sugar DOJ File No. 60-311312-
                                                                                                            0001," June 25, 2021 [regarding databases]




         PTX308             N/A                            N/A               June 25, 2021                  Letter from Amanda Wait, Esq., to Chinita Sinkler,        602, 802, 805
                                                                                                            Esq., and Jill Ptacek, Esq., "Re: Proposed Acquisition of
                                                                                                            Imperial Sugar by U.S. Sugar DOJ File No. 60-311312-
                                                                                                            0001," June 25, 2021 [regarding P&Ls]




         PTX309             N/A                            N/A               July 1, 2021                   Email from Lindsey S. Champlin, Esq., to Jill Ptacek, 602
                                                                                                            Esq., "Raw Sugar Imports - United Sugars Follow-Up,"
                                                                                                            Jul. 1, 2021, with attachments




         PTX310             N/A                            N/A               August 6, 2021                 Letter from Lindsey S. Champlin, Esq., to Jill Ptacek,   602
                                                                                                            Esq.,"Re: United States Sugar Corporation's proposed
                                                                                                            acquisition of Imperial Sugar Company, HSR 2021-
                                                                                                            1665," Aug. 6, 2021, with attachment




         PTX311             N/A                            N/A               August 8, 2021                 Letter from Amanda P. Reeves, Esq., to Jill Ptacek,   602
                                                                                                            Esq., "RE: United States Sugar Corporation's proposed
                                                                                                            acquisition of Imperial Sugar Company, HSR 2021-
                                                                                                            1665," Aug. 8, 2021




         PTX312             N/A                            N/A               August 11, 2021                Letter from Amanda Wait, Esq., to Jill Ptacek, Esq., and 602, 802, 805
                                                                                                            Chinita Sinkler, Esq., "Re: Proposed Acquisition of
                                                                                                            Imperial Sugar by U.S. Sugar DOJ File No. 60-311312-
                                                                                                            0001," Aug. 11, 2021




         PTX313             N/A                            N/A               August 11, 2021                U.S. Sugar, Second Request Responses - Confidential,     602
                                                                                                            Aug. 11, 2021




         PTX314             N/A                            N/A               August 11, 2021                U.S. Sugar, Proposed Acquisition of Imperial by U.S. None
                                                                                                            Sugar, Inc. HSR 2021-1665, Appendix 8, Aug. 11, 2021




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         PTX315             N/A                            N/A                       August 11, 2021                United Sugars Corp, "Response to the Civil          602
                                                                                                                    Investigative Demand for Documents and Information
                                                                                                                    Issued to United Sugars Corporation," Aug. 11, 2021




         PTX316             N/A                            N/A                       August 16, 2021                Email from Matthew Piehl, Esq., to Jill Ptacek, Esq.,    602, 701, 802
                                                                                                                    and others, "U.S. Sugar/Imperial Sugar - Letter," Aug.
                                                                                                                    16, 2021, with attachments




         PTX317             N/A                            N/A                       N/A                            Imperial, 3(b)-2 Form Raw Sugar Sourcing Agreement None




         PTX318                                                        Intentionally Omitted, please reference JTX026                                                        None
         PTX319             PC_000003                      PC_000005                 January 31, 2022               Piedmont Candy Company document with filename            802, 901
                                                                                                                    "PC_000003.pdf," Jan. 31, 2022




         PTX320                                                        Intentionally Omitted, please reference JTX027                                                        None
         PTX321             PC_000007                      PC_000007                 January 23, 2022               Piedmont Candy Company document with filename            802, 901
                                                                                                                    "PC_000007.xlsx," Jan. 23, 2022




         PTX322             PC_000440                      PC_000445                 September 14, 2020             Email from Heath Cagle to Beth Smith, "re 21 Sugar       802, 901
                                                                                                                    Pricing," Sept. 14, 2020, with attachment




         PTX323             PC_000462                      PC_000468                 August 13, 2020                Email from Heath Cagle to Julie Campbell, "RE:   802, 901
                                                                                                                    [EXTERNAL] RE: United Sugars: 2021 Price Quote,"
                                                                                                                    Aug. 13, 2020




         PTX324             PC_000476                      PC_000481                 July 30, 2020                  Email from Heath Cagle to Julie Campbell, "re: United 802, 901
                                                                                                                    Sugars: 2021 Price Quote" July 30, 2020




         PTX325             SUGIMP-ATR-00004205            SUGIMP-ATR-00004207       January 6, 2022                Email from John Yonover to Jessica Taticchi "re          602, 802
                                                                                                                    [EXTERAL] RE: United States v. U.S. Sugar Corp.,
                                                                                                                    1:21-cv-01644-MN," Jan. 6, 2022




         PTX326                                                        Intentionally Omitted, please reference JTX028                                                        None

         PTX327                                                        Intentionally Omitted, please reference JTX029                                                        None




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         PTX328             SUGIMP-ATR-00009003            SUGIMP-ATR-00009003      June 25, 2021                  Letter from Hon. Secretary Thomas Vilsack to Robert 802
                                                                                                                   H. Buker, "re: request to increase raw imports from
                                                                                                                   Mexico," June 25, 2021




         PTX329                                                       Intentionally Omitted, please reference JTX030                                                        None

         PTX330             U.S. Sugar 4(c)-1              N/A                      Febuary 10, 2020               U.S. Sugar, 4(c)-1 Presentation titled "US Sugar Market None
                                                                                                                   as it Relates to Seine," Feb. 2020




         PTX331             U.S. Sugar 4(c)-2              N/A                      March 23, 2020                 U.S. Sugar, 4(c)-2 Presentation titled "Project Miami:   None
                                                                                                                   Post-Management Presentation Follow-Up"




         PTX332             U.S. Sugar 4(c)-3              N/A                      July 1, 2020                   U.S. Sugar, 4(c)-3 Presentation titled "Imperial Sugar   None
                                                                                                                   Company: Raw Sugar Sourcing," July, 2020




         PTX333             U.S. Sugar 4(c)-4              N/A                      September 9, 2020              U.S. Sugar document titled "Sugar Refinery Real Estate 602, 802, 901
                                                                                                                   and Processing Equipment Appraisal, Prepared for
                                                                                                                   Wells Fargo Bank N.A. by Crown Appraisals, Inc.,
                                                                                                                   September 9, 2020," Sept. 9, 2020




         PTX334             U.S. Sugar 4(c)-5              N/A                      September 9, 2020              U.S. Sugar document titled, "Sugar Refinery Real Estate 802
                                                                                                                   and Processing Equipment Purchase Price Allocation
                                                                                                                   Prepared for U.S. Sugar Corporation by Crown
                                                                                                                   Appraisals, Inc., September 9, 2020," Sept. 9, 2020




         PTX335             U.S. Sugar 4(c)-6              N/A                      September 9, 2020              U.S. Sugar document titled "Imperial Sugar Port          802
                                                                                                                   Wentworth, Georgia Marketing Assets, September 9,
                                                                                                                   2020," Sept. 9, 2020




         PTX336             U.S. Sugar 4(c)-7              N/A                      October 6, 2020                U.S Sugar document titled Seine Update                   None




         PTX337             U.S. Sugar 4(c)-8              N/A                      October 19, 2020               U.S. Sugar, 4(c)-8 Spreadsheet titled "Project Miami:    None
                                                                                                                   Due Diligence Summary"




         PTX338             U.S. Sugar 4(c)-9              N/A                      November 18, 2020              U.S Sugar document titled "Imperial Acquisition,         None
                                                                                                                   November 18, 2020," Nov. 18, 2020




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         PTX339             U.S. Sugar 4(d)-1              N/A                     January 17, 2020               U.S. Sugar, 4(d)-1 Presentation titled "Sugar Report,"    None
                                                                                                                  Jan. 17, 2020




         PTX340             U.S. Sugar 4(d)-10             N/A                     December 7, 2020               U.S. Sugar document titled "Seine Transaction,            None
                                                                                                                  December 7, 2020," Dec. 7, 2020




         PTX341                                                      Intentionally Omitted, please reference JTX031                                                         None

         PTX342                                                      Intentionally Omitted, please reference JTX032                                                         None

         PTX343                                                      Intentionally Omitted, please reference JTX033                                                         None

         PTX344             U.S. Sugar 4(d)-14             N/A                     March 17, 2021                 U.S. Sugar's document titled "Seine Financial Update,     None
                                                                                                                  March 17, 2021," Mar. 17, 2021




         PTX345                                                      Intentionally Omitted, please reference JTX034                                                         None

         PTX346                                                      Intentionally Omitted, please reference JTX035                                                         None

         PTX347             U.S. Sugar 4(d)-17             N/A                     January 30, 2020               Email from Matt Wineinger to Elaine Wood and others, None
                                                                                                                  "FW: Privileged and Confidential - Seine Synergies &
                                                                                                                  Model," Jan. 30, 2020




         PTX348             U.S. Sugar 4(d)-18             N/A                     June 10, 2019                  U.S. Sugar 4(d)-18, United document titled "Value of      None
                                                                                                                  Synergies," June 10, 2019




         PTX349             U.S. Sugar 4(d)-19             N/A                     August 12, 2019                U.S. Sugar, 4(d)-19 Presentation titled "Seine Valuation None
                                                                                                                  Discussion"




         PTX350             U.S. Sugar 4(d)-2              N/A                     March 4, 2020                  U.S. Sugar, 4(d)-2 Presentation titled "Imperial Sugar:   None
                                                                                                                  Management Presentation," Mar. 4, 2020




         PTX351             U.S. Sugar 4(d)-20             N/A                     August 12, 2019                U.S. Sugar, 4(d)-20 Presentation titled "Key              None
                                                                                                                  Assumption - Budget Case," Aug. 12, 2019




         PTX352             U.S. Sugar 4(d)-21             N/A                     August 12, 2019                U.S. Sugar, 4(d)-21 Presentation titled "Key Assuptions None
                                                                                                                  Conservative Case," Aug. 12, 2019




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         PTX353             U.S. Sugar 4(d)-22             N/A                      August 12, 2019                U.S. Sugar, 4(d)-22 Presentation titled "Key             None
                                                                                                                   Assumption - Landed Case," Aug. 12, 2019




         PTX354             U.S. Sugar 4(d)-3              N/A                      March 11, 2020                 U.S. Sugar, 4(d)-3 Presentation titled "Project Seine:   602, 802, 901
                                                                                                                   Preliminary Discussion Materials," Mar. 11, 2020




         PTX355             U.S. Sugar 4(d)-4              N/A                      June 7, 2020                   U.S. Sugar's document, titled "Project Seine Valuation   602, 802, 901
                                                                                                                   Discussion, June 7, 2020" June 7, 2020




         PTX356             U.S. Sugar 4(d)-5              N/A                      November 9, 2020               U.S. Sugar document, titled "Project Seine Due           602, 802, 901
                                                                                                                   Diligence Report, November 9, 2020, BDO" Nov. 9,
                                                                                                                   2020




         PTX357                                                       Intentionally Omitted, please reference JTX036                                                        None

         PTX358             U.S. Sugar 4(d)-7              N/A                      December 2, 2020               U.S. Sugar, 4(d)-7 Presentation titled "Updated          602, 802
                                                                                                                   Financial Analysis," Dec., 2020




         PTX359             U.S. Sugar 4(d)-8              N/A                      December 2, 2020               U.S. Sugar, 4(d)-8 Presentation titled "Model            602, 802
                                                                                                                   Comparison (June 2020 vs. November 2020),"




         PTX360             U.S. Sugar 4(d)-9              N/A                      December 7, 2020               U.S. Sugar document titled Seine Financial Update,       None
                                                                                                                   dated Dec. 7, 2020.




         PTX361             U.S.Sugar 3(b)-3               N/A                      March 24, 2021                 U.S. Sugar, 3(b)-3 Side Letter Agreement.                403 (duplicate)




         PTX362             UNITED_00004501                UNITED_00004503          June 29, 2021                  Email from Melissa Federer to Julie Campbell, "RE:       None
                                                                                                                   [EXTERNAL] RE: Piedmont Candy - open terms,"
                                                                                                                   June 28, 2021




         PTX363             UNITED_00005628                UNITED_00005630          May 28, 2021                   Email from Julie Campbell to Robert Schreck, "FW:        802
                                                                                                                   [EXTERNAL] CY 2022 Sugar Offer for Krispy
                                                                                                                   Kreme," May 28, 2021, with attachment




         PTX364                                                       Intentionally Omitted, please reference JTX037                                                        None




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         PTX365             UNITED_00056684                UNITED_00056696      June 22, 2021                  Email from Commodity Information Inc.                602, 802
                                                                                                               [rich@commmodinfo.com] to Commodity Information
                                                                                                               Inc. [rich@commmodinfo.com] and others, re:
                                                                                                               “Domestic Sugar Monthly Report,” June 21, 2021, with
                                                                                                               attachment



         PTX366             UNITED_00083317                UNITED_00083317      June 16, 2021                  Email from Steven Hanson to Donna Isakson, "RE:       None
                                                                                                               Customer Presentation," June 16, 2021




         PTX367             UNITED_00084015                UNITED_00084016      November 29, 2021              Email from Steven Hanson to Lisa Maloy, "RE: Rating None
                                                                                                               Agency Presentation," Nov. 29, 2021




         PTX368             UNITED_00357090                UNITED_00357095      December 15, 2021              Email from Eric Speece to Janice Drechsel, "[External] 802
                                                                                                               Quote for 2023," Dec. 15, 2021




         PTX369             UNITED_00360103                UNITED_00360103      June 20, 2021                  Email from Eric Speece to Commodity Information       802, 805
                                                                                                               Inc. [rich@commodinfo.com], "RE: [EXTERNAL]
                                                                                                               Michigan, Western, ASR," June 20, 2021




         PTX370             UNITED_00360666                UNITED_00360666      May 27, 2021                   Email from Eric Speece to Dirk Swart, "Campbell and 802
                                                                                                               Kellogg's (2 yr deal) update," May 27, 2021




         PTX371             UNITED_00396111                UNITED_003961153     September 13, 2021             Email from Donna Isakson to Dirk Swart Hanson and None
                                                                                                               others, "Customer Presentation - September version,"
                                                                                                               Sep. 13, 2021, with attachment




         PTX372             UNITED_00554340                UNITED_00554341      September 20, 2021             Email from Stacy Thomsen to Matthew Wineinger,        None
                                                                                                               Dirk Swart, David Susla, and others, "Supply &
                                                                                                               Operations Update," Sept. 20, 2021




         PTX373             UNITED_00592009                UNITED_00592010      October 26, 2021               Email from Matthew Wineinger to Lori Anderson,        802
                                                                                                               "FW: [EXTERNAL] Oct-Dec 2021 Invoice from
                                                                                                               Commodity Information Inc.," Oct. 26, 2021




         PTX374             UNITED_00595544                UNITED_00595555      November 18, 2021              Email from Julie Campbell to Sandy Reader, "RE:    802
                                                                                                               [EXTERNAL] 2022 Sugar Availability," Nov. 18, 2021




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         PTX375             UNITED_00609676                UNITED_00609717         August 2, 2021                 Email from Steven Hanson to Stacy Thomsen, re:           None
                                                                                                                  "Presentation," Aug. 2, 2021, with attachment




         PTX376             UNITED_00613818                UNITED_00613818         March 6, 2019                  Email from Teresa Warne to Teresa Warne, Kae Kaske, None
                                                                                                                  Kevin Heazlett, copying Steve Hines, "FW: Project
                                                                                                                  Seine - Finance Kickoff/discussion," Mar. 6, 2019




         PTX377             UNITED_00615065                UNITED_00615067         October 13, 2021               Draft email from Steve Hines, "Strategic Initiatives,"   None
                                                                                                                  Oct. 13, 2021




         PTX378             UNITED_00657002                UNITED_00657002         March 4, 2019                  Email from Matthew Wineinger to Matthew Wineinger None
                                                                                                                  and others, "Project Seine Brainstorm mtg," Mar. 4,
                                                                                                                  2019




         PTX379             UNITED_00657034                UNITED_00657034         August 3, 2018                 Email from Steve Hines to Steve Hines, Matthew           None
                                                                                                                  Wineinger, Dirk Swart, David Susla, Kae Kaske, Stacy
                                                                                                                  Thomsen, Steve Hanson, Mike Barth, and Rob Lyke,
                                                                                                                  "SE Product Mix - Update and Next Steps," Aug. 3,
                                                                                                                  2018



         PTX380             UNITED_00657035                UNITED_00657035         August 17, 2018                Email from Steve Hines to Steven Hanson and others, None
                                                                                                                  "SE Product Mix - Status and Next Steps," Aug. 17,
                                                                                                                  2018




         PTX381                                                                              Clawed Back - Privileged

         PTX382             UNITED_00675152                UNITED_00675152         August 3, 2018                 Email from Steve Hines to Steve Hines, Matthew           None
                                                                                                                  Wineinger, Dirk Swart, and others, "SE Product Mix -
                                                                                                                  Update and Next Steps," Aug. 3, 2018




         PTX383             UNITED-DOJ-00085750            UNITED-DOJ-00085751     February 10, 2021              Email from Tim Minton to Dirk Swart, "RE: R.M.           802
                                                                                                                  Palmer - 2022 Sugar," Feb. 10, 2021




         PTX384             UNITED-DOJ-00100306            UNITED-DOJ-00100306     November 5, 2020               Message from Julie Campbell to Robert Schreck, Nov. None
                                                                                                                  5, 2020




         PTX385             UNITED-DOJ-00100307            UNITED-DOJ-00100307     November 5, 2020               Message from Julie Campbell to Robert Schreck, Nov. None
                                                                                                                  5, 2020




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         PTX386             UNITED-DOJ-00100313            UNITED-DOJ-00100313     November 12, 2020              Message from Julie Campbell to Robert Schreck, Nov. None
                                                                                                                  12, 2020




         PTX387             UNITED-DOJ-00116530            UNITED-DOJ-00116530     January 6, 2021                Email from Robert Schreck to Dirk Swart, "FW: Post / 602
                                                                                                                  Crop 21 Bid," Jan. 6, 2021




         PTX388             UNITED-DOJ-00118166            UNITED-DOJ-00118166     May 13, 2021                   Email from Clayton Brown to Robert Schreck, "re      802
                                                                                                                  [EXTERNAL] LSR Update," May 13, 2021




         PTX389             UNITED-DOJ-00125329            UNITED-DOJ-00125330     March 18, 2021                 Email from Commodity Information Inc.            802, 805
                                                                                                                  [rich@commodinfo.com] to Eric Speece, "Re:
                                                                                                                  [EXTERNAL] Daily Sosland Sweetener Report Update
                                                                                                                  for March 16, 2021," Mar. 18, 2021




         PTX390             UNITED-DOJ-00125334            UNITED-DOJ-00125334     March 18, 2021                 Email from Commodity Information Inc.                802
                                                                                                                  [rich@commodinfo.com] to Eric Speece,
                                                                                                                  "[EXTERNAL] ASR, Michigan," Mar. 18, 2021




         PTX391             UNITED-DOJ-00125335            UNITED-DOJ-00125336     February 15, 2021              Email from Commodity Information Inc.                403 (duplicate), 802
                                                                                                                  [rich@commodinfo.com] to Eric Speece, "Re:
                                                                                                                  [EXTERNAL] severe winter weather, FY22 pricing,"
                                                                                                                  Feb. 15, 2021




         PTX392             UNITED-DOJ-00125337            UNITED-DOJ-00125338     February 16, 2021              Email from Commodity Information Inc.                802
                                                                                                                  [rich@commodinfo.com] to Eric Speece, "Re:
                                                                                                                  [EXTERNAL] severe winter weather, FY22 pricing,"
                                                                                                                  Feb. 16, 2021




         PTX393             UNITED-DOJ-00128529            UNITED-DOJ-00128533     October 8, 2020                Email from Commodity Information Inc. to          602, 802, 805
                                                                                                                  [rich.commodinfo.com] to Eric Speece, "[EXTERNAL]
                                                                                                                  August delivery data," Oct. 8, 2020




         PTX394             UNITED-DOJ-00129422            UNITED-DOJ-00129423     October 12, 2020               Email from Eric Speece to Commodity Information      602, 802
                                                                                                                  Inc. [rich@commodinfo.com], "RE: [EXTERNAL]
                                                                                                                  RRV Harvest, Hurricane Delta," Oct. 12, 2020




         PTX395             UNITED-DOJ-00129857            UNITED-DOJ-129859       May 20, 2019                   Meeting invite from Eric Speece to Gwendolyn Kernan, 106, 802, 901
                                                                                                                  "[EXTERNAL] 2020 Liquid Sugar Quote Sheet.xlsx,"
                                                                                                                  May 20, 2019




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         PTX396             UNITED-DOJ-00136830            UNITED-DOJ-00136831     November 17, 2020              Email from Steven Hanson to Eric Speece and Dirk     602, 802, 805
                                                                                                                  Swart, "RE: [EXTERNAL] labor, storage, Florida,
                                                                                                                  pricing," Nov. 17, 2020




         PTX397             UNITED-DOJ-00137142            UNITED-DOJ-00137143     November 17, 2020              Email from Commodity Information Inc.                403 (duplicate), 602, 802,
                                                                                                                  [rich@commodinfo.com] to Eric Speece, "Re:           805
                                                                                                                  [EXTERNAL] labor, storage, Florida, pricing," Nov.
                                                                                                                  17, 2020




         PTX398             UNITED-DOJ-00145056            United-DOJ-00145058     March 5, 2021                  Email from Yolanda Ocasio to Eric Speece, "RE:       402, 802
                                                                                                                  [EXTERNAL] Sugar," Mar. 5, 2021




         PTX399             UNITED-DOJ-00154065            UNITED-DOJ-00154066     February 15, 2021              Email from Dirk Swart to Eric Speece, "Re:           403 (duplicate), 602, 802
                                                                                                                  [EXTERNAL] severe winter weather, FY22 pricing,"
                                                                                                                  Feb. 15, 2021




         PTX400             UNITED-DOJ-00157644            UNITED-DOJ-00157645     March 24, 2021                 Email from Ted Guy to Eric Speece, "Pepsi RFQ,"      802
                                                                                                                  Mar. 24, 2021, with attachment




         PTX401             UNITED-DOJ-00166596            UNITED-DOJ-00166599     December 3, 2020               Email from Perry Cerminara to Eric Speece and Myron 802
                                                                                                                  Swartzentruber, "Re: [EXTERNAL] 2021 Hershey
                                                                                                                  Prices," Dec. 3, 2020




         PTX402             UNITED-DOJ-00169996            UNITED-DOJ-00169997     November 17, 2020              Email from Eric Speece to Dirk Swart, "FW:           602, 802, 805
                                                                                                                  [EXTERNAL] labor, storage, Florida, pricing," Nov.
                                                                                                                  17, 2020




         PTX403             United-DOJ-00171531            United-DOJ-00171533     March 5, 2021                  Email from Eric Speece to May Gui, " RE:             802, 805
                                                                                                                  [EXTERNAL] Re: United Sweet ?," Mar. 5, 2021




         PTX404             UNITED-DOJ-00171986            UNITED-DOJ-00171986     March 16, 2021                 Email from Eric Speece to Commodity Information      602, 802
                                                                                                                  Inc. [rich@commodinfo.com], "RE: [EXTERNAL]
                                                                                                                  beet updates, pricing," Mar. 16, 2021




         PTX405             UNITED-DOJ-00173019            UNITED-DOJ-00173020     February 15, 2021              Email from Eric Speece to Dirk Swart, "RE:           602, 802
                                                                                                                  [EXTERNAL] severe winter weather, FY22 pricing,"
                                                                                                                  Feb. 15, 2021




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         PTX406             UNITED-DOJ-00173135            UNITED-DOJ-00173138        February 18, 2021              Email from Eric Speece to Commodity Information       106, 602, 802, 805, 901
                                                                                                                     Inc. [rich@commodinfo.com], "RE: [EXTERNAL]
                                                                                                                     severe winter weather, FY22 pricing," Feb. 18, 2021




         PTX407             United-DOJ-00173211            United-DOJ-00173212        December 17, 2020              Email from Eric Speece to Perry Cerminara, "2021 cane 802, 1002
                                                                                                                     switch and 2020 contract balance," Dec. 17, 2020




         PTX408                                                         Intentionally Omitted, please reference JTX038                                                     None

         PTX409             UNITED-DOJ-00176373            UNITED-DOJ-00176374        August 21, 2020                Email from Dirk Swart to Eric Speece, "EXTERNAL] 802
                                                                                                                     2021 6x sugar Plan"




         PTX410             UNITED-DOJ-00177612            UNITED-DOJ-00177675        March 19, 2020                 United Document titled "United Sugars & Pepsi         106, 901
                                                                                                                     Meeting, March 19th, 2020," Mar. 19, 2020




         PTX411             UNITED-DOJ-00178265            UNITED-DOJ-00178267        August 26, 2020                Email from Eric Speece to Jack DaMota, "Sugar         802
                                                                                                                     Booking," Aug. 26, 2020




         PTX412             UNITED-DOJ-00178628            UNITED-DOJ-00178640        August 15, 2019                United document, titled "Cane Refinery Capacity       802
                                                                                                                     Analysis Aug 2019," Aug. 15, 2019




         PTX413             UNITED-DOJ-00182382            UNITED-DOJ-00182382        April 29, 2021                 Email from Commodity Information Inc.                 602, 802
                                                                                                                     [rich@commodinfo.com] to Eric Speece,
                                                                                                                     "[EXTERNAL] ASR, post-fire beet and cane price
                                                                                                                     updates," Apr. 29, 2021




         PTX414             UNITED-DOJ-00183480            UNITED-DOJ-00183482         April 21, 2021                Email from Katie Vohnoutka to Shelly Buerkley, Ryan 802
                                                                                                                     Kortan, "URGENT: New River - Pepsi Wytheville
                                                                                                                     VA," Apr. 21, 2021




         PTX415             UNITED-DOJ-00185640            UNITED-DOJ-00185641        April 26, 2021                 Email from Mike Barth to Cody Bendickson and Eric     802
                                                                                                                     Speece, "RE: Savannah GA to Wytheville, VA," Aug.
                                                                                                                     26, 2021




         PTX416             UNITED-DOJ-00185696            UNITED-DOJ-00185697        April 26, 2021                 Email from Dirk Swart to Eric Speece, "RE: Pepsi      106, 802, 901
                                                                                                                     recap," Apr. 26, 2021




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         PTX417             UNITED-DOJ-00188780            UNITED-DOJ-00188783     May 19, 2021                   Email from Eric Speece to Laura Polgano, Dirk Swart, 802
                                                                                                                  and Ted Guy, "Re: [EXTERNAL] United/PEP 2022
                                                                                                                  RFP Follow up," May 19, 2021, with attachment




         PTX418             UNITED-DOJ-00189418            UNITED-DOJ-00189419     April 26, 2021                 Email from Eric Speece to Dirk Swart, "Pepsi recap,"   802
                                                                                                                  Apr. 26, 2021, with attachment




         PTX419             UNITED-DOJ-00190075            UNITED-DOJ-00190075     June 26, 2019                  Email from Steve Hines to Steve Hines, Matthew         None
                                                                                                                  Wineinger, Steven Hanson, and others, "Dry
                                                                                                                  Run/Planning for NSM Meeting," Jul. 9, 2019




         PTX420             UNITED-DOJ-00191265            UNITED-DOJ-00191266     September 25, 2020             Email from Dirk Swart to Eric Speece, "Re: Hershey    802
                                                                                                                  convert           to cane only contract in Q4," Sept.
                                                                                                                  25, 2020




         PTX421             UNITED-DOJ-00192934            UNITED-DOJ-00192935     October 2, 2020                Email from Dirk Swart to Matthew Wineinger, "Re:       106, 901
                                                                                                                  GM rebate," Oct. 2, 2020




         PTX422             UNITED-DOJ-00193188            UNITED-DOJ-00193188     October 8, 2020                Email from Dirk Swart to Steven Hanson, "FW: Cane      802
                                                                                                                  Supersacks," Oct. 8, 2020




         PTX423             UNITED-DOJ-00196755            UNITED-DOJ-00196778     February 22, 2021              Email from Steven Hanson to Dirk Swart, "Deck to be 602
                                                                                                                  reviewed on Wednesday," Feb. 22, 2021, with
                                                                                                                  attachment




         PTX424             UNITED-DOJ-00199117            UNITED-DOJ-00199119     March 10, 2019                 Email from Stacy Thomsen to Dirk Swart, Steven       106, 802, 901
                                                                                                                  Hanson, Christi Thielke, and Matthew Wineinger, "New
                                                                                                                  NSM Lead Time Requirements and Assessorial Fees,"
                                                                                                                  Mar. 10, 2021, with attachment




         PTX425             UNITED-DOJ-00199865            UNITED-DOJ-00199868     March 12, 2021                 Email from Matthew Wineinger to Christi Thielke and 106, 901
                                                                                                                  Steve Hines, "Re: New NSM Lead Time Requirements
                                                                                                                  and Assessorial Fees," Mar. 12, 2021, with attachment




         PTX426             UNITED-DOJ-00202170            UNITED-DOJ-00202172     January 20, 2021               Email from Eric Speece to Dirk Swart and Steve     602, 802, 805
                                                                                                                  Hanson, "FW: [EXTERNAL] storage, acreage, prices,"
                                                                                                                  Jan. 20, 2021




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         PTX427             UNITED-DOJ-00203004            UNITED-DOJ-00203006     November 3, 2020               Email from Steven Hanson to Dirk Swart and David       None
                                                                                                                  Susla, "FW: Draft Press Release," Nov. 3, 2020, with
                                                                                                                  attachment




         PTX428             UNITED-DOJ-00203829            UNITED-DOJ-00203830     April 5, 2021                  Email from Dirks Swart to Matthew Wineinger, "Fwd: None
                                                                                                                  Sales Activity," Apr. 5, 2021




         PTX429             UNITED-DOJ-00203975            UNITED-DOJ-00203977     February 11, 2021              Email from Dirk Swart to Mark Gappa, Jonathan Loyd, None
                                                                                                                  Joseph Murray, and others, "Re: Lackawanna approves
                                                                                                                  site plans for Sucro Sourcing expansion at former
                                                                                                                  Bethlehem Steel site," Feb. 11, 2021, with attachment




         PTX430             UNITED-DOJ-00204010            UNITED-DOJ-00204011     February 15, 2021              Email from Dirk Swart to Eric Speece, "Re:             403 (duplicate), 602, 802
                                                                                                                  [EXTERNAL] severe winter weather, FY22 pricing,"
                                                                                                                  Feb. 15, 2021




         PTX431             UNITED-DOJ-00204644            UNITED-DOJ-00204644     November 4, 2020               Email from Dirk Swart to Matthew Wineinger, "Re:       402, 403
                                                                                                                  Seine 2.0 Additional Interviews???," Nov. 4, 2020




         PTX432             UNITED-DOJ-00204776            UNITED-DOJ-00204777     November 16, 2020              Email from Dirk Swart to Eric Speece, "Re:             403 (duplicate), 602, 802,
                                                                                                                  [EXTERNAL] labor, storage, Florida, pricing," Nov.     805
                                                                                                                  16, 2020




         PTX433             UNITED-DOJ-00211884            UNITED-DOJ-00211890     April 13, 2021                 Email from Matthew Wineinger to Tom Astrup, "FW: None
                                                                                                                  Request Approval to Purchase Raws for Clewiston,"
                                                                                                                  Apr. 13, 2021, and attachment




         PTX434             UNITED-DOJ-00214070            UNITED-DOJ-00214072     September 29, 2020             Email from Matthew Wineinger to Steven Hanson,         106, 901
                                                                                                                  "FW: 2020 Annual Report Info," Sept. 29, 2020, and
                                                                                                                  attachments




         PTX435             UNITED-DOJ-00214830            UNITED-DOJ-00214830     January 25, 2021               Email from Steve Hines to Matthew Wineinger, [no       None
                                                                                                                  subject], Jan. 25, 2021




         PTX436             UNITED-DOJ-00214861            UNITED-DOJ-00214861     November 13, 2020              Email from Steve Hines to Matthew Wineinger, [no       602
                                                                                                                  subject], Nov. 12, 2020




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         PTX437             UNITED-DOJ-00214972            UNITED-DOJ-00214973     December 11, 2019              Email from Steve Hines to Steve Hines, Christi Thielke, None
                                                                                                                  David Susla, and others, "March Strategy Meeting -
                                                                                                                  Edina," Dec. 11, 2019




         PTX438             UNITED-DOJ-00214986            UNITED-DOJ-00214991     January 28, 2020               Email from David Althoff to Elaine Wood and others, None
                                                                                                                  "Project Seine," Jan. 28, 2020, and attachments




         PTX439             UNITED-DOJ-00215276            UNITED-DOJ-00215277     April 5, 2021                  Email from Dirk Swart to Matthew Wineinger, "Fwd:     403 (duplicate)
                                                                                                                  Sales Activity," Apr. 5, 2021




         PTX440             UNITED-DOJ-00216101            UNITED-DOJ-00216198     April 11, 2021                 United Sugars document titled "Industrial Market      106, 802, 901
                                                                                                                  Update," Apr. 11, 2021, and attachments




         PTX441             UNITED-DOJ-00216722            UNITED-DOJ-00216722     December 12, 2020              Email from Matthew Wineinger to Stacy Thomsen and None
                                                                                                                  Kae Kaske, "RE: Imperial Swap - FYI," Dec. 12, 2020




         PTX442             UNITED-DOJ-00216898            UNITED-DOJ-00216899     January 4, 2021                Email from Matthew Wineinger to Michael Greear,       None
                                                                                                                  "FW: Re-allocation of the pool for Wyoming crop,"
                                                                                                                  Jan. 4, 2021




         PTX443             UNITED-DOJ-00217373            UNITED-DOJ-00217374     February 12, 2021              Emails from Matthew Wineinger to Bob Buker, "Re: None
                                                                                                                  [EXTERNAL] RE: AT meeting Monday, Feb 22," Feb.
                                                                                                                  12, 2021.




         PTX444             UNITED-DOJ-00217817            UNITED-DOJ-00217818     October 16, 2020               Email from Matthew Wineinger to Rob Lyke, "RE:        802
                                                                                                                  Marigold-Atlanta Supersacks," Oct. 16, 2020




         PTX445             UNITED-DOJ-00219681            UNITED-DOJ-00219682     July 17, 2019                  Email from Stacy Thomsen to Matthew Wineinger and None
                                                                                                                  others, "Inventory Roll-Forward - Crop Transition,"
                                                                                                                  July 17, 2019, and attachment




         PTX446             UNITED-DOJ-00219977            UNITED-DOJ-00220043     June 7, 2019                   United Sugars document titled "USC Board of           106, 901
                                                                                                                  Directors," June 7, 2019, and attachments




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         PTX447             UNITED-DOJ-00221078            UNITED-DOJ-00221141     March 17, 2020                 United Sugars Board of Directors meeting materials for 802
                                                                                                                  meeting dated Mar. 17, 2020




         PTX448             UNITED-DOJ-00221785            UNITED-DOJ-00221829     February 17, 2021              United Sugars document titled "American Crystal        None
                                                                                                                  Strategic Planning Meeting," Feb. 17, 2021, and
                                                                                                                  attachments




         PTX449             UNITED-DOJ-00221857            UNITED-DOJ-00221909     April 17, 2020                 Email from Steve Hines to Matthew Wineinger, Dirk None
                                                                                                                  Swart, and Kae Kaske, "RE: Draft Tango Presentation
                                                                                                                  for EC," Apr. 17, 2020, with attachments




         PTX450             UNITED-DOJ-00222378            UNITED-DOJ-00222379     September 3, 2019              Email from Matthew Wineinger to Tom Astrup, Bob None
                                                                                                                  Buker, Kurt Wickstrom, and Michael Greear, "Monday
                                                                                                                  No EC Call report," Sept. 3, 2019




         PTX451             UNITED-DOJ-00222425            UNITED-DOJ-00222425     November 25, 2019              Email from Steven Hanson to Matthew Wineinger,      106, 802, 901
                                                                                                                  "RE: USDA Increases Mexican refined Export Limit by
                                                                                                                  100,00 tonnes.," Nov. 25, 2019




         PTX452             UNITED-DOJ-00222429            UNITED-DOJ-00222517     March 16, 2020                 United Sugars Executive Committee meeting materials None
                                                                                                                  for meeting dated Mar. 16, 2020




         PTX453             UNITED-DOJ-00222777            UNITED-DOJ-00222777     June 20, 2019                  Email from Steve Hines to Matthew Wineinger, "NSM 402
                                                                                                                  Agenda," June 20, 2019




         PTX454             UNITED-DOJ-00222778            UNITED-DOJ-00222780     July 15, 2019                  Email from Steven Hanson to Matthew Wineinger,         None
                                                                                                                  "Amalgamated and Renville Maps," Jul. 15, 2019, with
                                                                                                                  attachment




         PTX455             UNITED-DOJ-00222783            UNITED-DOJ-00222835     July 15, 2019                  United Sugars document titled "Maximizing Value to     None
                                                                                                                  our Members," July 15, 2019




         PTX456             UNITED-DOJ-00223522            UNITED-DOJ-00223523     June 14, 2019                  Email from Richard Wistisen to Matthew Wineinger,      802
                                                                                                                  "[EXTERNAL] Latest Invoice from Commodity
                                                                                                                  Information Inc.," June 14, 2019, with attachment




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         PTX457             UNITED-DOJ-00224848            UNITED-DOJ-00224848     April 19, 2021                 Email from Dirk Swart to Matthew Wineinger, "Re:      None
                                                                                                                  Sales Activity," Apr. 19, 2021




         PTX458             UNITED-DOJ-00226962            UNITED-DOJ-00226963     April 29, 2021                 Email from Matthew Wineinger to Kurt Wickstrom,       802
                                                                                                                  "Re: [EXTERNAL] FW: US Sugar letter to USDA, "
                                                                                                                  Apr. 29, 2021




         PTX459             UNITED-DOJ-00227037            UNITED-DOJ-00227039     April 26, 2021                 Messages between Julie Campbell and Jonathan Loyd,    None
                                                                                                                  April 26, 2021




         PTX460             UNITED-DOJ-00227132            UNITED-DOJ-00227133     August 19, 2020                Messages between Julie Campbell and Jerry Latner,     602
                                                                                                                  Aug. 19, 20200




         PTX461             UNITED-DOJ-00231322            UNITED-DOJ-00231323     October 28, 2020               Email from Julie Campbell to Jessica Ames, "FW:  802
                                                                                                                  [EXTERNAL] United Sugars: Meyers Whse," Oct. 28,
                                                                                                                  2020




         PTX462             UNITED-DOJ-00232481            UNITED-DOJ-00232483     November 12, 2020              Email from Julie Campbell to Sean Watford, "RE:       802
                                                                                                                  [EXTERNAL] RE: United Sugars: Contract
                                                                                                                  Performance," Nov. 12, 2020




         PTX463             UNITED-DOJ-00244035            UNITED-DOJ-00244038     August 19, 2020                United document titled "Dessert Holdings Q42020-      802
                                                                                                                  Q32021 price quote," Aug. 19, 2020




         PTX464             UNITED-DOJ-00244181            UNITED-DOJ-00244191     August 5, 2020                 United document titled "Buds Best 2021," Aug. 5, 2020 802




         PTX465             UNITED-DOJ-00244734            UNITED-DOJ-00244741     August 13, 2020                United document titled "Piedmont 2021 Buyers Bid -    802
                                                                                                                  Pass-," Aug. 13, 2020




         PTX466             UNITED-DOJ-00244853            UNITED-DOJ-00244866     August 8, 2018                 United document titled "Southeastern 2019," Aug. 8,   802
                                                                                                                  2018




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         PTX467             UNITED-DOJ-00244875            UNITED-DOJ-00244879     October 9, 2019                Email from Sean Watford to Julie Campbell, "RE:     802
                                                                                                                  [EXTERNAL] United Sugars: 2020 Quote," Oct. 9,
                                                                                                                  2019




         PTX468             UNITED-DOJ-00245038            UNITED-DOJ-00245062     May 1, 2019                    United document titled "Krispy Kreme 2020-2021,"    802
                                                                                                                  May 1, 2019




         PTX469             UNITED-DOJ-00245118            UNITED-DOJ-00245120     June 12, 2019                  United document titled "GAC No contract," Email     802
                                                                                                                  from Julie Campbell to Robert Schreck, "Great
                                                                                                                  American Cookie: 2020," June 12, 2019




         PTX470             UNITED-DOJ-00245121            UNITED-DOJ-00245121     August 20, 2019                Email from Julie Campbell to Robert Schrek "RE: GAC 602
                                                                                                                  - 2020," Aug. 20, 2019




         PTX471             UNITED-DOJ-00245134            UNITED-DOJ-00245142     August 27, 2019                United document titled "Kings Hawaiian No 2020      802
                                                                                                                  Contract," Aug. 27, 2019




         PTX472             UNITED-DOJ-00292440            UNITED-DOJ-00292458     November 30, 2020              Email from Steven Hanson to Steve Hines, "FW: CSM - 802
                                                                                                                  RFP & Award," Nov. 30, 2020, with attachments




         PTX473             UNITED-DOJ-00292466            UNITED-DOJ-00292467     January 14, 2021               Email from Steven Hanson to Steve Hines, "File," Jan. None
                                                                                                                  14, 2021, with attachment




         PTX474             UNITED-DOJ-00298805            UNITED-DOJ-00298807     April 29, 2021                 Email from Kevin Combs to Steven Hanson,            701, 702, 802
                                                                                                                  "RE:[EXTERNAL] RE: Link to seminar," Apr. 29,
                                                                                                                  2021, with attachment




         PTX475             UNITED-DOJ-00301533            UNITED-DOJ-00301534     February 8, 2021               Email from Steven Hanson to Steve Hines, "SPY 21    None
                                                                                                                  Attractive Mix," Feb. 8, 2021, with attachment




         PTX476             UNITED-DOJ-00301656            UNITED-DOJ-00301658     February 11, 2021              Email from Steven Hanson to Steve Hines, "FW: SPY None
                                                                                                                  21 Contracted vs SPY 22 Plan with Seine," Feb. 11,
                                                                                                                  2021, with attachment




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         PTX477             UNITED-DOJ-00302528            UNITED-DOJ-00302529     November 3, 2020               Email from Kae Kaske to Steve Hines, "Updated           None
                                                                                                                  P&L," Nov. 3, 2020, with attachment




         PTX478             UNITED-DOJ-00302698            UNITED-DOJ-00302705     November 30, 2020              Email from Steven Hanson to Steve Hines, "RE:           802
                                                                                                                  [EXTERNAL] RE: Kings Hawaiian RFP and pass,"
                                                                                                                  Nov. 30, 2020, with attachments




         PTX479                                                                              Clawed Back - Privileged
         PTX480                                                                              Clawed Back - Privileged
         PTX481             UNITED-DOJ-00306163            UNITED-DOJ-00306164     November 18, 2020              Email from Steven Hanson to Steve Hines,                None
                                                                                                                  "Competitive Frt Appn," Nov. 18, 2020, with
                                                                                                                  attachment




         PTX482             UNITED-DOJ-00307219            UNITED-DOJ-00307239     June 19, 2020                  Email from Steve Hines to Matthew Wineinger, "Sein      None
                                                                                                                  Mktg Structure and Free Raws," June 9, 2020, with
                                                                                                                  attachments




         PTX483             UNITED-DOJ-00330379            UNITED-DOJ-00330380     October 16, 2019               Email from Steven Hanson to Steve Hines and others, None
                                                                                                                  "Crystal Expansion Sales Plan," Oct. 16, 2019, with
                                                                                                                  attachment




         PTX484             UNITED-DOJ-00345914            UNITED-DOJ-00345953     February 17, 2020              Slide Deck, "Geographic Initiatives Update              None
                                                                                                                  3/15/2020," with attachments




         PTX485             UNITED-DOJ-00346273            UNITED-DOJ-00346321     June 10, 2019                  United Sugars document titled "Value of Synergies       None
                                                                                                                  Summary," June 10, 2019, and attachments




         PTX486             UNITED-DOJ-00387747            UNITED-DOJ-00387748     October 22, 2020               Email from Steve Hines to Steven Hanson, "Updated       None
                                                                                                                  Industrial Synergies," Oct. 22, 2020, with attachment




         PTX487             UNITED-DOJ-00388339            UNITED-DOJ-00388352     May 23, 2019                   United document titled "Montgomery Post Audit," May None
                                                                                                                  23, 2019




         PTX488             UNITED-DOJ-00390287            UNITED-DOJ-00390323     January 17, 2020               United Sugars document titled "Discussion Topics,"      None
                                                                                                                  Jan. 17, 2020, and attachments




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         PTX489             UNITED-DOJ-00390324            UNITED-DOJ-00388367     January 15, 2020               United document titled "The Power of One:              None
                                                                                                                  Maximizing Net Selling Prices to our Members," Jan.
                                                                                                                  15, 2020




         PTX490             UNITED-DOJ-00391109            UNITED-DOJ-00391143     February 14, 2020              United Sugars document titled "United Sugars Working None
                                                                                                                  'Together' for you!," Feb. 14, 2020, and attachments




         PTX491             UNITED-DOJ-00391159            UNITED-DOJ-00391159     May 17, 2021                   Email from Steve Hines to Janet Harriman, [no          None
                                                                                                                  subject], May 17, 2021




         PTX492             UNITED-DOJ-00404747            UNITED-DOJ-00404749     March 11, 2021                 Email from Steven Hanson to Rocky Wagendorf and        None
                                                                                                                  others, "RE: Competitive Freight Pricing Application
                                                                                                                  for the Respective Sales Portals - Crop Year 2021,"
                                                                                                                  Mar. 11, 2021, with attachment




         PTX493             UNITED-DOJ-00695530            UNITED-DOJ-00695532     March 25, 2021                 United document titled "Minutes - Meeting of the       None
                                                                                                                  Executive Committee of United Sugars Corporation,"
                                                                                                                  Mar. 16, 2020




         PTX494             UNITED-DOJ-00699919            UNITED-DOJ-00699921     September 29, 2020             Minutes of the Executive Committee of United Sugars None
                                                                                                                  Corporation dated Sept. 29, 2020.




         PTX495             United-DOJ-00699922            United-DOJ-00699925     May 21, 2020                   Email from Kae Kaske to Eric Speece, "RE:        802
                                                                                                                  [EXTERNAL] FW: Revised United Sugars Corporation
                                                                                                                  Receivables Purchase Agreement," May 21, 2020




         PTX496             UNITED-DOJ-00704239            UNITED-DOJ-00704282     November 12, 2020              United Sugars document titled "Minutes Annual          None
                                                                                                                  Meeting of the Board of Directors of United Sugars
                                                                                                                  Corporation," Nov. 12, 2020, and attachments




         PTX497             United-DOJ-00704563            UNITED-DOJ-00704564     February 18, 2021              Email from Matthew Wineinger to Tom Astrup, "RE:       None
                                                                                                                  Strategic Planning Materials," Feb. 18, 2021




         PTX498             UNITED-DOJ-00704664            UNITED-DOJ-00704686     July 21, 2020                  Email from Steve Hines to Matthew Wineinger, "Draft 802
                                                                                                                  letter to Paul Farmer. Privileged and Confidential," Jul.
                                                                                                                  21, 2020




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         PTX499             USSC-2R-000012022              USSC-2R-000012023     April 12, 2021                 Email from Neil Smith to Matthew Wineinger, "FW:         None
                                                                                                                Refined Sugar Projection '20-'21 Revised 4-5-21.xlsx,"
                                                                                                                Apr. 12, 2021, with attachment




         PTX500             USSC-2R-000012229              USSC-2R-000012229     February 3, 2020               Email from Neil Smith to Bob Buker, David Pelham, None
                                                                                                                Elaine Wood, and A. Katryan, "LEI Sugar Production,"
                                                                                                                Feb. 3, 2020




         PTX501             USSC-2R-000030290              USSC-2R-000030290     March 24, 2021                 Email from Barbara Fecso to Elaine Wood, "RE:            802
                                                                                                                [EXTERNAL] RE: ????," Mar. 24, 2021




         PTX502             USSC-2R-000032952              USSC-2R-000032952     April 23, 2021                 Email from Elaine Wood to Chris Morris, "RE:     402, 403
                                                                                                                [EXTERNAL] RE: voicemail & another United deal,"
                                                                                                                Apr. 23, 2020




         PTX503             USSC-2R-000036078              USSC-2R-000036078     December 11, 2019              U.S. Sugar document titled "P&L 2018-2019," Dec. 11, None
                                                                                                                2019




         PTX504             USSC-2R-000036443              USSC-2R-000036443     November 23, 2020              U.S. Sugar document titled "P&L 2019-2020," Nov. 23, None
                                                                                                                2020




         PTX505             USSC-2R-000057727              USSC-2R-000057783     April 5, 2021                  Email from Elaine Wood to Ken McDuffie, Neil Smith, 802
                                                                                                                and Luke Kurtz, re: "FW: Lender Presentation
                                                                                                                (4.6.21)," Apr. 5, 2021, with attachment




         PTX506             USSC-2R-000060307              USSC-2R-000060308     February 25, 2021              Email from David Pelham to Neil Smith, "Melt             None
                                                                                                                History.xlsx," Feb. 25, 2021, with attachment




         PTX507             USSC-2R-000061768              USSC-2R-000061836     June 5, 2019                   Email from Matthew Wineinger to Tom Astrup, Kurt         None
                                                                                                                Wickstrom, Curt Knuston, and others, "United Sugars
                                                                                                                Board of Directors meeting, June 12," June 5, 2019,
                                                                                                                with attachments




         PTX508             USSC-2R-000062234              USSC-2R-000062235     March 8, 2021                  Email from Neil Smith to Elaine Wood, CC                 None
                                                                                                                dpelham@ussugar.com, "Seine Capital," Mar. 8, 2021,
                                                                                                                with attachment




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         PTX509             USSC-2R-000065181              USSC-2R-000065208     June 4, 2021                   U.S. Sugar document, "Board of Director Meeting 2021 None
                                                                                                                LE2 Forecast," June 4, 2021




         PTX510             USSC-2R-000108548              USSC-2R-000108549     August 21, 2020                Email from Bob Buker to Robert Coker, "Re:         802
                                                                                                                [EXTERNAL] a new bad actor in Canadian sugar trade
                                                                                                                - SHOULD WE ENGAGE CLK," Aug. 21, 2020.




         PTX511             USSC-2R-000108756              USSC-2R-000108757     October 3, 2019                Email from Bob Buker to Matthew Wineinger, "RE:        802
                                                                                                                [EXTERNAL] Fwd: Project Emperor | Feedback,"
                                                                                                                Oct. 3, 2019.




         PTX512             USSC-2R-000113308              USC-2R-000113315      February 17, 2021              Email from Derek du Plooy to Neil Smith, "Report on None
                                                                                                                Clewiston transformation - Feb 17, 2021 Rev 1," Feb.
                                                                                                                17, 2021, with attachment




         PTX513             USSC-2R-000122310              USSC-2R-000122311      February 24, 2021             Email from Carl Hogan to Neil Smith, CC Elaine         None
                                                                                                                Wood, "Melt Days and Volume," Feb. 24, 2021, with
                                                                                                                attachment




         PTX514             USSC-2R-000131399              USSC-2R-000131403     April 8, 2021                  Email from Ken McDuffie to Luke Kurtz and Elaine 402
                                                                                                                Wood, "SCGC Term Sheet - Cane Supply and Raw
                                                                                                                Sugar Purchase (US Sugar).v6 docx," Apr. 8, 2021, with
                                                                                                                attachment




         PTX515             USSC-2R-000136251              USSC-2R-000136251     December 7, 2020               Email from David Pelham to Neil Smith, CC Bob       802
                                                                                                                Buker and Luke Kurtz, "LSR Packaging," Dec. 7, 2020




         PTX516             USSC-2R-000138347              USSC-2R-000138348     May 19, 2020                   Email from David Pelham to Neil Smith, "US             None
                                                                                                                Refiners.xlsx," May 19, 2020, with attachment




         PTX517             USSC-2R-000153024              USSC-2R-000153030     November 4, 2020               Letter from Bob Buker to Adrian Isman dated Nov. 4, None
                                                                                                                2020, including "USSC ISSUES LIST"




         PTX518                                                                            Clawed Back - Privileged
         PTX519             USSC-2R-000161736              USSC-2R-000161736     November 18, 2020              U.S. Sugar document titled "US Sugar financial model   None
                                                                                                                for Seine," Nov. 18, 2020




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         PTX520             USSC-2R-000188402              USSC-2R-000188402         March 22, 2021                 Email from Barbara Fecso to Elaine Wood, "RE:         None
                                                                                                                    [EXTERNAL] Re: time for a quick call? If so, please
                                                                                                                    call me at 202-306-8094 thnx," Mar. 22, 2021




         PTX521             USSC-2R-000190998              USSC-2R-000191000         March 9, 2021                  Email from Luke Kurtz to Neil Grealy, "re Extension   None
                                                                                                                    of Exclusivity," Mar. 9, 2021, with attachment




         PTX522                                                        Intentionally Omitted, please reference PTX521                                                     None

         PTX523             USSC-2R-000214753              USSC-2R-000214760         August 22, 2019                Cover Email Privileged, "Project Emperor - Updated    None
                                                                                                                    Non-Binding Indication of Interest," Aug. 22, 2019




         PTX524             USSC-2R-000216653              USSC-2R-000216653         June 15, 2019                  Email from Matthew Wineinger to Bob Buker and         802
                                                                                                                    others, "Proj Seine call recap," June 15, 2019




         PTX525             USSC-2R-000218060              USSC-2R-000218100         February 10, 2020              Meeting invite from Elaine Wood to Matthew           602, 802
                                                                                                                    Wineinger, Steve Hines, Bob Buker, and others,"Sugar
                                                                                                                    Overview," Feb. 10, 2020, with attachment




         PTX526             USSC-2R-000221557              USSC-2R-000221559         March 17, 2021                 Email from Elaine Wood to Josh Culpepper and Luke None
                                                                                                                    Kurtz, "updated models," Mar. 17, 2021, with
                                                                                                                    attachments




         PTX527             USSC-2R-000222137              USSC-2R-000222139          February 5, 2021              Email from Elaine Wood to Neil Smith, "Fwd:           None
                                                                                                                    [EXTERNAL] FW: Miami: Part 1 of Schedule 4.3(i),"
                                                                                                                    Feb. 5, 2021, with attachment




         PTX528             USSC-2R-000223802              USSC-2R-000224021         November 4, 2020               Email from Elaine Wood to Josh Culpepper, "appraisal 802
                                                                                                                    information," Nov. 4, 2020, with attachments




         PTX529             USSC-2R-000224025              USSC-2R-000224223         November 4, 2020               Email from Elaine Wood to Joseph Somers and Lydia 802, 805
                                                                                                                    Parent, "2020 Appraisal - Project Seine_9.9.20," Nov. 4,
                                                                                                                    2020, with attachment




         PTX530             USSC-2R-000227404              USSC-2R-000227488         June 19, 2020                  Email from Elaine Wood to Tom Vande Berg and          802
                                                                                                                    others, "RE: TS practice," June 19, 2020, with
                                                                                                                    attachments




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         PTX531             USSC-2R-000238441              USSC-2R-000238442             July 6, 2021                  Email from Matthew Wineinger to Bob Buker, Kurt       None
                                                                                                                       Wickstrom, Tom Astrup, and Michael Greear, "USC
                                                                                                                       Monday EC Call Quick Report," July 6, 2021




         PTX532             USSC-2R-000241149              USSC-2R-000241179             June 4, 2021                  Email from April deJongh to Elaine Wood, "Sugar       None
                                                                                                                       Report Presentation June 2021.pptx," June 4, 2021,
                                                                                                                       with attachment




         PTX533             USSC-2R-000244564              USSC-2R-000244565             June 17, 2021                 Email from Elaine Wood to Carl Hogan and Tommy        None
                                                                                                                       Hill, "April 2021 forecast sugar production
                                                                                                                       assumptions.xlsx," June 17, 2021, with attachment




         PTX534             USSC-2R-000246845              USSC-2R-000246916             March 19, 2021                Email from Lisa Kelley to Neil Smith, "Final Trip     None
                                                                                                                       Report," Mar. 19, 2021, with attachment




         PTX535             USSC-2R-000247652              USSC-2R-000247789             October 2, 2020               Email from Elaine Wood to Travis Robins and David     802
                                                                                                                       E. Branch, "Operations Due Diligence report," with
                                                                                                                       attachment




         PTX536             USSC-LIT-000000004             USSC-LIT-000000004            November 15, 2021             Email from Lindsey Champlin to Clayton Brown, "re     402
                                                                                                                       Declaration," Nov. 15, 2021




         PTX537             USSC-LIT-000000005             USSC-LIT-000000006            November 15, 2021             U.S. Sugar document titled "Declaration of            402
                                                                                                                       International Food Products," Nov. 15, 2021




         PTX538                                                                                            Withdrawn
         PTX539                                                                                            Withdrawn
         PTX540                                                           Intentionally Omitted, please reference JTX039                                                     None
         PTX541             USSC-LIT-000077721             USSC-LIT-000077726            March 12, 2019                Email from Steve Hines to Teresa Warne, Kevin           None
                                                                                                                       Heazlett, and Neil Smith, "Questions Submitted and
                                                                                                                       Marketing Synergies, Privileged and Confidential," Mar.
                                                                                                                       12, 2019, with attachments




         PTX542                                                        Intentionally Omitted, please reference PTX554                                                        None
         PTX543                                                         Intentionally Omitted, please reference JTX040                                                       None
         PTX544                                                        Intentionally Omitted, please reference JTX041                                                        None
         PTX545             USSC-LIT-000086402             USSC-LIT-000086404          March 21, 2019            Email from Kevin Heazlett to Teresa Warne and               None
                                                                                                                 others, "Re: Discuss Project Seine," Mar. 21, 2019, with
                                                                                                                 attachments




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         PTX546             USSC-LIT-000086494             USSC-LIT-000086494        March 8, 2019                  Email from Matthew Wineinger to Bob Buker and          None
                                                                                                                    others, "Project Seine Kickoff call," Mar. 8, 2019




         PTX547             USSC-LIT-000086876             USSC-LIT-000086876        April 12, 2019                 Email from Steve Hines to Kevin Heazlett, Teresa       None
                                                                                                                    Warne, Rick Kasper, Elaine Wood, and Kae Kaske,
                                                                                                                    "RE: Seine," Apr. 12, 2019




         PTX548             USSC-LIT-000089455             USSC-LIT-000089506        July 28, 2021                  Email from Kalen Caidill to Pailette A. Wallce and 802
                                                                                                                    ohers, "[EXTERNAL] US Sugar - Underwritting Call,"
                                                                                                                    Jul. 28, 2021, with attachment




         PTX549             USSC-LIT-000092495             USSC-LIT-000092505        November 10, 2021              Email from Luke Kurtz to Nick Greiner, John            None
                                                                                                                    Tamisiea, Jodi Rush, Lydia Parent, and Elaine Wood,
                                                                                                                    "(2021-3-17) (Fully Executed) BOD Special Meeting
                                                                                                                    Minutes.pdf," Nov. 10, 2021, with attachment




         PTX550             USSC-LIT-000106464             USSC-LIT-000106491        April 3, 2019                  Email from Steve Hines to Teresa Warne, Kevin          None
                                                                                                                    Heazlett, Elaine Wood, Rick Kasper, and Kae Kaske,
                                                                                                                    "RE: Steve Hines to walk through synergies," Apr. 3,
                                                                                                                    2019, with attachment




         PTX551             USSC-LIT-000106492             USSC-LIT-000106503        March 21, 2019                 Email from Kevin Heazlett to Tersa Warne, Elaine       None
                                                                                                                    Wood, Rick Kasper, and Kae Kaske, "RE: Discuss
                                                                                                                    Project Seine," Mar. 21, 2019, with attachments


         PTX552                                                        Intentionally Omitted, please reference JTX040                                                      None

         PTX553                                                        Intentionally Omitted, please reference JTX041                                                      None

         PTX554             USSUGAR-2R-00000164            USSUGAR-2R-00000168       May 13, 2021                   U.S. Sugar document titled "Cane Supply and Raw        None
                                                                                                                    Sugar Purchase Summary of Terms," May 13, 2021



         PTX555                                                        Intentionally Omitted, please reference JTX049                                                      None

         PTX556                                                        Intentionally Omitted, please reference JTX042                                                      None

         PTX557                                                        Intentionally Omitted, please reference JTX043                                                      None

         PTX558                                                        Intentionally Omitted, please reference JTX044                                                      None

         PTX559                                                        Intentionally Omitted, please reference JTX045                                                      None

         PTX560                                                        Intentionally Omitted, please reference JTX046                                                      None

         PTX561                                                        Intentionally Omitted, please reference JTX047                                                      None

         PTX562             LDC-SRQ21-ESI-01372049         LDC-SRQ21-ESI-01372082 June 4, 2019                      Imperial Document titled "Imperial Sugar, May 2019," 802, 805, 1002
                                                                                                                    June 4, 2019



         PTX563             LDC-SRQ21-ESI-00165462         LDC-SRQ21-ESI-00165462 June 3, 2020                      Email from Jeana Hines to Sue Kharouba, "RE:        802, 1002
                                                                                                                    Hershey 2021 BYA Confirmation to be input," June 3,
                                                                                                                    2020

         PTX564             LDC_DOJ21_00038355             LDC_DOJ21_00038356        May 15, 2018                   Email from Thomas Rathke to Jeana Hines, Beth          802, 805
                                                                                                                    Smith, Michael Gorrell, and Patrick Henneberry, "RE:
                                                                                                                    and the tote saga out of Florida continues," May 15,
                                                                                                                    2018
         PTX565             USSC-2R-000134414              USSC-2R-000134414         March 23, 2021                 U.S. Sugar document titled "Melt History.xlsx," Mar.   602
                                                                                                                    23, 2021




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                                                                                                      1006 Summaries
                                                                                                      Demonstratives
                                                                                                      Physical Exhibits
                                                                                                      Supplemental exhibits, as needed, relating to ongoing
                                                                                                      fact and expert discovery and any forthcoming pretrial
                                                                                                      motions and/or decisions in this case; or as otherwise
                                                                                                      permitted by the parties' February 28, 2022 stipulation;
                                                                                                      or as otherwise set forth in the submission
                                                                                                      accompanying this list.




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                  Pretrial Order
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                                                                                                                               DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                                                                      PTO Exhibit 5B

      Exhibit No.                  Date                                    BegBates                                       EndBates                              Description        Objection(s)
    DTX-001           2/3/2022                         01-L&S Vendor Code Key - updated 02-03-2022 -  01-L&S Vendor Code Key - updated 02-03-2022 -                           FRE 802
                                                       Confidential - 0001                            Confidential - 0001
    DTX-002           1/26/2022                        ADM00000010                                    ADM00000010                                                             No objections
    DTX-003           1/27/2022                        ADM00000011                                    ADM00000011                                                             No objections
    DTX-004           1/26/2022                        ADM00000012                                    ADM00000012                                                             No objections
    DTX-005           1/26/2022                        ADM00000013                                    ADM00000013                                                             No objections
    DTX-006           1/26/2022                        ADM00000014                                    ADM00000014                                                             No objections
    DTX-007           1/26/2022                        ADM00000015                                    ADM00000015                                                             No objections
    DTX-008           1/26/2022                        ADM00000016                                    ADM00000016                                                             No objections
    DTX-009           1/26/2022                        ADM00000017                                    ADM00000017                                                             No objections
    DTX-010           1/26/2022                        ADM00000018                                    ADM00000018                                                             No objections
    DTX-011           1/26/2022                        ADM00000019                                    ADM00000019                                                             No objections
    DTX-012           00/00/2018                       ADM00000441                                    ADM00000442                                                             No objections
    DTX-013                                                                                             Intentionally Omitted, please reference JTX-043                       No objections
    DTX-014                                                                                             Intentionally Omitted, please reference JTX-044                       No objections
    DTX-015                                                                                             Intentionally Omitted, please reference JTX-045                       No objections
    DTX-016                                                                                             Intentionally Omitted, please reference JTX-046                       No objections
    DTX-017                                                                                             Intentionally Omitted, please reference JTX-047                       No objections
    DTX-018           1/24/2022                        Cargill-DOJ-000001                             Cargill-DOJ-000001                                                      No objections
    DTX-019                                                                                            Intentionally Omitted, please reference DTX-020                        No objections
    DTX-020           1/24/2022                        Cargill-DOJ-000002                             Cargill-DOJ-000002                                                      No objections
    DTX-021           00/00/2016                       Cargill-DOJ-000003A                            Cargill-DOJ-000003A                                                     No objections
    DTX-022           00/00/2017                       Cargill-DOJ-000004A                            Cargill-DOJ-000004A                                                     No objections
    DTX-023           00/00/2018                       Cargill-DOJ-000005                             Cargill-DOJ-000005                                                      No objections
    DTX-024           00/00/2019                       Cargill-DOJ-000006                             Cargill-DOJ-000006                                                      No objections
    DTX-025           00/00/2020                       Cargill-DOJ-000007A                            Cargill-DOJ-000007A                                                     No objections
    DTX-026           00/00/2021                       Cargill-DOJ-000008A                            Cargill-DOJ-000008A                                                     No objections
    DTX-027           1/24/2022                        Cargill-DOJ-000009                             Cargill-DOJ-000009                                                      No objections
    DTX-028           5/12/2021                        Cargill-USS-000021                             Cargill-USS-000036                                                      FRE 802, 805
    DTX-029                                                                                             Intentionally Omitted, please reference JTX-001                       No objections
    DTX-030           02/00/2020                       Cargill-USS-000044                             Cargill-USS-000052                                                      FRE 802, 805
    DTX-031           10/19/2020                       Cargill-USS-000053                             Cargill-USS-000062                                                      FRE 802, 805
    DTX-032           00/00/2022                       CB CONFIDENTIAL 00001                          CB CONFIDENTIAL 00011                                                   FRE 602, 802
    DTX-033           12/7/2021                        CB CONFIDENTIAL 00012                          CB CONFIDENTIAL 00048                                                   FRE 602, 802
    DTX-034           00/00/2021                       CONFIDENTIAL - MI SUG - CID MATERIALS - 000001 CONFIDENTIAL - MI SUG - CID MATERIALS -                                 FRE 602, 802
                                                                                                      000010
    DTX-035                                                                                             Intentionally Omitted, please reference JTX-002                       No objections
    DTX-036                                                                                             Intentionally Omitted, please reference JTX-003                       No objections
    DTX-037           2/2/2022                         Danone_000007                                  Danone_000007                                                           No objections
    DTX-038           2/18/2022                        Danone_000059                                  Danone_000059                                                           No objections
    DTX-039           3/1/2022                         Danone_000060                                  Danone_000061                                                           FRE 802
    DTX-040           2/1/2022                         EvergreenSweeteners_000001                     EvergreenSweeteners_000001                                              FRE 602, 802
    DTX-041           05/00/2021                       FCC-00001557                                   FCC-00001592                                                            FRE 802, 805
    DTX-042           2/20/2020                        FCC-00002214                                   FCC-00002216                                                            FRE 802, 805

    DTX-043           1/29/2020                        FCC-00002457                                             FCC-00002511                                                  FRE 802, 805

    DTX-044           11/15/2019                       FCC-00006255                                             FCC-00006257                                                  FRE 802, 805
    DTX-045           7/13/2021                        FCC-00010848                                             FCC-00010848                                                  FRE 802
    DTX-046           6/8/2021                         FCC-00012502                                             FCC-00012517                                                  FRE 802, 805

    DTX-047           12/10/2018                       FCC-00014580                                             FCC-00014612                                                  FRE 802, 805

    DTX-048           7/13/2018                        FCC-00014849                                             FCC-00014852                                                  FRE 802, 805



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    Defendants reserve the right to revise, amend and/or supplement this list, and to use exhibits on plaintiff's trial exhibit list.
                                    Case 1:21-cv-01644-MN       Document 174-1 Filed 04/04/22 Page 56 of 73 PageID #: 2680
                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)             March 28, 2022
                                                                                  DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                         PTO Exhibit 5B

  Exhibit No.                Date                       BegBates                         EndBates                             Description               Objection(s)
DTX-049         5/1/2020             FCC-00016308                     FCC-00016311                                                                 FRE 802, 805
DTX-050         3/19/2020            FCC-00016638                     FCC-00016639                                                                 FRE 802, 805

DTX-051         7/26/2019            FCC-00019265                     FCC-00019266                                                                 No objections
DTX-052         7/8/2019             FCC-00019535                     FCC-00019595                                                                 FRE 802, 805

DTX-053         4/7/2021             FCC-00021628                     FCC-00021630                                                                 FRE 802
DTX-054         3/26/2021            FCC-00022998                     FCC-00022998                                                                 FRE 802

DTX-055         5/13/2021            FCC-00024810                     FCC-00024811                                                                 FRE 802, 805

DTX-056                                                                Intentionally Omitted, please reference JTX-004                             No objections
DTX-057         6/29/2018            FCC-00037827                     FCC-00037828                                                                 FRE 802, 805

DTX-058         7/5/2018             FCC-00037845                     FCC-00037847                                                                 FRE 802, 805

DTX-059         8/5/2021             FCC-00038071                     FCC-00038072                                                                 FRE 802
DTX-060                                                                Intentionally Omitted, please reference JTX-005                             No objections
DTX-061         8/6/2020             FCC-00046869                     FCC-00046870                                                                 FRE 802, 805
DTX-062         8/14/2019            FCC-00060186                     FCC-00060188                                                                 FRE 802, 1002

DTX-063         8/4/2019             FCC-00061138                     FCC-00061139                                                                 FRE 802, 805
DTX-064                                                                Intentionally Omitted, please reference JTX-006                             No objections
DTX-065         4/12/2019            FCC-00064030                     FCC-00064030                                                                 FRE 802, 805

DTX-066         5/4/2021             FCC-00066055                     FCC-00066056                                                                 FRE 802, 805

DTX-067         3/24/2021            FCC-00068684                     FCC-00068684                                                                 FRE 802

DTX-068         11/24/2020           FCC-00074123                     FCC-00074125                                                                 FRE 802

DTX-069         4/30/2020            FCC-00082542                     FCC-00082542                                                                 FRE 802, 805
DTX-070         5/14/2021            FCC-00091268                     FCC-00091269                                                                 FRE 802, 805

DTX-071         5/18/2021            FCC-00091374                     FCC-00091407                                                                 FRE 802, 805

DTX-072         4/9/2021             FCC-00092279                     FCC-00092283                                                                 FRE 802, 805

DTX-073         8/2/2021             FCC-00093732                     FCC-00093735                                                                 FRE 802, 805

DTX-074         7/6/2019             FCC-00095228                     FCC-00095229                                                                 FRE 802


DTX-075         3/4/2020             FCC-00098119                     FCC-00098120                                                                 FRE 802, 805
DTX-076         3/24/2021            FCC-00101634                     FCC-001016335                                                                FRE 802, 805
DTX-077         3/17/2021            FCC-00101756                     FCC-00101759                                                                 FRE 802, 805

DTX-078                                                                Intentionally Omitted, please reference DTX-092                             No objections
DTX-079         2/1/2022             FCC-SUB-00000001                 FCC-SUB-00000001                                                             FRE 802
DTX-080         2/1/2022             FCC-SUB-00000002                 FCC-SUB-00000002                                                             FRE 802
DTX-081         2/1/2022             FCC-SUB-00000003                 FCC-SUB-00000003                                                             FRE 802
DTX-082         2/1/2022             FCC-SUB-00000004                 FCC-SUB-00000004                                                             FRE 802
DTX-083         2/1/2022             FCC-SUB-00000005                 FCC-SUB-00000005                                                             FRE 802
DTX-084         2/1/2022             FCC-SUB-00000006                 FCC-SUB-00000006                                                             FRE 802




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                                    Case 1:21-cv-01644-MN       Document 174-1 Filed 04/04/22 Page 57 of 73 PageID #: 2681
                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                  March 28, 2022
                                                                                                   DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                         BegBates                                        EndBates                        Description        Objection(s)
DTX-085         2/1/2022             FCC-SUB-00000014                                 FCC-SUB-00000014                                                  FRE 802
DTX-086         2/4/2022             FCC-SUB-00000019                                 FCC-SUB-00000019                                                  FRE 802
DTX-087         5/12/2021            FCC-SUB-00000021                                 FCC-SUB-00000049                                                  FRE 802

DTX-088         1/1/2019             FCC-SUB-00000050                                 FCC-SUB-00000072                                                  FRE 802

DTX-089         12/9/2019            FCC-SUB-00000073                                 FCC-SUB-00000075                                                  FRE 802

DTX-090         1/1/2021             FCC-SUB-00000076                                 FCC-SUB-00000079                                                  FRE 802

DTX-091         1/1/2022             FCC-SUB-00000080                                 FCC-SUB-00000082                                                  FRE 802

DTX-092         7/20/2021            FCC-SUB-00000083                                 FCC-SUB-00000168                                                  FRE 802, 805
DTX-093         9/20/2021            FCC-SUB-00000176                                 FCC-SUB-00000231                                                  FRE 802, 805
DTX-094         10/19/2021           FCC-SUB-00000288                                 FCC-SUB-00000350                                                  FRE 802, 805
DTX-095         2/3/2022             Feb 4, 2022 – 000079                             Feb 4, 2022 – 000082                                              FRE 802, 805

DTX-096         00/00/2020           GM_0000024                                       GM_0000024                                                        FRE 802
DTX-097         00/00/2020           GM_0000025                                       GM_0000025                                                        FRE 802
DTX-098         8/14/2020            GM_0000031                                       GM_0000032                                                        FRE 802, 805

DTX-099         11/00/2021           GM_0000059                                       GM_0000069                                                        FRE 802, 805
DTX-100         4/7/2020             GM_0000246                                       GM_0000296                                                        FRE 802, 805
DTX-101                                                                                 Intentionally Omitted, please reference JTX-007                 No objections
DTX-102         2/12/2022            GM_0001097                                       GM_0001097                                                        FRE 802
DTX-103         00/00/2020           GM_0001415                                       GM_0001422                                                        FRE 802
DTX-104                                                                                 Intentionally Omitted, please reference JTX-008                 No objections
DTX-105                                                                                 Intentionally Omitted, please reference JTX-009                 No objections
DTX-106         00/00/2019           GM_0001581                                       GM_0001581                                                        FRE 802
DTX-107         2/2/2022             ICI-SDT-DOJ_0006                                 ICI-SDT-DOJ_0006                                                  FRE 602
DTX-108         1/22/2022            ICI-SDT-DOJ_0002                                 ICI-SDT-DOJ_0002                                                  FRE 602, 802
DTX-109         1/28/2022            IFP-USSugar 000042                               IFP-USSugar 000042                                                No objections
DTX-110         1/28/2022            IFP-USSugar 000043                               IFP-USSugar 000043                                                No objections
DTX-111         1/28/2022            IFP-USSugar 000044                               IFP-USSugar 000044                                                No objections
DTX-112         1/28/2022            IFP-USSugar 000045                               IFP-USSugar 000045                                                No objections
DTX-113         00/00/2022           IFP-USSugar 000048                               IFP-USSugar 000048                                                No objections
DTX-114                                                                                 Intentionally Omitted, please reference JTX-010                 No objections
DTX-115         2/18/2022            INDSUG00002                                      INDSUG00002                                                       FRE 403, 802, 901,
                                                                                                                                                        1006
DTX-116         2/23/2022            INDSUG00003                                      INDSUG00003                                                       FRE 802, 901, 1006
DTX-117         2/4/2022             Item Unit Of Measure Key - Confidential - 0001   Item Unit Of Measure Key - Confidential - 00016                   FRE 802

DTX-118         1/27/2022            Jan. 27, 2022 - CONFIDENTIAL - Sales 2016-0001   Jan. 27, 2022 - CONFIDENTIAL - Sales 2016-000142                  No objections

DTX-119         1/27/2022            Jan. 27, 2022 - CONFIDENTIAL - Sales 2017-0001   Jan. 27, 2022 - CONFIDENTIAL - Sales 2017-000166                  No objections

DTX-120         1/27/2022            Jan. 27, 2022 - CONFIDENTIAL - Sales 2018-0001   Jan. 27, 2022 - CONFIDENTIAL - Sales 2018-000210                  No objections

DTX-121         1/27/2022            Jan. 27, 2022 - CONFIDENTIAL - Sales 2019-0001   Jan. 27, 2022 - CONFIDENTIAL - Sales 2019-000188                  No objections

DTX-122         1/27/2022            Jan. 27, 2022 - CONFIDENTIAL - Sales 2020-0001   Jan. 27, 2022 - CONFIDENTIAL - Sales 2020-000196                  No objections

DTX-123         1/27/2022            Jan. 27, 2022 - CONFIDENTIAL - Sales 2021-0001   Jan. 27, 2022 - CONFIDENTIAL - Sales 2021-000190                  No objections




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                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                                                                        March 28, 2022
                                                                                   DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                    BegBates                            EndBates                                                          Description                                             Objection(s)
DTX-124                                                                Intentionally Omitted, please reference JTX-011                                                                                        No objections
DTX-125                                                                Intentionally Omitted, please reference JTX-012                                                                                        No objections
DTX-126                                                                Intentionally Omitted, please reference JTX-013                                                                                        No objections
DTX-127                                                                Intentionally Omitted, please reference JTX-048                                                                                        No objections
DTX-128         07/00/2021           KRAFT_0000085                    KRAFT_0000106                                                                                                                           FRE 802
DTX-129         10/26/2018           KRAFT_0000116                    KRAFT_0000125                                                                                                                           FRE 802
DTX-130                                                                Intentionally Omitted, please reference JTX-015                                                                                        No objections
DTX-131                                                                Intentionally Omitted, please reference JTX-016                                                                                        No objections
DTX-132         1/17/2018            LDC_DOJ21_00005581               LDC_DOJ21_00005602                               Email from M. Gorrell to D. Williams re 2015_09_10 NAFTA Sugar - a very clear          FRE 802, 805
                                                                                                                       policy objective FINAL.ppt with attachment(s)
DTX-133         1/17/2018            LDC_DOJ21_00005603               LDC_DOJ21_00005617                               Email from M. Gorrell to D. Williams re 2017_02 gorrell sweetener colloquium           FRE 802, 805
                                                                                                                       final.pptx with attachment(s)
DTX-134         2/13/2018            LDC_DOJ21_00012435               LDC_DOJ21_00012443                               U S. Sugar Policy - How should we define "adequate supply" presentation                FRE 802
DTX-135         3/8/2018             LDC_DOJ21_00020408               LDC_DOJ21_00020414                               Email from M. Gorrell to J. Hines & Others re RE: risk on our Hershey business         FRE 802, 805

DTX-136         3/13/2018            LDC_DOJ21_00021806               LDC_DOJ21_00021806                                Email from M. Gorrell to M. Huston & Others re FW: Indiana Sugar 2018 Rail Quote      FRE 802
                                                                                                                        request Not in foresight
DTX-137         6/11/2018            LDC_DOJ21_00045878               LDC_DOJ21_00045879                                Email from J. Hines to P. Henneberry re MIS Competitive overview worksheet --         FRE 802, 805
                                                                                                                        MONDAY -- NEED FOR APPT ON WED IN ATLANTA
DTX-138         6/12/2018            LDC_DOJ21_00046414               LDC_DOJ21_00046415                                Coke / McDonalds Liquid Truck Delivery                                                FRE 802
DTX-139         11/2/2018            LDC_DOJ21_00091752               LDC_DOJ21_00091753                                Email from M. Gorrell to P. Henneberry & Others re RE: Indiana Sugar Rail Rate to     FRE 802, 805
                                                                                                                        Rochester, NY
DTX-140         2/8/2019             LDC_DOJ21_00118038               LDC_DOJ21_00118040                                Email from H. Hancock to J. Hines & Others re RE: Ferrara Re-export Sugar Credits -   FRE 402, 802
                                                                                                                        NOT ANSWERED to Imperial
DTX-141         3/19/2019            LDC_DOJ21_00128039               LDC_DOJ21_00128043                                Email from J. Evans to M. Gorrell & Others re RE: 2020 Ferrara Candy Company          FRE 802, 805
                                                                                                                        RFQ, 3.05.19.xlsx
DTX-142         3/29/2019            LDC_DOJ21_00131074               LDC_DOJ21_00131077                                Email from M. Gorrell to J. Hines & Others re RE: Discussion Costco Quote             FRE 802
                                                                                                                        Warren must approved
DTX-143         7/9/2021             LDC_DOJ21_00183178               LDC_DOJ21_00183183                                Email from K. Youngblood to B. Smith re Re: New Dairy / Borden-Confirming Biz -       FRE 802
                                                                                                                        Volume change
DTX-144         10/21/2021           LDC_DOJ21_00305279               LDC_DOJ21_00305281                                Email from P. Henneberry to B. Smith re RE: Chattanooga Bakery - IN FORESIGHT         FRE 802, 805

DTX-145         2/22/2018            LDC_DOJ21_00381424               LDC_DOJ21_00381425                                Email from M. Gorrell to R. Waxlax & Others re Fwd: Feedback from Post                FRE 802, 805
DTX-146         9/14/2018            LDC_DOJ21_00403714               LDC_DOJ21_00403714                                Email from B. Keyes to B. Smith re RE: Polar Beverage                                 FRE 802
DTX-147         7/13/2021            LDC_DOJ21_00443916               LDC_DOJ21_00443932                                Email from M. Gorrell to B. Fecso 5 Others re USDA vs Imperial WASDE analysis         FRE 802

DTX-148         11/17/2021           LDC_DOJ21_00509199               LDC_DOJ21_00509200                                Email to C. Bollman & Others from K. Youngblood re RE: Dover - Bulk Sugar -     FRE 802
                                                                                                                        Imperial Rejected Loads
DTX-149         12/12/2014           LDC_DOJ21_00525028               LDC_DOJ21_00525030                                Letter from M. Gorrell & P. Henneberry to P. Piquado & M. Scuse re Suspension   FRE 802, 805
                                                                                                                        Proposal Agreement
DTX-150         12/14/2021           LDC_DOJ21_00520597               LDC_DOJ21_00520627                                Email from M. Gorrell to M. Gelchie re AD/CVD comment letter with attachment(s) FRE 802

DTX-151         1/8/2015             LDC_DOJ21_00525231               LDC_DOJ21_00525241                                Letter from G. Spak & K. Zissis to P. Pritizker re Suspension Agreements              FRE 403, 701, 802
DTX-152         2/17/2015            LDC_DOJ21_00526365               LDC_DOJ21_00526365                                Industrial Pricing Sheet                                                              FRE 106, 403, 1002
DTX-153         12/23/2021           LDC_DOJ21_00526366               LDC_DOJ21_00526366                                Ludlow throughput                                                                     FRE 106
DTX-154         1/21/2022            LDC_DOJ21_00526367               LDC_DOJ21_00526367                                Annual volume booked by year since 2015                                               FRE 1002
DTX-155         1/19/2022            LDC_DOJ21_00526368               LDC_DOJ21_00526368                                Raw Sugar Purchases                                                                   No objections
DTX-156         1/21/2022            LDC_DOJ21_00526369               LDC_DOJ21_00526369                                Refined Sugar Sales                                                                   FRE 106
DTX-157         1/21/2022            LDC_DOJ21_00526370               LDC_DOJ21_00526370                                Refined Sugar Sales                                                                   No objections
DTX-158         1/19/2022            LDC_DOJ21_00526373               LDC_DOJ21_00526373                                Raw Sugar Purchases                                                                   No objections
DTX-159         1/20/2022            LDC_DOJ21_00526374               LDC_DOJ21_00526374                                Refining and packaging metrics                                                        No objections
DTX-160         1/21/2022            LDC_DOJ21_00526375               LDC_DOJ21_00526375                                Purchases of refined sugar                                                            No objections
DTX-161         1/20/2022            LDC_DOJ21_00526376               LDC_DOJ21_00526376                                Profit & Loss report                                                                  No objections




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                                    Case 1:21-cv-01644-MN       Document 174-1 Filed 04/04/22 Page 59 of 73 PageID #: 2683
                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                                                                      March 28, 2022
                                                                                   DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                     BegBates                        EndBates                                                              Description                                          Objection(s)
DTX-162         9/11/2018            LDC_DOJ21_00535859               LDC_DOJ21_00535869                                 Email from J. Hines to K. Youngblood re Marzetti Sweetener RFP F19-Feedback        FRE 802

DTX-163         5/26/2020            LDC_DOJ21_00549964               LDC_DOJ21_00549976                                 Meeting invite from E. Teo re Project Miami (Sugar, NAM) with attachment(s)        FRE 802
DTX-164         6/22/2021            LDC_DOJ21_00560868               LDC_DOJ21_00560873                                 Email from K. Thew to J. Evans, cc'ing A. Thomas re RE BRILL RFP - Q4 2021 to Q4   FRE 802
                                                                                                                         2022 - LDC IMPERIAL
DTX-165         7/12/2021            LDC_DOJ21_00562163               LDC_DOJ21_00562180                                 Email from M. Gorrell to M. Gelchie and N. Mamalis re RE: Sugar markets with       FRE 802, 1002
                                                                                                                         attachment(s)
DTX-166         7/15/2021            LDC_DOJ21_00562452               LDC_DOJ21_00562458                                 Email from M. Nicosia to M. Gorrell & Others re Sams pricing feedback             FRE 802
DTX-167         1/21/2022            LDC_DOJ21_00624488               LDC_DOJ21_00624488                                 Refined Sugar Sales                                                               FRE 802
DTX-168         12/8/2021            LDC_DOJ21_00636386               LDC_DOJ21_00636388                                 Email from F. Jenkins re Sucro new release on Marigold. with attachment(s)        FRE 802
DTX-169         3/7/2022             LDC_DOJ21_00636683               LDC_DOJ21_00636683                                 Corporate Customers Shipping                                                      FRE 802
DTX-170         3/7/2022             LDC_DOJ21_00636684               LDC_DOJ21_00636684                                 Corporate Customers                                                               FRE 802
DTX-171         3/7/2022             LDC_DOJ21_00636685               LDC_DOJ21_00636685                                 Customer Contracts 2021                                                           FRE 802
DTX-172                                                                Intentionally Omitted, please reference JTX-016                                                                                     No objections
DTX-173         6/25/2021            LDC_SRQ21_000643                 LDC_SRQ21_000643                                 Industrial Pricing Sheet                                                            FRE 802, 1002
DTX-174                                                                Intentionally Omitted, please reference JTX-017                                                                                     No objections
DTX-175         6/25/2021            LDC_SRQ21_000647                 LDC_SRQ21_000647                                 BYA v. Non-BYA, ship timing, many pivot tables                                      FRE 802
DTX-176                                                                Intentionally Omitted, please reference JTX-018                                                                                     No objections
DTX-177         6/25/2021            LDC_SRQ21_000650                 LDC_SRQ21_000650                                 Raw sugar purchases                                                                 No objections
DTX-178         6/25/2021            LDC_SRQ21_000651                 LDC_SRQ21_000651                                 Refining and packaging metrics                                                      No objections
DTX-179         6/25/2021            LDC_SRQ21_000652                 LDC_SRQ21_000652                                 Ludlow throughput                                                                   No objections
DTX-180         3/11/2019            LDC_SRQ21_ESI-01244128           LDC_SRQ21_ESI-01244187                           Imperial Sugar Company: Stage Three (of the LDC era....) 2019 - 2023 Business plan FRE 106, 802
                                                                                                                       presentation
DTX-181         6/1/2018             LDC_SRQ21-ESI-01522882           LDC_SRQ21-ESI-01522883                           Email from M. Gorrell to M. Clegg re here they come.....                            FRE 802
DTX-182                                                                Intentionally Omitted, please reference JTX-019                                                                                     No objections
DTX-183         9/26/2019            LDC-SRQ21-ESI-00016036           LDC-SRQ21-ESI-00016040                           Email from B. Smith to SGL-Refined Trading re RE: Quote REFRESH - Carolina          FRE 802, 805
                                                                                                                       Foods/Marx - partially in foresight USE THIS ONE
DTX-184         6/23/2020            LDC-SRQ21-ESI-00016553           LDC-SRQ21-ESI-00016557                           Email from J. Evans to P. Henneberry & Others re RE: Tolling request Sweet New      FRE 802, 805
                                                                                                                       England Company- Mexican estandar
DTX-185         6/26/2020            LDC-SRQ21-ESI-00016626           LDC-SRQ21-ESI-00016628                           Email from M. Gorrell to M. Gelchie re FW: Price info                               FRE 802, 805
DTX-186         5/8/2020             LDC-SRQ21-ESI-00017307           LDC-SRQ21-ESI-00017310                           Email from M. Gorrell to P. Muller & Others re Navios Lyra monday entries with      FRE 802, 805
                                                                                                                       attachment(s)
DTX-187         7/24/2020            LDC-SRQ21-ESI-00022620           LDC-SRQ21-ESI-00022621                           Email from S. Brown to M. Huston & Others re RE: 2021 Rate for Mars Topeka          FRE 802, 805
DTX-188         6/5/2019             LDC-SRQ21-ESI-00028750           LDC-SRQ21-ESI-00028755                           Email from H. Hancock to M. Gorrell & Others re RE: T Marzetti - discussion on 50's FRE 802, 805

DTX-189         7/30/2019            LDC-SRQ21-ESI-00029632           LDC-SRQ21-ESI-00029632                             Email from J. Hines to M. Gorrell, cc'ing P. Henneberry, re Re: Mars 2020 RFP      FRE 802, 805
                                                                                                                         Pricing Feedback
DTX-190         6/5/2019             LDC-SRQ21-ESI-00030523           LDC-SRQ21-ESI-00030524                             Email from M. Gorrell to J. Hines & P. Henneberry re RE: Golden State Foods MIS    FRE 802, 805
                                                                                                                         quote for McDonalds -- NEED TO DISCUSS TODAY AND GET BACK TO CUSTOMER

DTX-191         8/1/2019             LDC-SRQ21-ESI-00039953           LDC-SRQ21-ESI-00039954                             Email from P. Henneberry to M. Gorrell & J. Hines re RE: Mars 2020 RFP Pricing     FRE 802, 805
                                                                                                                         Feedback
DTX-192         8/29/2019            LDC-SRQ21-ESI-00041421           LDC-SRQ21-ESI-00041424                             Email from J. Hines to H. Hancock & Others re RE: Borden-Confirming Biz AND 1      FRE 802, 805
                                                                                                                         Counteroffer
DTX-193         3/30/2020            LDC-SRQ21-ESI-00057595           LDC-SRQ21-ESI-00057596                             Email from J. Hines to M. Gorrell & Others re RE: A question                       FRE 802, 805
DTX-194         10/17/2019           LDC-SRQ21-ESI-00060671           LDC-SRQ21-ESI-00060672                             Email from B. Smith to SGL-Refined Trading re RE: Requote Chattanooga Bakery -     FRE 802
                                                                                                                         NOT IN FORESIGHT - Potential new customer
DTX-195         8/22/2018            LDC-SRQ21-ESI-00104165           LDC-SRQ21-ESI-00104168                             Email from M. Gorrell to R. Waxlax & Others re RE: WASDE update August (for the    FRE 802, 805
                                                                                                                         model as well as general awareness....)
DTX-196         8/22/2018            LDC-SRQ21-ESI-00123876           LDC-SRQ21-ESI-00123877                             Email from H. Hancock to B. Smith & SGL-Refined Trading re RE: Quote Request -     FRE 106, 602, 802
                                                                                                                         Chattanooga Bakery - New customer - Not in foresight
DTX-197         9/20/2019            LDC-SRQ21-ESI-00177754           LDC-SRQ21-ESI-00177755                             Email from J. Hines to M. Swartzentruber, cc'ing P. Cerminara, re RE: Hershey      FRE 802
                                                                                                                         Forecasts for October - December 2019




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                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                                                                       March 28, 2022
                                                                                   DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                      BegBates                         EndBates                                                              Description                                         Objection(s)
DTX-198         10/23/2022           LDC-SRQ21-ESI-00434303           LDC-SRQ21-ESI-00434304                              Email from S. Turner to B. Smith & Others re RE: MYRW - Foresight for remainder    FRE 802, 805
                                                                                                                          of 2020
DTX-199         8/27/2020            LDC-SRQ21-ESI-00530560           LDC-SRQ21-ESI-00530563                              Email from M. Caughlan to B. Smith re Re: USE THIS PRICING - revised to add        FRE 802, 805
                                                                                                                          brokerage.
DTX-200         8/7/2020             LDC-SRQ21-ESI-00637508           LDC-SRQ21-ESI-00637513                              Email from K. Youngblood to M. Miller, cc'ing M. Luong, re RE: DFA Dairy Brands    FRE 802
                                                                                                                          2021 Sugar RFP - IMPERIAL SUGAR with attachment(s)
DTX-201         11/3/2020            LDC-SRQ21-ESI-00933268           LDC-SRQ21-ESI-00933272                              Email from J. Hines to J. Evans & Others re RE ADM Rail Quote                      FRE 802, 805
DTX-202         7/31/2019            LDC-SRQ21-ESI-00984454           LDC-SRQ21-ESI-00984454                              Email from J. Hines to A. Marturano re RE: Feedback 2020 Pricing                   FRE 802
DTX-203         11/4/2020            LDC-SRQ21-ESI-01099832           LDC-SRQ21-ESI-01099836                              Email from T. Hoyt to M. Nicosia re FW: 2021 Sugar offer with attachment(s)        FRE 106, 802, 1002
DTX-204                                                                Intentionally Omitted, please reference JTX-020                                                                                       No objections
DTX-205         6/7/2018             LDC-SRQ21-ESI-01235956           LDC-SRQ21-ESI-01236004                           Imperial Sugar Company: 20 Questions (and a few answers....) presentation             FRE 802
DTX-206         4/3/2020             LDC-SRQ21-ESI-01245251           LDC-SRQ21-ESI-01245253                           Fiscal Year 2020 Tariff-Rate Quotas Increased for Raw Cane Sugar and Refined          No objections
                                                                                                                       Sugar
DTX-207         9/26/2019            LDC-SRQ21-ESI-01347178           LDC-SRQ21-ESI-01347222                           Email from R. Eckert to A. Cerisoli re RE: Imperial math with attachment(s)           FRE 602, 802, 1002
DTX-208         3/12/2021            LDC-SRQ21-ESI-01482792           LDC-SRQ21-ESI-01482793                           Email from K. Youngblood to T. Crown re RE: Crop 21/22 Sugar - Imperial - ASH         FRE 802

DTX-209         11/21/2019           LDC-SRQ21-ESI-01510052           LDC-SRQ21-ESI-01510114                              Email from M. Gelchie to M. Gorrell re Imperial past (email #1 of 3) with          FRE 802
                                                                                                                          attachment(s)

DTX-210         2/22/2021            LDC-SRQ21-ESI-01515561           LDC-SRQ21-ESI-01515561                              Sales Data-INFO 2018-2020 all months_v2560                                         No objections
DTX-211         6/1/2018             LDC-SRQ21-ESI-01522882           LDC-SRQ21-ESI-01522883                              Email from M. Gorrell to M. Clegg re here they come.....                           FRE 802
DTX-212         7/17/2019            LDC-SRQ21-ESI-01584212           LDC-SRQ21-ESI-01584212                              Jabber chain between P. Henneberry & B. Smith                                      FRE 802, 805
DTX-213         8/15/2019            LDC-SRQ21-ESI-01587016           LDC-SRQ21-ESI-01587016                              Jabber chain between K. Youngblood & H. Hancock                                    FRE 802
DTX-214                                                                Intentionally Omitted, please reference JTX-021                                                                                       No objections
DTX-215         6/19/2020            LDC-SRQ21-ESI-01613121           LDC-SRQ21-ESI-01613122                              Email from B. Smith to SGL-Refined Trading re Quote Request - McKee Foods Oct      FRE 802, 1002
                                                                                                                          20 - Oct 21 Not in forecast with attachment
DTX-216         6/21/2017            LDC-SRQ21-ESI-01622586           LDC-SRQ21-ESI-01622593                              Letter from G. Spak & Others to W. Ross re Suspension Agreement                    FRE 802
DTX-217         6/26/2018            LDC-SRQ21-ESI-01625841           LDC-SRQ21-ESI-01625842                              Email from B. Smith to SGL-Refined Trading re FW: Quote request - Kings Hawaiian   FRE 802, 805, 1002
                                                                                                                          2019 - not in foresight - with revised freight rates with attachment
DTX-218         12/4/2019            LDC-SRQ21-ESI-01687485           LDC-SRQ21-ESI-01687486                              Email from B. Smith to H. Hancock re RE: Quote Request - Not in Foresight/ to      FRE 802, 805, 1002
                                                                                                                          enter into Que - Would be a new customer Benson Bakery Bogart, GA with
                                                                                                                          attachment
DTX-219         6/4/2019             LDC-SRQ21-ESI-01724209           LDC-SRQ21-ESI-01724244                              FW: Imperial Slides with attachment(s)                                             FRE 802
DTX-220         7/23/2020            LDC-SRQ21-ESI-01724105           LDC-SRQ21-ESI-01724120                              Email from E. Saint M'Leux to R. Eckert re RE: "major" investments with            FRE 602, 802, 805
                                                                                                                          attachment(s)
DTX-221                                                                Intentionally Omitted, please reference JTX-022                                                                                  No objections
DTX-222         6/28/2021            LDC-SRQ21-ESI-01748731           LDC-SRQ21-ESI-01748732                           Email from W. Hunt to B. Smith & Others re Re: Rail Rate Request for McKee Foods FRE 802

DTX-223         6/23/2020            LDC-SRQ21-ESI-01775354           LDC-SRQ21-ESI-01775354                              Email from H. Hancock to B. Smith & SGL-Refined Trading re RE: Quote Request -     FRE 802
                                                                                                                          McKee Foods Oct 20 - OCt 21 Not in forecast
DTX-224                                                                 Intentionally Omitted, please reference JTX-023                                                                                      No objections
DTX-225                                                                 Intentionally Omitted, please reference JTX-024                                                                                      No objections
DTX-226         12/15/2011           LSR-SUGAR 000369                 LSR-SUGAR 000374                                                                                                                       FRE 802, 805

DTX-227         11/19/2009           LSR-SUGAR 000375                 LSR-SUGAR 000432                                                                                                                       FRE 802, 805

DTX-228         11/19/2009           LSR-SUGAR 000433                 LSR-SUGAR 000465                                                                                                                       FRE 802, 805

DTX-229                                                                Intentionally Omitted, please reference JTX-025                                                                                       No objections
DTX-230         2/16/2022            MARS-3P-00000001                 MARS-3P-00000001                                                                                                                       FRE 602, 802, 805
DTX-231         2/16/2022            MARS-3P-00000002                 MARS-3P-00000002                                                                                                                       FRE 602, 802, 805
DTX-232         2/16/2022            MARS-3P-00000003                 MARS-3P-00000003                                                                                                                       FRE 602, 802, 805
DTX-233         2/16/2022            MARS-3P-00000004                 MARS-3P-00000004                                                                                                                       FRE 602, 802, 805
DTX-234         2/16/2022            MARS-3P-00000005                 MARS-3P-00000005                                                                                                                       FRE 602, 802, 805




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                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                                                                                March 28, 2022
                                                                                           DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                                  PTO Exhibit 5B

  Exhibit No.                Date                          BegBates                               EndBates                                                           Description                                            Objection(s)
DTX-235         2/16/2022            MARS-3P-00000006                         MARS-3P-00000006                                                                                                                         FRE 602, 802, 805
DTX-236         2/16/2022            MARS-3P-00000007                         MARS-3P-00000007
                                                                                                                                                                                                                       FRE 602, 802, 805

DTX-237         2/16/2022            MARS-3P-00000008                         MARS-3P-00000008                                                                                                                         FRE 602, 802, 805
DTX-238         1/21/2022            McKee-0000001                            McKee-0000001                                                                                                                            FRE 602
DTX-239         1/21/2022            McKee-0000001                            McKee-0000001                                                                                                                            FRE 602
DTX-240         1/22/2019            McKee-0000002                            McKee-0000002                                                                                                                            FRE 802
DTX-241         1/21/2022            McKee-0000003                            McKee-0000004                                                                                                                            FRE 802
DTX-242         1/3/2022             MICH - SUG - 000015                      MICH - SUG - 000017                                                                                                                      FRE 802
DTX-243         1/3/2022             MICH - SUG - 000018                      MICH - SUG - 000018                                                                                                                      FRE 802
DTX-244         1/25/2022            MICH - SUG - 000020                      MICH - SUG - 000020                                                                                                                      FRE 802
DTX-245         1/25/2022            MICH - SUG - 000021                      MICH - SUG - 000021                                                                                                                      FRE 802
DTX-246                                                                        Intentionally Omitted, please reference JTX-026                                                                                         No objections
DTX-247                                                                        Intentionally Omitted, please reference JTX-027                                                                                         No objections
DTX-248         6/30/2021            PC_000127                                PC_000135                                                                                                                                FRE 802, 805
DTX-249         6/4/2021             PC_000374                                PC_000378                                                                                                                                FRE 802, 805

DTX-250         11/6/2019            PC_000700                                PC_000701                                                                                                                                FRE 402, 802, 805
DTX-251         3/26/2018            PC_001497                                PC_001497                                                                                                                                FRE 802
DTX-252         12/31/2021           PC_002896                                PC_002897                                                                                                                                FRE 802
DTX-253         5/5/2021             PEPSICO000081                            PEPSICO000081                                                                                                                            FRE 602, 802
DTX-254         2/15/2022            PEPSICO000103                            PEPSICO000103                                                                                                                            FRE 602, 802
DTX-255         2/4/2022             Product Line Key - Confidential - 0001   Product Line Key - Confidential - 0001                                                                                                   FRE 106, 602, 802
DTX-256         1/21/2022            SUCRO_000004                             SUCRO_000004                                                                                                                             FRE 602, 802
DTX-257         1/21/2022            SUCRO_000006                             SUCRO_000006                                                                                                                             FRE 602, 802
DTX-258         1/24/2022            SUCRO_000007                             SUCRO_000007                                                                                                                             FRE 602, 802
DTX-259         8/28/2019            SUCRO_000067                             SUCRO_000075                                                                                                                             FRE 602, 802

DTX-260         03/00/2021           SUCRO_000230                             SUCRO_000248                                                                                                                             FRE 602, 802
DTX-261         4/20/2021            SUCRO_002754                             SUCRO_002773                                                                                                                             FRE 602, 802
DTX-262         12/00/2021           SUCRO_003172                             SUCRO_003193                                                                                                                             FRE 602, 802
DTX-263         00/00/2021           SUCRO_004209                             SUCRO_004228                                                                                                                             FRE 602, 802
DTX-264         6/30/2020            SUCRO_004328                             SUCRO_004329                                                                                                                             FRE 602, 802
DTX-265         6/30/2020            SUCRO_004333                             SUCRO_004334                                                                                                                             FRE 602, 802
DTX-266         7/29/2021            SUGIMP-ATR-00000439                      SUGIMP-ATR-00000445                                Email from R. Leske to J. Ptacek & Others re US Sugar/Imperial - Florida Crystals     FRE 602, 802
                                                                                                                                 CID with attachment(s)
DTX-267         6/24/2021            SUGIMP-ATR-00000446                      SUGIMP-ATR-00000451                                Email from R. Leske to J. Ptacek & Others re US Sugar/Imperial - Florida Crystals     FRE 602, 802
                                                                                                                                 CID with attachment(s)
DTX-268         8/20/2021            SUGIMP-ATR-00000715                      SUGIMP-ATR-00000719                                Email from P. Standbrook to C. Cliff & B. Hanna re RE; US Sugar/Imperial CID -        FRE 602, 802
                                                                                                                                 Cargill/LSR Submission *confidential* with attachment(s)
DTX-269         7/15/2021            SUGIMP-ATR-00000738                      SUGIMP-ATR-00000742                                Email from C. Cliff to B. Hanna & Others re RE: US Sugar/Imperial CID - Cargill/LSR   FRE 602, 802
                                                                                                                                 Submission *confidential* with attachment(s)
DTX-270         6/24/2021            SUGIMP-ATR-00000977                      SUGIMP-ATR-00000993                                Email from P. Standbrook to B. Hanna & Others re US Sugar/Imperial CID -              FRE 602, 802
                                                                                                                                 Cargill/LSR Submission with attachment(s)
DTX-271         5/25/2021            SUGIMP-ATR-00001088                      SUGIMP-ATR-00001102                                Email from B. Hanna to L. Faucheux & Others re US Sugar/Imperial: CID Louisiana       FRE 602, 802
                                                                                                                                 Sugar Refining with attachment(s)
DTX-272         11/1/2021            SUGIMP-ATR-00003531                      SUGIMP-ATR-00003549                                Email from C. Cliff to L. Faucheux and B. Hanna re [EXTERNAL] RE: US                  FRE 602, 802
                                                                                                                                 Sugar/Imperial- *privileged & confidential* with attachment(s)
DTX-273                                                                        Intentionally Omitted, please reference JTX-028                                                                                         No objections
DTX-274                                                                        Intentionally Omitted, please reference JTX-029                                                                                         No objections




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                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                                                                     March 28, 2022
                                                                                   DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                     BegBates                         EndBates                                                               Description                                     Objection(s)
DTX-275         4/30/2021            SUGIMP-ATR-00005344              SUGIMP-ATR-00005347                               Memorandum from Sally Gannon, Dir. for Bilateral Agreements, Office of Policy on FRE 602, 802
                                                                                                                        Agreement Suspending the Countervailing Duty Investigation of Sugar from
                                                                                                                        Mexico: Increase of the Export Limit for the October 2, 202 - September 30, 2021
                                                                                                                        Export Limit Period, Effective April 30, 2021 to Interested Parties

DTX-276         12/13/2021           SUGIMP-ATR-00006824              SUGIMP-ATR-00006839                               Email from K. Lanclos to F. Jenkins re RE: Seminar slides with attachment(s)        FRE 602, 802, 805
DTX-277         9/4/2020             SUGIMP-ATR-00008361              SUGIMP-ATR-00008361                               USDA Letter from B. Northey & T. McKinney to R. Pasco                               No objections
DTX-278         6/22/2017            SUGIMP-ATR-00008947              SUGIMP-ATR-00008948                               Letter from S. Perdue to J. Downs, Jr. re US Sugar Program views                    No objections
DTX-279         6/12/2017            SUGIMP-ATR-00008954              SUGIMP-ATR-00008955                               Letter from H. Kopp to S. Perdue & R. Lightizer re TRQ Shortfall                    FRE 602, 802, 805
DTX-280         4/16/2018            SUGIMP-ATR-00009136              SUGIMP-ATR-00009142                               Letter to G. Doud & Others from B. Buker & Others, cc'ing B. Fecso & Others re      FRE 802, 805
                                                                                                                        TRQ Shortfall
DTX-281         8/16/2018            SUGIMP-ATR-00009143              SUGIMP-ATR-00009148                               Sweetener Users Letter from R. Pasco to Messrs. B. Northey & T. McKinney            FRE 602, 802, 805
DTX-282         04/00/2021           SUGIMP-ATR-00009248              SUGIMP-ATR-00009282                               Sugar Overview: Markets and Policies presentation                                   No objections
DTX-283         2/25/2022            SUGIMP-ATR-00009456              SUGIMP-ATR-00009478                               Considerations for U.S. Sugar Policy, USDA Agricultural Outlook Forum               No objections
DTX-284                                                                Intentionally Omitted, please reference JTX-030                                                                                      No objections
DTX-285         2/11/2022            SWP000012                        SWP000012                                                                                                                             No objections
DTX-286         2/11/2022            SWP000013                        SWP000013                                                                                                                             No objections
DTX-287         2/11/2022            SWP000014                        SWP000014                                                                                                                             No objections
DTX-288         2/11/2022            SWP000015                        SWP000015                                                                                                                             No objections
DTX-289         2/11/2022            SWP000016                        SWP000016                                                                                                                             No objections
DTX-290         7/27/2021            UNITED_00001536                  UNITED_00001549                                  Email from J. Campbell to A. Thomas, cc'ing K. Thew, re RE: [EXTERNAL] REQUEST:      FRE 802, 805
                                                                                                                       United Sugars - Current Market Prices - LE08'21 with attachment(s)

DTX-291         6/11/2021            UNITED_00003661                  UNITED_00003665                                  Email from J. Campbell to K. Thew, cc'ing A. Thomas, re RE: [EXTERNAL] AWARD - FRE 802, 805
                                                                                                                       BRILL Sugar RFP Q1-Q3 2022
DTX-292         7/30/2021            UNITED_00018300                  UNITED_00018313                                  Email from J. Campbell to K. Thew & Others re RE: RE [EXTERNAL] BRILL RFP Q4'21 FRE 802, 805
                                                                                                                       to Q4'dd - United Sugar
DTX-293                                                                Intentionally Omitted, please reference JTX-037                                                                                     No objections
DTX-294         11/30/2021           UNITED_00062777                  UNITED_00062779                                  Email from M. Rogers to S. Hanson & Others re RE: [EXTERNAL] R000130510 6x          FRE 802, 805
                                                                                                                       Sugar
DTX-295         6/18/2021            UNITED_00188358                  UNITED_00188358                                  Email from D. Swart to M. Hamill, cc'ing T. Minton, re Dover                        FRE 802, 805
DTX-296         7/27/2021            UNITED_00294229                  UNITED_00294230                                  Email from D. Swart to J. Lloyd, cc'ing R. Schreck, re Re: Crop 22 / St Clair Foods FRE 802
                                                                                                                       Memphis
DTX-297         8/16/2021            UNITED_00391730                  UNITED_00391730                                  Email from M. Wineinger to D. Swart re RE: Sales Activity                           FRE 802

DTX-298         6/14/2021            UNITED_00397104                  UNITED_00397104                                   Email from D. Swart to M. Wineinger re Sales Activity                               FRE 802, 805
DTX-299         6/21/2021            UNITED_00397157                  UNITED_00397157                                   Email from D. Swart to M. Wineinger re Sales Activity                               FRE 802, 805
DTX-300         11/19/2021           UNITED_00561273                  UNITED_00561334                                   Email from S. Thomsen to J. Harriman re FW: here are the two presentation decks     FRE 802, 805
                                                                                                                        for tomorrow with attachment(s)
DTX-301         6/30/2021            UNITED_00576890                  UNITED_00576891                                   Email from D. Swart to M. Wineinger re RE: Sales Activity                           FRE 802
DTX-302         12/7/2021            UNITED_00593006                  UNITED_00593006                                   Email from M. Wineinger to D. Swart re Re: Hershey Multi-Year Deal                  FRE 802, 805
DTX-303         8/6/2021             UNITED_00609962                  UNITED_00609962                                   U S. Sugar Industry History - 2015-2019                                             FRE 602, 802
DTX-304         5/18/2021            UNITED_00657001                  UNITED_00657001                                   Sugar Arrival Ports                                                                 FRE 602, 802, 805
DTX-305         2/1/2022             UNITED_00675115                  UNITED_00675115                                   PA Report Dataset                                                                   FRE 602
DTX-306         2/13/2022            UNITED-DOJ-00033375              UNITED-DOJ-00033375                               SPY 20 competitive freight_applications_2021_28_06                                  FRE 602, 802
DTX-307         11/12/2020           UNITED-DOJ-00100314              UNITED-DOJ-00100314                               Email from J. Campbell to R. Schreck re CSM                                         FRE 802
DTX-308         4/2/2021             UNITED-DOJ-00102440              UNITED-DOJ-00102441                               Email from M. Benavidez to R. Schreck re RE: [EXTERNAL] beet sugar to TX            FRE 602, 802, 805
DTX-309         2/15/2021            UNITED-DOJ-00107639              UNITED-DOJ-00107642                               Email from J. Loyd to J. Campbell & Others re RE: [EXTERNAL] FW: weather update     FRE 802, 805
                                                                                                                        expanded shutdown for alabama and tennessee all others remain in effect

DTX-310         11/11/2020           UNITED-DOJ-00135330              UNITED-DOJ-00135331                               Email from T. Guy to S. Kline & Others re Clewiston Refinery / Tropical Storm Eta   FRE 602, 802
                                                                                                                        with attachment(s)
DTX-311                                                                Intentionally Omitted, please reference JTX-038                                                                                      No objections
DTX-312         4/9/2021             UNITED-DOJ-00203903              UNITED-DOJ-00203916                              Email from D. Swart to M. Wineinger re BOD Deck Attached with attachment(s)          FRE 701, 802, 805




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                                                       United States of America v. United States Sugar Corporation,C.A. No. 21-1644-MN (D. Del.)                                                                        March 28, 2022
                                                                                   DEFENDANTS' TRIAL EXHIBIT LIST
                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                     BegBates                         EndBates                                                              Description                                           Objection(s)
DTX-313         5/6/2021             UNITED-DOJ-00209324              UNITED-DOJ-00209324                                 Email from C. Laurent to D. Swart & Others re [EXTERNAL] GMI C22 Market             FRE 802
                                                                                                                          discovery bidding event
DTX-314         05/00/2019           UNITED-DOJ-00221875              UNITED-DOJ-00221909                                 Sugaright Confidential Information Memorandum, CSC Sugar                            FRE 106, 602, 802, 805

DTX-315         6/12/2020            UNITED-DOJ-00222259              UNITED-DOJ-00222262                                 Email from S. Hines to M. Wineinger & Others re FW: [EXTERNAL] TANGO -           FRE 802, 805
                                                                                                                          Supplemental information package 6-10-20 with attachment(s)
DTX-316         4/17/2020            UNITED-DOJ-00222268              UNITED-DOJ-00222320                                 Email from S. Hines to M. Wineinger & Others re FW: Draft Tango Presentation for FRE 802, 805
                                                                                                                          EC and attachment(s)
DTX-317         4/15/2020            UNITED-DOJ-00222321              UNITED-DOJ-00222322                                 Email from M. Horita to S. Hines re [EXTERNAL] TANGO - Updated 2021 forecast     FRE 802, 805

DTX-318         6/25/2019            UNITED-DOJ-00222375              UNITED-DOJ-00222376                                 Email from M. Wineinger to B. Buker & Others re Tuesday Update (No Call EC          FRE 802
                                                                                                                          report for Monday, June 24)
DTX-319         10/15/2020           UNITED-DOJ-00231422              UNITED-DOJ-00231427                                 Email from J. Campbell to J. Williams re RE: [EXTERNAL] Re: United Sugars: Check-   FRE 802, 805
                                                                                                                          in
DTX-320         11/12/2020           UNITED-DOJ-00231462              UNITED-DOJ-00231468                                 Email from J. Campbell to T. Cook re RE: [EXTERNAL] RE: United Sugars: Available    FRE 802, 805
                                                                                                                          Volume
DTX-321         10/26/2018           UNITED-DOJ-00245000              UNITED-DOJ-00245000                                 Call Report                                                                         FRE 602, 802, 805
DTX-322         12/21/2020           UNITED-DOJ-00303174              UNITED-DOJ-00303175                                 Email from S. Hanson to S. Hines re Freight Application with attachment(s)          FRE 802
DTX-323         6/11/2021            USSC-2R-000036079                USSC-2R-000036079                                   Page 17 Refined Sugar Cash Cost SAP Oct 2019                                        FRE 602, 802, 1002
DTX-324         3/24/2021            USSC-2R-000037442                USSC-2R-000037446                                   Email from A. deJongh to All So Ddns E-mail Recipients re RHB Correspondence -      FRE 602, 802, 805
                                                                                                                          Announcement and Media Release with attachment(s)
DTX-325         7/6/2020             USSC-2R-000108579                USSC-2R-000108579                                   Email from B. Buker to E. Wood & Others re FW: No Call EC Report: July 6, 2020      FRE 802, 805

DTX-326         4/27/2021            USSC-2R-000111615                USSC-2R-000111617                                   Email from A. deJongh to D. Murphy re RHB Correspondence - The Honorable            FRE 602, 802
                                                                                                                          Thomas J. Vilsack with attachment(s)
DTX-327         4/27/2020            USSC-2R-000138610                USSC-2R-000138645                                   Email from R. Buker to N. Smith re FW: Project Tango Offering Memorandum.           FRE 802
DTX-328                                                                Intentionally Omitted, please reference JTX-039                                                                                        No objections
DTX-329         12/13/2021           USSC-LIT-000063023               USSC-LIT-000063043                               Email from M. Hoffman to K. McDuffie re Emailing: Second Amendment to                  FRE 402, 602, 802
                                                                                                                       Sublease. 12.13.21.docx, SBG Agreement 12.13.21.docx with attachment(s)
DTX-330         1/31/2022            USSC-LIT-000082727               USSC-LIT-000082727                               US Sugar's Response to RFP 6                                                           FRE 602, 802
DTX-331         1/31/2022            USSC-LIT-000085376               USSC-LIT-000085376                               2021-08-16 MF Domestic Industry Projections                                            FRE 602, 802
DTX-332         8/21/2021            USSC-LIT-000097392               USSC-LIT-000097394                               Email from A. deJongh to T. Vilsack re Robert H. Buker Correspondence with             FRE 602, 802
                                                                                                                       attachment(s)
DTX-333                                                                Intentionally Omitted, please reference JTX-040                                                                                        No objections

DTX-334                                                                Intentionally Omitted, please reference JTX-041                                                                                        No objections
DTX-335         12/00/2020           USS-VAL000177                    USS-VAL000189                                    United Sugars Market Report presentation                                               FRE 602, 802
DTX-336         1/14/2022            WSC-00000001                     WSC-00000003                                                                                                                            FRE 602, 802
DTX-337         2/4/2022             ZUCRUM 00432                     ZUCRUM 00759                                                                                                                            FRE 602
DTX-338         2/4/2022             ZUCRUM 00770                     ZUCRUM 01037                                                                                                                            FRE 602
DTX-339         2/4/2022             ZUCRUM 01045                     ZUCRUM 01290                                                                                                                            FRE 602
DTX-340         2/4/2022             ZUCRUM 01294                     ZUCRUM 01522                                                                                                                            FRE 602
DTX-341         2/4/2022             ZUCRUM 01529                     ZUCRUM 01833                                                                                                                            FRE 602
DTX-342         2/4/2022             ZUCRUM 01827                     ZUCRUM 01827                                                                                                                            FRE 602
DTX-343                                                                                                                                                                                                       FRE 602
DTX-344                                                                                                                                                                                                       FRE 602
DTX-345                                                                                                                                                                                                       FRE 602
DTX-346                                                                                                                                                                                                       FRE 602
DTX-347                                                                                                                                                                                                       FRE 602
DTX-348                                                                                                                                                                                                       FRE 602
DTX-349                                                                 Intentionally Omitted, please reference JTX-031                                                                                       No objections
DTX-350                                                                 Intentionally Omitted, please reference JTX-032                                                                                       No objections
DTX-351                                                                                                                   A Centrifugals (West Bank) Photograph                                               No objections
DTX-352         2/28/2022                                                                                                 About AOF, USDA, https://www.usda.gov/oce/ag-outlook-forum/about                    No objections




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                                                                                          PTO Exhibit 5B

  Exhibit No.                Date                 BegBates                                EndBates                                                           Description                                           Objection(s)
DTX-353         2/17/2022                                                                                                 About LSR, Louisiana Sugar Refining, LLC, http://www.lsrsugar.com/about.php          No objections

DTX-354                                                                                                                   Affination Area Photograph                                                           No objections
DTX-355                                                                                                                   Affination Area2 Photograph                                                          No objections
DTX-356                                                                                                                   Affination Cetrifugals (2) Photograph                                                No objections
DTX-357                                                                                                                   Affination Cetrifugals Photograph                                                    No objections
DTX-358                                                                                                                   Affination control room Photograph                                                   No objections
DTX-359                                                                                                                   Affination Station Photograph                                                        No objections
DTX-360         2/24/2022                                                                                                 Atlantic Ingredients Pounds Sold by State 2018-2021                                  FRE 602, 802
DTX-361                                                                                                                   B Bin 1 Photograph                                                                   No objections
DTX-362                                                                                                                   B Bin 2 Photograph                                                                   No objections
DTX-363                                                                                                                   B Bin 3 Photograph                                                                   No objections
DTX-364                                                                                                                   B Bin 7 Photograph                                                                   No objections
DTX-365                                                                                                                   B Turbines Photograph                                                                No objections
DTX-366                                                                                                                   B1 Leveler Photograph                                                                No objections
DTX-367                                                                                                                   Boiling House Before 2 Photograph                                                    No objections
DTX-368                                                                                                                   Boiling House Before 3 Photograph                                                    No objections
DTX-369                                                                                                                   Boiling House Before Photograph                                                      No objections
DTX-370                                                                                                                   Bucket Elevators Photograph                                                          No objections
DTX-371                                                                                                                   Bulk Loading 1 Photograph                                                            No objections
DTX-372                                                                                                                   C Roll Shop storage Photograph                                                       No objections
DTX-373                                                                                                                   C Tandem[1] Photograph                                                               No objections
DTX-374                                                                                                                   Car House Photograph                                                                 No objections
DTX-375                                                                                                                   Carbon Column Replacemen 1 Photograph                                                No objections
DTX-376                                                                                                                   Central Control Room Photograph                                                      No objections
DTX-377                                                                                                                   Char House Photograph                                                                No objections
DTX-378         10/1/2015                                                                                                 Crystal Lindell, Red Bird's the word! Piedmont Candy Co. celebrates 125 years, as    FRE 602, 802
                                                                                                                          Mary Llewellyn Cox, V.P. of sales and marketing, and Chris Reid, CEO, work to take
                                                                                                                          the company to the next level, 180 Candy Industry 24
DTX-379         3/3/2022                                                                                                  CSX Map, https://www.csx.com/index.cfm/library/files/customers/maps/printable-       FRE 602, 802
                                                                                                                          system-map/ (last visited Mar. 3, 2022)

DTX-380                                                                 Intentionally Omitted, please reference JTX-042                                                                                        No objections
DTX-381                                                                                                                   DSCN1925 Photograph                                                                  No objections
DTX-382                                                                                                                   DSCN1931 Photograph                                                                  No objections
DTX-383         1/31/2022                                                                                                 Email from D. Blunt to D. Johnson & Others re RE: United States vs. United States    FRE 602, 802, 901
                                                                                                                          Sugar Corporation
DTX-384         2/9/2022                                                                                                  Email from R. Leske to D. Johnson & Others re RE: Florida Crystals / ASR Data        FRE 602, 802, 901
                                                                                                                          Question
DTX-385                                                                                                                   Entrance B & A Photograph                                                            No objections
DTX-386         2/9/2022                                                                                                  February 2022 Report, Sugar Monthly Import and Re-Export Data, ESM, USDA,            No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items

DTX-387                                                                                                                   Filter Press Photograph                                                              No objections
DTX-388         10/29/2021                                                                                                Fiscal Year 2021 Raw Cane Sugar Tariff-Rate Quota Extension of the Entry Period,     No objections
                                                                                                                          86 Fed. Reg. 59,989
DTX-389         8/24/2021                                                                                                 Fiscal Year 2021 Raw Cane Sugar Tariff-Rate Quota Increases and Extension of the     No objections
                                                                                                                          Entry Period, 86 Fed. Reg. 47,284
DTX-390         10/12/2011                                                                                                FY 2011 Final Report, Sugar Monthly Import and Re-Exports, ESM, USDA,                No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items




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  Exhibit No.                Date                         BegBates                         EndBates                                                           Description                                        Objection(s)
DTX-391         11/13/2012                                                                                                FY 2012 Final Report, Sugar Monthly Import and Re-Exports, ESM, USDA,              No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-392         11/19/2013                                                                                                FY 2013 Final Report, Sugar Monthly Import and Re-Exports, ESM, USDA,              No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-393         10/10/2014                                                                                                FY 2014 Final Report, Sugar Monthly Import and Re-Exports, ESM, USDA,              No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-394         10/9/2015                                                                                                 FY 2015 Final Report - Revised, Sugar Monthly Import and Re-Exports, ESM, USDA,    No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items

DTX-395         10/12/2016                                                                                                FY 2016 Final Report, Sugar Monthly Import and Re-Export Data, ESM, USDA,          No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-396         10/12/2017                                                                                                FY 2017 Final Report, Sugar Monthly Import and Re-Exports, ESM, USDA,              No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-397         12/00/2018                                                                                                FY 2018 Final Report - Revised, Sugar Monthly Import and Re-Export Data, ESM,      No objections
                                                                                                                          USDA,
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-398         10/10/2019                                                                                                FY 2019 Final Report, , Sugar Monthly Import and Re-Export Data, ESM, USDA,        No objections
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items

DTX-399         09/00/2021                                                                                                FY 2020 Updated Final Report, Sugar Monthly Import and Re-Export Data, ESM,      No objections
                                                                                                                          USDA,
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-400         02/00/2022                                                                                                FY 2021 Final Updated Sugar Report, Sugar Monthly Import and Re-Export Data,     No objections
                                                                                                                          ESM, USDA,
                                                                                                                          https://usda.library.cornell edu/concern/publications/tq57nr00k?locale=en#releas
                                                                                                                          e-items
DTX-401                                                                                                                   Group 2 Tables, Sugar and Sweeteners Yearbook Tables, ERS, USDA,                 No objections
                                                                                                                          https://www ers.usda.gov/data-products/sugar-and-sweeteners-yearbook-tables/

DTX-402         00/00/2022                                                                                                Harmonized Tariff Schedule of the United States, Chapter 17: Sugars and Sugar      No objections
                                                                                                                          Confectionery
DTX-403                                                                 Intentionally Omitted, please reference JTX-036                                                                                      No objections
DTX-404                                                                 Intentionally Omitted, please reference JTX-035                                                                                      No objections
DTX-405                                                                                                                   ISTA before and after (11) Photograph                                              No objections
DTX-406                                                                                                                   ISTA Before and after (4) Photograph                                               No objections
DTX-407                                                                                                                   ISTA Before and after (6) Photograph                                               No objections
DTX-408                                                                                                                   ISTA Entrance B & A (4) Photograph                                                 No objections
DTX-409         2/14/2022                                                                                                                                                                                    FRE 602, 802

DTX-410         2/4/2022                                                                                                  Largest Sugar Vessell to Ever Discharge on the US East Coast, Sugaright,         FRE 602, 802, 805
                                                                                                                          https://www sugaright.com/single-post/largest-sugar-vessel-to-ever-discharge-on-
                                                                                                                          the-us-east-coast
DTX-411         6/18/2021                                                                                                 Letter from R. Leske to J. Ptacek re CID Response                                FRE 602, 802
DTX-412         8/16/2021            USSC-LIT-000085376               USSC-LIT-000085376                                  MF Domestic Industry Projections(904)                                            FRE 602, 802




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  Exhibit No.                Date                 BegBates                               EndBates                                                            Description                                          Objection(s)
DTX-413         11/11/2021                                                                                                                                                                                   FRE 802

DTX-414         2/11/2022                                                                                                 Micro-Refineries: The Sugaright Solution to Supply Chain Disruptions, Sugaright,   FRE 602, 802, 805
                                                                                                                          https://www sugaright.com/single-post/micro-refineries-the-sugaright-solution-
                                                                                                                          tosupply-
DTX-415                                                                                                                   Mill Before Photograph                                                             No objections
DTX-416         2/15/2022                                                                                                 Mission Areas, USDA, https://www.usda.gov/our-agency/about-usda/mission-           No objections
                                                                                                                          areas
DTX-417         00/00/2021                                                                                                                                                                                   FRE 602, 802
DTX-418                                                                                                                   Mud pond after Photograph                                                          No objections
DTX-419                                                                                                                   New liquid sugar filter Photograph                                                 No objections
DTX-420                                                                                                                   New parts depot Photograph                                                         No objections
DTX-421         2/4/2022                                                                                                  Norfolk Southern Corp., Annual Report (Form 10-K)                                  FRE 602
DTX-422                                                                                                                   Pan C Photograph                                                                   No objections
DTX-423                                                                                                                   Pan Floor Decking Before Repairs (underside) Photograph                            No objections
DTX-424                                                                                                                   Parts storage area 2 Photograph                                                    No objections
DTX-425                                                                                                                   Parts storage area.xlsx Photograph                                                 No objections
DTX-426                                                                                                                   Pebco-Dustless Loading Photograph                                                  No objections
DTX-427                                                                                                                   Picture 1 Photograph                                                               No objections
DTX-428                                                                                                                   Picture 26 Photograph                                                              No objections
DTX-429                                                                                                                   Picture 3 Photograph                                                               No objections
DTX-430                                                                                                                   Picture 5 Photograph                                                               No objections
DTX-431                                                                                                                   Picture 7 Photograph                                                               No objections
DTX-432                                                                                                                   Picture 9 Photograph                                                               No objections
DTX-433         1/7/2022                                                                                                  Plaintiff United States' Responses and Objections to Defendants' First Set of      No objections
                                                                                                                          Interrogatories
DTX-434         2/11/2022                                                                                                 Plaintiff United States' Responses and Objections to Defendants' First Set of      No objections
                                                                                                                          Requests for Admission to Plaintiff United States of America
DTX-435         1/7/2022                                                                                                  Plaintiff United States' Responses and Objections to Defendants' First Set of      No objections
                                                                                                                          Requests for Production of Documents
DTX-436         1/7/2022                                                                                                  Plaintiff United States' Responses and Objections to Defendants' Second Set of     No objections
                                                                                                                          Requests for Production of Documents
DTX-437         1/19/2022                                                                                                 Plaintiff United States' Supplemental Responses to Defendants' First Set of        No objections
                                                                                                                          Interrogatories
DTX-438         2/25/2022                                                                                                 Plaintiff United States' Supplemental Responses to Defendants' First Set of        No objections
                                                                                                                          Requests for Admission to Plaintiff United States of America
DTX-439                                                                                                                   Plant Photograph                                                                   No objections
DTX-440         2/15/2022                                                                                                 Policy, Economic Research Service, USDA,                                           No objections
                                                                                                                          https://www ers.usda.gov/topics/crops/sugar-sweeteners/policy/
DTX-441                                                                                                                   Port Wentworth Photograph 1, DJI_0030                                              No objections
DTX-442                                                                                                                   Port Wentworth Photograph 2, DJI_0034                                              No objections
DTX-443                                                                                                                   Port Wentworth Photograph 3, DJI_0035                                              No objections
DTX-444                                                                                                                   Port Wentworth Photograph 4, DJI_0039                                              No objections
DTX-445                                                                                                                   Port Wentworth Photograph 5, DJI_0045                                              No objections
DTX-446                                                                                                                   Port Wentworth Photograph 6, DJI_0046                                              No objections
DTX-447                                                                                                                   Port Wentworth Photograph 7, PW-1                                                  No objections
DTX-448                                                                                                                   Port Wentworth Photograph 8, PW-2                                                  No objections
DTX-449                                                                                                                   Process Building Floor After 2 Photograph                                          No objections
DTX-450                                                                                                                   Process Building Floor Before 3 Photograph                                         No objections
DTX-451                                                                 Intentionally Omitted, please reference JTX-031                                                                                      No objections
DTX-452                                                                Intentionally Omitted, please reference DTX-032                                                                                       No objections
DTX-453                                                                 Intentionally Omitted, please reference JTX-033                                                                                      No objections
DTX-454                                                                                                                   Public Education Video                                                             FRE 402, 403, 602,
                                                                                                                                                                                                             802, 901




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  Exhibit No.                Date                 BegBates                                EndBates                                                            Description                                        Objection(s)
DTX-455                                                                                                                   Raw Sugar Magnet Photograph                                                        No objections
DTX-456                                                                                                                   Raw Sugar Shed 2 Photograph                                                        No objections
DTX-457                                                                                                                   Raw Sugar Shed 3 Photograph                                                        No objections
DTX-458                                                                                                                   Raw Sugar Warehouse 1 Photograph                                                   No objections
DTX-459                                                                                                                   Raw warehouse #2 Photograph                                                        No objections
DTX-460                                                                                                                   Raw warehouse2 Photograph                                                          No objections
DTX-461                                                                                                                   Raw warehouse3 Photograph                                                          No objections
DTX-462                                                                                                                   Raw warehouse4 Photograph                                                          No objections
DTX-463         7/9/2021                                                                                                  Reallocation of Unused Fiscal Year 2021 WTO Tariff-Rate Quota Volume for Raw       No objections
                                                                                                                          Cane Sugar, 86 Fed. Reg. 35,315-01
DTX-464         12/21/2021                                                                                                Robert Ibarra, Commodity Credit Corp., U.S. Dep't of Agriculture, Domestic Sugar   No objections
                                                                                                                          Program - 2022-Crop Overall Sugar Marketing Allotment, Cane Sugar and Beet
                                                                                                                          Sugar Marketing Allotments and Company Allocations
DTX-465                                                                                                                   Screening Tower Photograph                                                         No objections
DTX-466                                                                 Intentionally Omitted, please reference JTX-034                                                                                      No objections
DTX-467                                                                                                                   Sept 30, 2020 Photograph                                                           No objections
DTX-468                                                                                                                   Site2 Photograph                                                                   No objections
DTX-469         11/00/2021                                                                                                SMD Tables (Nov. 2021), Dairy & Sweeteners Analysis, FSA, USDA,                    No objections
                                                                                                                          https://www.fsa.usda.gov/programs-and-services/economic-and-policy-
                                                                                                                          analysis/dairy-and-sweeteners-analysis/index
DTX-470         09/00/2018                                                                                                SMD Tables (Sept. 2018), Dairy & Sweeteners Analysis, FSA, USDA,                   No objections
                                                                                                                          https://www.fsa.usda.gov/programs-and-services/economic-and-policy-
                                                                                                                          analysis/dairy-and-sweeteners-analysis/index
DTX-471         09/00/2019                                                                                                SMD Tables (Sept. 2019), Dairy & Sweeteners Analysis, FSA, USDA,                   No objections
                                                                                                                          https://www.fsa.usda.gov/programs-and-services/economic-and-policy-
                                                                                                                          analysis/dairy-and-sweeteners-analysis/index
DTX-472         09/00/2020                                                                                                SMD Tables (Sept. 2020), Dairy & Sweeteners Analysis, FSA, USDA,                   FRE 805
                                                                                                                          https://www.fsa.usda.gov/programs-and-services/economic-and-policy-
                                                                                                                          analysis/dairy-and-sweeteners-analysis/index
DTX-473         09/00/2021                                                                                                SMD Tables (Sept. 2021), Dairy & Sweeteners Analysis, FSA, USDA,                   FRE 805
                                                                                                                          https://www.fsa.usda.gov/programs-and-services/economic-and-policy-
                                                                                                                          analysis/dairy-and-sweeteners-analysis/index
DTX-474         6/22/2021                                                                                                                                                                                  FRE 602, 802, 805
DTX-475         6/18/2021                                                                                                                                                                                  FRE 602, 802, 805
DTX-476         6/18/2021                                                                                                                                                                                  FRE 602, 802, 805
DTX-477         6/18/2021                                                                                                                                                                                  FRE 602, 802, 805
DTX-478         2/4/2022                                                                                                  Stocks, Not Shocks, Sugaright, https://www.sugaright com/single-post/stocks-not- FRE 403, 602, 802, 805
                                                                                                                          shocks
DTX-479         2/15/2022                                                                                                 Sugar & Sweeteners, Economic Research Service, USDA,                             No objections
                                                                                                                          https://www ers.usda.gov/topics/crops/sugar-sweeteners/
DTX-480         2/15/2022                                                                                                 Sugar and Sweeteners Outlook: February 2022, ERS, USDA                           No objections
DTX-481         2/19/2022                                                                                                 Sugar and Sweeteners Yearbook Tables, ERS, USDA,                                 No objections
                                                                                                                          https://www ers.usda.gov/data-products/sugar-and-sweeteners-yearbook-
                                                                                                                          tables.aspx
DTX-482         2/4/2022                                                                                                  Sugaright Featured in Business Trends Magazine,                                  FRE 403, 602, 802, 805
                                                                                                                          Sugaright,https://www.sugaright.com/single-post/2018/05/17/sugaright-featured-
                                                                                                                          in-business-trends-magazine
DTX-483         2/23/2022                                                                                                 Supplier Selection Workbook                                                      FRE 602, 802
DTX-484         05/00/2008                                                                                                Sweetener Market Data - Reporting Data User's Manual, Farm Service Agency,       No objections
                                                                                                                          USDA
DTX-485         2/9/2022                                                                                                  Sweetener Market Data Report, FAS, USDA (Dec. 2021)                              No objections
DTX-486         2/16/2022                                                                                                 Table 14, Sugar and Sweeteners Yearbook Tables, ERS, USDA,                       No objections
                                                                                                                          https://www ers.usda.gov/data-products/sugar-and-sweeteners-yearbook-tables/




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  Exhibit No.                Date                 BegBates                                EndBates                                                          Description                                    Objection(s)
DTX-487         2/16/2022                                                                                                 Table 16, Sugar and Sweeteners Yearbook Tables, ERS, USDA,                   No objections
                                                                                                                          https://www ers.usda.gov/data-products/sugar-and-sweeteners-yearbook-tables/

DTX-488         2/1/2022                                                                                                  Table 5, U.S. Wholesale Refined Beet Sugar Price, Midwest Markets, Monthly,             No objections
                                                                                                                          Quarterly, and by Calendar Year, Since 1960, Milling & Baking News, Sosland
                                                                                                                          Publishing
DTX-489         2/1/2022                                                                                                  Table 5a, U.S. Wholesale Refined Cane Sugar Price, Northeast Markets, Monthly,          No objections
                                                                                                                          Quarterly, and by Calendar and Fiscal Year, Since 1999, Milling & Baking News,
                                                                                                                          Sosland Publishing
DTX-490         2/4/2022                                                                                                  Thank you Sugar Users Association, Sugaright, https://www.sugaright com/single-         FRE 403, 602, 802, 805
                                                                                                                          post/thank-you-sugar-users-association
DTX-491                                                                                                                   thumb_IMG_5134_1024 Photograph                                                          No objections
DTX-492                                                                                                                   thumb_IMG_5161_1024 Photograph                                                          No objections
DTX-493                                                                                                                   thumb_IMG_5165_1024 Photograph                                                          No objections
DTX-494                                                                                                                   thumb_IMG_5269_1024 Photograph                                                          No objections
DTX-495                                                                                                                   Thumb_IMG-5189_1024 Photograph                                                          No objections
DTX-496         2/15/2022                                                                                                 Trade, ERS, USDA, https://www.ers.usda.gov/topics/crops/sugar-                          No objections
                                                                                                                          sweeteners/trade/
DTX-497                                                                                                                   Training Room Photograph                                                                No objections
DTX-498                                                                                                                   Turbo Generator Photograph                                                              No objections
DTX-499         2/18/2020                                                                                                 U S. Sugar Supplies Tighten due to Lower Production in Both United States and           No objections
                                                                                                                          Mexico, ERS, USDA
DTX-500                                                                                                                   Under Old A Deck July 30, 2007 Photograph                                               No objections
DTX-501         12/22/2021                                                                                                USDA Announces Fiscal Year 2022 Sugar Program Actions, FMS, USDA                        No objections
DTX-502         7/25/2017                                                                                                 USDA Increases the Fiscal Year 2017 Raw Sugar Tariff-Rate Quota, 82 Fed. Reg.           No objections
                                                                                                                          34,472
DTX-503                                                                                                                   Vacuum Pan with Crystal Scope Photograph                                                No objections
DTX-504         2/15/2022                                                                                                 Vidalina Abadam, ERS, Sugar and Sweeteners Outlook: February 2022, USDA                 No objections
DTX-505                                                                                                                   Video 1                                                                                 FRE 402, 403, 602,
                                                                                                                                                                                                                  802, 901
DTX-506         2/9/2022                                                                                                  WASDE - 621, World Agriculture Supply and Demand Estimates (USDA 2022)                  No objections
DTX-507                                                                                                                   Water Treatment 1 Photograph                                                            No objections
DTX-508                                                                                                                   Water Treatment 2 Photograph                                                            No objections
DTX-509         1/24/2022            CSC000334                        CSC000334                                                                                                                                   FRE 802
DTX-510                                                                Intentionally Omitted, please reference JTX-050                                                                                            No objections
DTX-511         3/14/2022                                                                                                                                                                                         FRE 402, 802, 602
DTX-512         8/26/2021                                                                                                                                                                                         No objections
DTX-513                                                                 Intentionally Omitted, please reference JTX-049                                                                                           No objections
DTX-514         12/20/2021                                                                                                Agreement between Sugar Cane Growers Cooperative of Florida and SBG Farms               FRE 602

DTX-515         3/15/2022                                                                                                 Sugar and Sweeteners Outlook: March 2022, ERS, USDA                                     No objections

                                                                                                                          1006 Summaries
                                                                                                                          Demonstratives
                                                                                                                          Physical Exhibits
                                                                                                                          Supplemental exhibits, as needed, relating to ongoing fact and expert discovery
                                                                                                                          and any forthcoming pretrial motions and/or decisions in this case; or as otherwise
                                                                                                                          permitted by the parties' February 28, 2022 stipulation; or as otherwise set forth in
                                                                                                                          the submission accompanying this list.




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                  Pretrial Order
                   Exhibit 5C
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                                                         PARTIES' JOINT EXHIBIT LIST
                                                               PTO Exhibit 5C

Trial Exhibit #        DocID                          EndDoc#               Date                        Exhibit Description

   JTX001         Cargill-USS-000037             Cargill-USS-000043         July 13, 1905


   JTX002            CSC000328                        CSC000328             January 26, 2022

                                               CSC000330                    January 26, 2022
   JTX003            CSC000330

                                               FCC-00036108                 October 12, 2019
   JTX004           FCC-00036101


                                               FCC-00038220                 Februrary 11, 2021
   JTX005           FCC-00038216

                                               FCC-00063820                 June 12, 2021

   JTX006           FCC-00063818


                                               GM_0000412                   February 16, 2022
   JTX007           GM_0000393

                                               GM_0001425
   JTX008           GM_0001425

                                               GM_0001446
   JTX009           GM_0001437
                                               INDSUG00001                  January 31, 2022
   JTX010           INDSUG00001
                                               KRAFT_0000013                June 27, 2017
   JTX011          KRAFT_0000004

                                               KRAFT_0000033                October 19, 2018
   JTX012          KRAFT_0000014


                                               KRAFT_0000051                October 14, 2019
   JTX013          KRAFT_0000034

                                               KRAFT_0000078                July 30, 2021
   JTX014          KRAFT_0000057

                                               KRAFT_0000213                July 7, 2021

   JTX015          KRAFT_0000208


                                               LDC_SRQ21_000001 June 21, 2021                           Imperial document, "P&L," June 21,
   JTX016         LDC_SRQ21_000001
                                                                                                        2021
                                               LDC_SRQ21_000644 June 25, 2021                           Imperial Response to Certain 2R
   JTX017         LDC_SRQ21_000644
                                                                                                        Specs




                                                                  Page 1                                                        March 28, 2022
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                                                    PARTIES' JOINT EXHIBIT LIST
                                                          PTO Exhibit 5C
                                          LDC_SRQ21_000649 June 18, 2021                           Imperial Response to Certain 2R
 JTX018     LDC_SRQ21_000649
                                                                                                   Specs
                                          LDC-SRQ21-ESI-               June 19, 2020               Email from Beth Smith to SGL -
                                          00014375                                                 Refined Trading, "market intel -
 JTX019   LDC-SRQ21-ESI-00014375                                                                   Feedback from Piedmont Candy,"
                                                                                                   June 19, 2020
                                 LDC-SRQ21-ESI-                        October 1, 2018             Imperial document titled "Imperial
 JTX020   LDC-SRQ21-ESI-01235760 01235769                                                          Sugar Board Update, October 5,
                                                                                                   2018," Oct. 1, 2018
                                 LDC-SRQ21-ESI-                        October 30, 2019            Email from Jim Evans to Michael
 JTX021   LDC-SRQ21-ESI-01612775 01612777                                                          Gorrell and Thomas Wilson, "Re:
                                                                                                   Spec Questions," Oct. 30, 2019
                                          LDC-SRQ21-ESI-               May 13, 2021                Email from Rick Pasco to Andrea
                                          01733176                                                 Kalley and others "Louisiana Sugar
                                                                                                   Refining plans to expand its operation
 JTX022   LDC-SRQ21-ESI-01733174                                                                   to meet growing local supply of raw
                                                                                                   sugar and customer demand," May
                                                                                                   13, 2021
                                          LSR-SUGAR 000322             October 1, 2020
 JTX023     LSR-SUGAR 000268


                                          LSR-SUGAR 000368             October 1, 2020
 JTX024     LSR-SUGAR 000323


                                          LSR-SUGAR 000706             July 12, 2016
 JTX025     LSR-SUGAR 000590
                                          PC_000002                    January 31, 2022            Piedmont Candy Company document
 JTX026         PC_000001                                                                          with filename "PC_000001.pdf," Jan.
                                                                                                   31, 2022
                                          PC_000006                    January 23, 2022            Piedmont Candy Company document
 JTX027         PC_000006                                                                          titled "PC_000006.xlsx," Jan. 23, 2022

                                          SUGIMP-ATR-                  April 23, 2021              Email from Jonas Lindholm-Uzzi
                                          00004480                                                 (DOJ) to Antitrust Division
                                                                                                   Attorneys and Staff, "re: USDA
 JTX028    SUGIMP-ATR-00004450                                                                     Presentation on US Sugar Program
                                                                                                   and Market," Apr. 23, 2021, with
                                                                                                   attachment
                               SUGIMP-ATR-                             August 6, 2018              USDA document titled "U.S. Sugar
 JTX029    SUGIMP-ATR-00004907 00004925                                                            Policy: Working for All?," Aug. 6,
                                                                                                   2018
                               SUGIMP-ATR-                             February 1, 2022            USDA document titled "USDA Sugar
 JTX030    SUGIMP-ATR-00009493 00009510                                                            Program Management," Feb. 1, 2022

                                          N/A                          March 8, 2021               U.S. Sugar document titled "Updated
 JTX031      U.S. Sugar 4(d)-11                                                                    Financial Model - Conservative
                                                                                                   Scenario," Mar. 8, 2021
                                          N/A                          March 8, 2021               U.S. Sugar document titled "Updated
 JTX032      U.S. Sugar 4(d)-12                                                                    Financial Model - Likely Scenario,"
                                                                                                   Mar. 8, 2021
                                          N/A                          March 14, 2021              U.S. Sugar document titled "Project
 JTX033      U.S. Sugar 4(d)-13                                                                    Seine Updated Financial Analysis,
                                                                                                   March 2021," March 2021


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                                                    PARTIES' JOINT EXHIBIT LIST
                                                          PTO Exhibit 5C
                                          N/A                          March 17, 2020              U.S. Sugar document titled "Seine
 JTX034      U.S. Sugar 4(d)-15                                                                    Transaction, March 17, 2020," Mar.
                                                                                                   17, 2020
                                          N/A                          March 24, 2021              U.S. Sugar document titled "Internal
                                                                                                   Report Proposed Operational
 JTX035      U.S. Sugar 4(d)-16                                                                    Strategy Post-Acquisition of Port
                                                                                                   Wentworth Sugar Refinery"
                                          N/A                          March 30, 2021              U.S. Sugar, 4(d)-6 Document titled
                                                                                                   "U.S. Sugar Cane and Raw Sugar
 JTX036       U.S. Sugar 4(d)-6                                                                    Supply: Post-Cane Supply Contractual
                                                                                                   Agreements to External Raw Sugar
                                                                                                   Producers," Mar. 8, 2021
                                          UNITED_00019795              July 7, 2021                Email from Keith Krause to Julie
                                                                                                   Campbell, "RE: [EXTERNAL] 21/22
 JTX037     UNITED_00019792                                                                        Sugar Quotes - Competitive Buyers
                                                                                                   Offer," Jul. 7, 2021
                                          UNITED-DOJ-                  July 31, 2020               Email from Brittney Manzagol to
                                          00175862                                                 Eric Speece, "FW: [EXTERNAL]
 JTX038    UNITED-DOJ-00175855                                                                     2021 Liquid Sugar RFP - United -
                                                                                                   Donane North America," Jul. 31,
                                                                                                   2020, with attachments
                                          USSC-LIT-000037087 December 4, 2021                      Email from Bob Buker to Ken
                                                                                                   McDuffie, "[EXTERNAL] FW:
 JTX039     USSC-LIT-000037086                                                                     Molasses from Canada" Dec. 4,
                                                                                                   2021.
                                          USSUGAR-2R-                  September 20, 2007          U.S. Sugar/United, "Amended and
                                          00000152                                                 Restated Uniform Member Sugar
 JTX040    USSUGAR-2R-00000112                                                                     Marketing Agreement Pool Basis,"
                                                                                                   Sept. 20, 2007
                                          USSUGAR-2R-                  April 20, 2021              Letter Agreement from Matthew
                                          00000163                                                 Wineinger to Robert Buker, Thomas
 JTX041    USSUGAR-2R-00000153                                                                     Astrup, Kurt Wickstrom, and Michael
                                                                                                   Greear, Apr. 20, 2021
                                                                       February 25, 2022


 JTX042




 JTX043   BAT0206                         BAT0206                      February 18, 2022

 JTX044   BAT0207                         BAT0207                      February 18, 2022

 JTX045   BAT0208                         BAT0208                      00/00/2016

 JTX046   BAT0209                         BAT0209                      March 4, 2022

 JTX047   BAT0210                         BAT0210                      March 4, 2022
          KRAFT_0000214                   KRAFT_0000218                June 22, 2021
 JTX048


                                                                       February 22, 2022
 JTX049




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                                                   PARTIES' JOINT EXHIBIT LIST
                                                         PTO Exhibit 5C
                                                                      January 27, 2022            Letter to Elyse Greenwald from
 JTX050                                                                                           Daniel Plunkett with LSR response to
                                                                                                  USSC Subpoena, Jan. 27, 2022




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